  

PLAINTIFF'S
Case: 4:19-cv-02017-SNLJ Doc. #: 1-35 Filed: 07/16/19 Page: 1 of 85 PageID #EX#IBIT

More than $1.3 million paid to settle claims
against ex-officer in Pine Lawn | ,

By Robert Patrick and jeraémy Kohler St: Louis Post-Dispatch 10/4/16

PINE LAWN « An insurer for the city of Pine Lawn has paid more than $1.3 million to settle
abuse claims against former police Lt. Steven Blakeney, who should learn this week how long he
must:spend.in federal prison for a separate false-arrest conspiracy.

Some of the people receiving payouts through the Missouri Public Entity Risk Management
Fund, a-shared-risk pool, are expected to be witnesses in a sentencing hearing to begin
‘Wednesday in U.S. District Court in St. Louis.

~ The settlements, obtained by the Post-Dispatch through Missouri’s open records law, contain a
confidentiality provision. and an agreement to refrain from derogatory remarks.. Many mention
claims of physical i injury or pain and suffering — and some say the city would dismiss charges
pending against, claimants or not oppose the expunging of their arrest records.

Blakeney was accused of a pattern of abuse and false arrests over five years.

 
 

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SEVTEMMENT AGREEMENT AND GENERAL RELEASE

‘This SETTLEMENT AGREEMENT AND GENERAL RELPASE (“Agreement”) is made
aud entered Into by and between Tremmell MoCole (the “Claimant") and the CITY OF PINE
LAWN, MISSOURI, (the “City” or "Dafendant") on this__ day of ly 2015. The City of Pine
Lawn and Trerumell McCole are somethnes herein individually re Ned to as “party” or
collest ively as the “parties”,

WHEREAS, the Claimant bas asserted claims against the Defendant arlsing from an
inoldent and interaction with former Pine Lawn Officer Steven Blakeney aka Steve Blakeney
(“Blakeney") occurring in the City of Pine Lawn in October 2012 (hereinatter “Lawsuit")}, such
claims against the City of Pine Lawn attd Blakeney may arise under the United States Constitution,
Missaurl Constitution, and other state and federal law, including but not limited to 42 USC §§
1983 and 1988; the Claimant is represented by attorney Stephen Ryals; and

WHEREAS, the City and Blakeney have each denied and each contimres to deny any
wrongdoing or Liability to the Claimant; the City ia represented by attomeys Blake Hill and
Willian Hellmich of King, Krehbiel & Hellmich, LLC; Blakenoy Is represented by attomey Mark
Zoois; and

WHEREAS, the Defendant and the Claimant desite to fully and finally comprise,
resolyo, and settle claims raised or which could have been raised In any Lawsuit by the Claimant,
aguinst all putative defendants to such Lawsuit including but not limited to the City of Pine Lawn
and Blakeney, as well as any and all claims of any nature which the Claimant may aow have or
has at any time in the past had against the City of Pine Lawn or Blakeney; and

WHEREAS, while Blakeney is not a party to this Agreament, he Is fully released
hereunder as more partioularly set forth below.

NOW, THEREFORE, in consideration of the foregoing recitations aud the mutual and
reolproval protnises contained in this Agreement, the partics hereby agree as follows:

i. —- Contemporaneously with the execution of this Agreement by the Defendant shall -

cause to be paid to the Claimant and his attorneys the total sum of Righty-Thousand Dollars

($80,000.00) by draft made payable to “Tremmell McCole and Tho Ryals Law Firm, P,C.” and .

delivered to attomey Stephan Ryals, The payrasnts and amounts set forth in this paragtaph fully

“andl completely settle and resolve all olaims of tho Claimant including but not liraited to hig olsims

for all manner of damages, attorney's fees and cowt costs, No other paytents will be made by

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the Defendant or any othor releases or beneficiary under this Agreement, and Claimant shall be
solely responsible for the naymeitt of his own costs and attorney's fees, and ny taxes or any other
assessments Inoldent to the payments set forth in this paragraph, :

2, _- It is expressly agreed by and among the parties that the payment made hereln by
the Defendant is made solely for the purpose of preventing and/or terminating the assertion ofthe
cause of aation, as well as any other disputes or claims which the Clalmant may have against the
City and/or Blakeney arising from any facts now known or unknown. This payment is made
without any way admitting any liability, which liability both the Clty and Blakeney expressly deny.
Claimant covetiants that he shall not file any lawauit for the acts, onissions and conduct released
heraln, and as tnove partloularly set forth below, releases and covenants apt to sus the City of Pine
Lawit or Steven Biakeney. y

3. The Claimant agrees fo satisfy any and all liens arising out of any incident or
occurrence relating to the claims and to indenusify and gave both the City of Pine Lawn, Its agents,
employees, officers, Board of Alderman, representatives and {ts insurer, and Blakeney, harraless
therefrom. The Claimant irrevocably directs his attormey to satisfy any known liens out of the
settlement proceeds. Tho Claimant further represents that there are no known liens in this opse,

. 4, For and in conideration of the additional sum of One Dollar ($1.00), the Claimant,
as Well as his attorneys, agree not to publicize or disclose the finanolal terms of this Agreement,
or the discussions leading up to seme, either directly or indirectly, to the public generally or to any
person or entity. This confidentiality provision speoliloally Inoludos, but is not limited to, the
Claimant's attorneys’ agreement Aot to publish any information concerning this settlement in the
Missouri Lawyers Weekly or any other such publication, This confidentiality provision extends
to communication by the Clalmant or his attorney to any and all parsons except spousea, or
attomeys or accountants who have a legitimate need to know the terms in order to render
professional advice or services, or unless dlacloguxe is authorized or compelled by law, In the
event that it Js necessary to disclose tho terns of this Agreement to an attorney or accountant, the
Clalmant agrees that suéh attorney or accountant shall be advised of this provision fo maintain the
confidentiality of this Agreement. Otherwise, the Clalmant (and ‘his attorneys) agrees not to
identify or reveal any terms of the Agreement. In response to inquiry, the Claimant agrees to atate
that “the matter has beon settled” or "the caso has been resolved to the satisfaction of the parties”,

or significantly identical language.

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This confidentiality provision is intended solely for the benefit of the Clty and its
employees, agents, officers and Insurers, may be walved by the City at any the, and is not
enforceable agalust the City, Any comment about any matter protected by this confidentially
provision by City or any employee, agent, officer or insurer shall constitute a walyer of this
confidentiality provision, Further, this confidentiality provision is subject to the provisions of the
Missouri Sunshine Law and other applionble Iaw, and aay disclosure made vader compulsion of
law ot the Order of any Court or administrative agency of proper jurisdiction shall not bs deemed
4 violation of this provision, Insofar as any of the terms of tlie Agreement must be divulged
pursuant fo tha compulston of legal process or proceedings, Clalmant agrees to take all laveful steps
necessary to maintain the confidentiality of the terms of this Agreament, including immediately
notifying the City or its attorney If served with or notified of any process seeking information
protected by this provision, prior ta the disolosure of any such information.

5. The parties to this Agreement additionally agree to refrain-from publicly expressing
or in any Way publishing any derogatory or disparaging remark conceiming the other, subject to
the same conditions and safe harbor set forth in paragraph 4 conceming statements made under
compulalon of law. Nothing in this Agueement shall prohibit Claimant or his counse! from fully
disclosing the facts giving rise to his claims to any law enforcement or governmental entity or
agency. .
6.  Tremmell MoCole, for himself and his heizs, legal representatives, administrators,

successors, assigns, trustees, agents, servants, lasurers and anyone claiming by, through or under
any of them, does hereby WAIVE HIS RIGHT TO SUE and COMPLETBLY RELRASES AND
FOREVER DISCHARGES the City of Pine Lawn, Missouri, and its executives, Board of
Aldermen members, elected officials, officers, agente, employees, servants, administrators, legal
representatives, successors, assigns, trustees, attorneys, insurers (speciffoally, the Missouri Public
Entity Risk Management Fund (“MOPBRM")), and any and all of them, and Steven Blakeney aka

Steve Blakeney and his heirs, legal representatives, administrators, successore, assigns, trustees, -

agents, attomeya, insurers (spetifically, MOPBRM), and any and all of them, of and dtom any
mannet of liabilities, actions, ‘suits, debts, judgments, clabns, decisions, controversies, demands
aud damages whatsoever, in Inw or in equity, which he bas ever had, now has, ot tay hereinafter
have, srising or accruing from the beginning of time to the date of thls Settlement Agreemont and
General Release, whether known or unknown, against the City of Pine Lawn, Missouri, and its

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executives, Board of Aldermen members, elected offfclals, officers, agetits, employees, servants,
adminisfers, legal representatives, successors, assigns, ttusteca, lusuwers (specifically, MOPERM)
and attomeys, and against Stoven Blakensy aka Steve Blakeney and his heixs, legal representatives,
administrators, successors, assigus, trustees, agents, instuers (specifically, MOPBRM), and
attorneys, including but not littjted to alt claluns which Claimant raised or could have been raged
in any Lawsuit, as well as all other causes of action of aity nature in any legal foram, court of law,
or administrative agency, wader the common Jaw, or any federal or slate elatute ar city ordinance,

Without limiting the generality of the foregoing, this Settlement Agreement aid General
Release is intended to and shall release the City of Pine Lawn and Steven Blakeney aka Steve
Blakeney and sach of their agents, successors and assigns ftom any and all claims of violations
arising under 42 U.S.C, §§ 1983, 1988 or any other federal, atate, or local statute, ordinance or
common law,

a The partles agree that the sum paid to Plaintiff is for Plaintlffs alleged non-
economic damages including physical injury, paln and suffering, and for relmbursoment for
Plaintiff's attomey’s fees, as more fully set forth in paragraph 1 of this Agreement, and not for

punitive damages. Claimant further acknowledges, agrees, coveratts and stipulates he is sotely.

responsible for the payment of any and all local, state and/or federal taxes, withholdings, interest
and penalties that may be levied on any and all monies patd to him under this Agreement,

8, City apres that i shell assert no opposition to an gotlan by Claimant to expunge
any record of arrest resulting from the incident ypon which Clalmant’s claims is based, .

9.  Baoh party exprensly states and acknowledges that this Agreement sets forth all the
promises, agreements, conditions and understandings among the parties conceming the matters set
forth herein. There are no oml agreements or understandings among the parties hereto effecting
this Agreement, and this Agreement supersedes and cancels any and all previous negotiations,
arrangements, understandings and agreements (olther oral or written), if any, among the parties
hereto with respect to the matters get forth herein. Subsequent flteration, amendment, change or
addition to tis Agreement shall not be binding upon the pertios heréto unless reduced to weltlug
and signed by them, .

10, Bach party declares and warrants that no representations made by any party hereto,
" or by any agent or attomey of any party hereto, or any other representation has induced any party
to make this Agreement and that each party hereto is acting upon hisher/ite own Judgment, belief

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and knowledge regarding the nature and validity of all claims or potential clalins based upon the
advice of legal counsel of his/hen/its own choosing in maklig this Sottlement Agreement. and
General Release,

11, The parties hereto acknowledge and wattant to éach other that they have not at any

linie heretofore assigned to any other person or party all or any portion of any olaim, counterclaim,
_ 0 potential claiin, whatsoever that any party may have or may haye had against any other paity
hereto, "

12, This Agrasment shall iaure to the benofit of ths City of Pine Lawn, Missouri, and
its executives, Board of Alderman members, elected officlals, officers, agents, employees,
servants, administrators, legal reptesentatives, guccessors and osaigns, past and present, and
anyone claiming through them. The Claimant acknowledges that the consideration described tn
Paragraph 1 of this Agreement is all that he or his attorneys or representatives are ever to tecelve
fiom the Defendant, or any person or entity whatsoever, in settloment of the threatened olattus
pertaining to the Lawsuit, whether in settlement of the Claimant's clalm for damages, for pain and
suffering, emotional distress, mental anguish, inconvenience, loss of enjoyment of ifs,
nervousness, anxiety, worry, loss of baok pay and future pay, If any; for declaratory and injunctive
relief: and for reasonable attoraeya" fees, coats, or for any other olalm of any nature whatsoever,
The Claimant further agrees that he is not, and shall not be considered to be, a “provalling party”
with sespeot to any claims threatened or made in relation to the Lawauit within the meaning of any
statute, rufe or other provision of law which Is, or may be, in any way applicable hereto.

13. This Agreement and any controversy or olalms arising out of or relating to this
Agreement shall be governed by the laws of the State of Misaouri.

14. THE CLAIMANT EXPRUSSLY ACKNOWLEDGES THAT HE MAS BEEN

‘ COUNSELED BY BIS ATTORNEYS, AND BASED ON THAT CONSULTATION,
UNDERSTANDS AND AGREES THAT TRIS AGREEMENT FULLY SETTLES,
RELEASES, AND DISCHARGES ANY AND ALL CLAIMS RAISED, OR WHICH

“COULD HAVE BEEN RAISED, IN THE ABOVE-REFERENCED LAWSUIT, 48 WELL
AS ANY. OTHER CLAIM, OF ANY NATURE, WHICH THE CLAIMANT HAS EVER
HAD, NOW HAS, OR MAY HEREINABTER HAVE AGAINST THE DEFENDANT CITY
OF PINE LAWN OR STEVEN BLAKENEY AKA STEVE BLAKENEY, WHETHER
NOW KNOWN OR UNKNOWN, ARISING FROM THE BEGINNING OF TIME TO THE

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DATE OF THIS AGREEMENT, AND THAT THE TERMS OF THIS AGREEMENT ARE
FULLY UNDERSTOOD AND VOLUNTARILY ACCEPTED FOR THE PURPOSES OF
MAKING FULL AND FINAL COMPROMISE AND SETTLEMENT,

.13, Claimant agrees to complete a Medicare reporting form and retum it to counsel for
the City, The parties agree that recaipt of this form is a conditton precedent to the payment set
forth in paragraph J, Claimant further watrants and represents that he hag not sought any medical
treatment for which Medicare has paid or been requested to pay as a result of any notion of the
City or Blakeney, ‘

16. This Apreement may be exeouted in counterparts, and the counterparts shall
consijtute one and the same dosument,

 

Approved and agreed to by the undetsigned: \
CLAMMANT:
Tremmell McColo
' q- ~~ i S
: Date
STATE OF MISSOURI } $8
COUNTY Onset Lots )

On this_S~ day of WEUSTS vetare me personally appeared Trentmell MeCole, fo mo known to be the
parson described in and who executed the foregoing Settlement Agreement and Gouern) Refouse and acknowledged
to me that he executed tho sante for the purposes (hereln stated,

IN TESTIMONY WHBREOR, [ have hereunto set my hand and affixed my offical seal in the County and
State afpreseld, the day and year first above written,

  

1‘

 

‘ Notary Public "
My Commission Expires: (1. 1f- mot .

 

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CUNY OF PINY LAWN, Migsounr
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(date} *
STATE OF MISSOURI )
) 88
. COUNTY OF ST. LOUIS )

Ido hereby certify that Olomes Ue derwos d kno 3
the peren whose game is subgoribed to the foregoing instrument, appeared before me this aM
. » and acknowledged thet bevshe signed and dolivered fis inttument ‘la his official capacity as
oY __ of the City of Pine Lawn, Miszonti, ead the duly authorized representative of the
ly Lawn, Wssourl, with full authority from the Hoard of Aldsrmen approving this Agreement, as Nome

ireo and yvolontary act, forthe uses and des therein set forth,

IN TESTIMONY WHERBOF, I bave hereunto set my hgnd and affixed my offi al it the County and State
aforesaid, the day and year first above written. \\

 

 

 

 

 

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My Commatsalon Rxpires:

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Commission Bn iad oh 06, 2014

 

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SETTLEMENT AGREEMENT AND GENERAL RELEASE

This SETTLEMENT AGREEMENT AND GENERAL RELEASE (“Agreement”) is made
and entered into by and between Kristen Moore (the “Claimant” and the CITY OF PINE LAWN,
MISSOURI, (the “City” or “Defendant”) on this y of May 2015. The City of Pine Lawn
and Kristen Moore are sometimes herein individually referred to as “party” or collectively a8 the _
“parties”,

WHEREAS, the Claimant has asserted claims against the Defendant arising from a traffic
stop and further interaction and alleged incidents with former Pine Lawn Officer Steven Blakeney
aka Steve Blakeney (“Blakeney”) on or about July 23, 2011 (hereinafter “Lawsuit”); such claims
against the City of Pine Lawn and Blakeney may arise under the United States Constitution,
Missouri Constitution, and other state and federal law, including but not limited to 42 USC §§
1983 and 1988; the Claimant is represented by attorney Stephen Ryals; and

WHEREAS, the City and Blakeney have each denied and each continues to deny any
wrongdoing or liability to the Claimant; the City is represented by attorneys Blake Hill and
William Hellmich of King, Krehbiel & Hellmich, LLC; Blakeney is represented by attommey Mark
Zoole; and

WHEREAS, the parties and their respective attorneys mediated all of the Claimant's
claims at a mediation held on April 20, 2015 at the Offices of Dick Sher and Sher Corwin
Winters LLC; the City, Moore, and Blakeney each attended the mediation along with their
respective counsels, and an agreement to settle was reached between the City and Moore; and

WHEREAS, while Blakeney is not a party to this Agreement, he is fully released
hereunder as more particularly set forth below: and

WHEREAS, the Defendant and the Claimant desire to fully and finally comprise, resolve,
and settle claims raised or which could have been raised in any Lawsuit by the Claimant, against
all putative defendants to such Lawsuit including but not limited to the City of Pine Lawn and
Blakeney, as well as any and all clairas of any nature which the Claimant may now have or has at
any time in the past had against the City of Pine Lawn or Blakeney.

NOW, THEREFORE, in consideration of the foregoing recitations and the mutual and
reciprocal promises contained in this Agreement, the parties hereby agree as follows:

t. Contemporaneously with the execution of this Agreement by the Defendant shall
cause to be paid to the Claimant and her attorneys the total sum of Sixty-Thousand Dollars

 

 

 
 

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($60,000.00) by draft made payable to “Kristen Moore and The Ryals Law Firm, P.C.” and
delivered to attorney Stephen Ryals. Defendant also agrees to pay in full the mediator’s bill
directly to Dick Sher for the mediation of April 20, 2015. The payments and amounts set forth in
this paragraph fully and completely settle and resolve all claims of the Claimant including but not
limited to her claims for all manner of damages, attorney’s fees and court costs. No other payments
will be made by the Defendant or any other releasee or beneficiary under this Agreement, and
Claimant shall be solely responsible for the payment of her own costs and attorney's fees, and any
taxes or any other assessments incident to the payments set forth in this paragraph.

2. It is expressly agreed by and among the parties that the payment made herein by
the Defendant is made solely for the purpose of preventing and/or terminating the assertion of the
cause of action, as well as any other disputes or claims which the Claimant may have against the.
City and/or Blakeney arising from any facts now known or unknown, This payment is made
without any way admitting any liability, which liability both the City and Blakeney expressly deny.
Claimant covenants that she shall not file any lawsuit for the acts, omissions and conduct released
herein, and as more particularly set forth below, releases and covenants not to sue the City of Pine
Lawn or Steven Blakeney.

3, ‘ The. Claimant agrees to satisfy any and ail liens arising out of any incident or
occurrence relating to the claims and to indemnify and save both the City of Pine Lawn, its agents,
employees, officers, Board of Aidermen, representatives and its insurer, and Blakeney, harmiess
therefrom. The Claimant irrevocably directs her attorney to satisfy any known liens out of the
settlement proceeds. The Claimant fturther represents that there are no known liens in this case.

4. For and in consideration of the additional sum of One Dollar ($1.00), the Claimant,
as well as her attorneys, agree not to publicize or disclose the financial terms of this Agreement,
or the discussions leading up to same, either directly or indirectly, to the public generally or to any
person or entity. This confidentiality provision specifically includes, but is not limited to, the
Claimant's attommeys’ agreement not to publish any information concerning this settlement in
the Missouri Lawyers Weekly or any other such publication. This confidentiality provision
extends to communication by the Claimant or her attorney to any and all persons except spouses,
or attorneys or accountants who have a legitimate need to know the terms in order to render
professional advice or services, or unless disclosure is authorized or compelled by law. In the
event that itis necessary to disclose the terms of this Agreement to an attorney or accountant, the

 

 
 

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Claimant agrees that such attorney or accountant shall be advised of this provision to maintain the
confidentiality of this Agreement. Otherwise, the Claimant (and her attorneys) agrees not to
identify or reveal any terms of the Agreement. In response to inquiry, the Claimant agrees to state
that “the matter has been settled” or “the case has been resolved to the satisfaction of the Parties”,
or significantly identical language.

This confidentiality provision is intended solely for the benefit of the City and its
employees, agents, officers and insurers, may be waived by the City at any time, and is not
enforceable against the City. Any comment about any matter protected by this confidentiality
provision by City or any employee, agent, officer or insurer shall constitute a waiver of this
confidentiality provision. Further, this confidentiality provision is subject to the provisions of the
Missouri Sunshine Law and other applicable law, and any disclosure made under compulsion of
law or the Order of any Court or administrative agency of proper jurisdiction shall not be deemed
a violation of this provision. Insofar as any of the terms of this Agreement must be divulged
pursuant to the compulsion of legal process or proceedings, Claimant agrees to take all lawful steps
necessary to maintain the confidentiality of the terms of this Agreement, including immediately
notifying the City or its attorney if served with or notified of any process seeking information
protected by this provision, prior to the disclosure of any such information.

3. The parties to this Agreement additionally agree to refrain from publicly expressing
or in any way publishing any derogatory or disparaging remark concerning the other, subject to
the same conditions and safe harbor set forth in paragraph 4 concerning statements made under
compulsion of law. Nothing in this Agreement shall prohibit Claimant or her counsel from fully
disclosing the facts giving rise to her claims to any law enforcement or governmental entity or
agency. .
6. Kristen Moore, for herself and ber heirs, legal representatives, administrators,
successors, assigns, trustees, agents, servants, insurers and anyone claiming by, through or under
any of them, does hereby WAIVE HER RIGHT TO SUE and COMPLETELY RELEASES AND
FOREVER DISCHARGES the City of Pine Lawn, Missouri, and its executives, Board of
Aldermen members, elected officials, officers, agents, employees, servants, administrators, legal
representatives, successors, assigns, trustees, attorneys, insurers (specifically, the Missouri Public
Entity Risk Management Fund (“MOPERM”)), and any and all of them, and Steven Blakeney aka
Steve Blakeney and his heirs, legal representatives, administrators, successors, assigns, trustees,

 

 
 

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agents, attorneys, insurers (specifically, MOPERM), and any and all of them, of and from any
manner of liabilities, actions, suits, debts, judgments, claims, decisions, contfoversivs, demands
and damages whatsoever, in law or in equity, which she has ever had, now has, or may hereinafter
have, arising or accruing from the beginning of time to the date of this Settlement Agreement and
General Release, whether known or unknown, against the City of Pine Lawn, Missouri, and its
executives, Board of Aldermen members, elected officials, officers, agents, employees, servants,
administers, legal representatives, successors, assigns, trustees, insurers (specifically, MOPERM)
and attorneys, and against Steven Blakeney aka Steve Blakeney and his heirs, legal representatives,
administrators, successors, assigns, trustees, agents, insurers (specifically, MOPERM), and
attorneys, including but not limited to all claims which Claimant raised or could have been raised
in any Lawsuit, as well as all other causes of action of any nature in any legal forum, court of law,
or administrative agency, under the common law, or any federal or State statute or city ordinance.

Without limiting the generality of the foregoing, this Settlement Agreement and General
Release is intended to and shall release the City of Pine Lawn and Steven Blakeney aka Steve
Blakeney and each of their agents, successors and assigns from any and all claims of violations
arising under 42 U.S.C. §§ 1983, 1988 or any other federal, state, or local statute, ordinance or
common law.

7, Claimant further acknowledges, agrees, covenants and stipulates she is solely
responsible for the payment of any and all local, state and/or federal taxes, withholdings, interest
and penalties that may be levied on any and all monies paid to her under this Agreement.

8. City agrees that it shall assert no opposition to an action by Claimant to expunge
any record of arrest resulting from the incident upon which Claimant's claims is based,

9, Each party expressly states and acknowledges that this Agreement sets forth all the
promises, agreements, conditions and understandings among the parties concerning the matters set
forth herein. There are no oral agreements or understandings among the parties hereto effecting
this Agreement, and this Agreement supersedes and cancels any and all previous negotiations,
arrangements, understandings and agreements (either oral or written), if any, among the parties
hereto with respect to the matters set forth herein. Subsequent alteration, amendment, change or
addition to this Agreement shall not be binding upon the parties hereto unless reduced to writing
and signed by. them.

 

 
 

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10, Each party declares and warrants that no representations made by any party hereto,
or by any agent or attomey of any party hereto, or any other representation has induced any party
to make this Agreement and that each party hereto is acting upon his/her/its own judgment, belief
and knowledge regarding the nature and validity of ail claims or potential claims based upon the
advice of legal counsel of his/her/its own choosing in making this Settlement Agreement and
General Release,

11. The parties hereto acknowledge and warrant to each other that they have not at any
time heretofore assigned to any other person or party all or any portion of any claim, counterclaim,
or potential claim, whatsoever that any party may have or may have had against any other party
hereto. .

12, This Agreement shall inure to the benefit of the City of Pine Lawn, Missouri, and
its executives, Board of Alderman members, elected officials, officers, agents, employees,
servants, administrators, legal representatives, successors and assigns, past and present, and
anyone claiming through them. The Claimant acknowledges that the consideration described in
Paragraph | of this Agreement is all that she or her attorneys or representatives are ever to receive
from the Defendant, or any person or entity whatsoever, in settlement of the threatened claims
pertaining to the Lawsuit, whether in settlement of the Claimant's claim for damages, for pain and
suffering, emotional distress, mental anguish, inconvenience, loss of enjoyment of life,
nervousness, anxiety, worry, loss of back pay and future pay, if any; for declaratory and injunctive
relief; and for reasonable attorneys’ fees, costs, or for any other claim of any nature whatsoever.
The Claimant further agrees that she is not, and shall not be considered to be, a “prevailing party”
with respect to any claims threatened or made in relation to the Lawsuit within the meaning of any
statute, tule or other provision of law which is, or may be, in any way applicable hereto.

13. This Agreement and any controversy or claims arising out of or relating to this
Agreement shall be governed by the laws of the State of Missouri.

14. THE CLAEMANT EXPRESSLY ACKNOWLEDGES THAT SHE HAS
BEEN COUNSELED BY HER ATTORNEYS, AND BASED ON THAT CONSULTATION,
UNDERSTANDS AND AGREES THAT THIS AGREEMENT FULLY SETTLES,
RELEASES, AND DISCHARGES ANY AND ALL CLAIMS RAISED, OR WHICH
COULD HAVE BEEN RAISED, IN THE ABOVE-REFERENCED LAWSUIT, AS WELL

AS _ ANY OTHER CLAIM, OF ANY NATURE, WHICH THE CLAIMANT HAS EVER

 

 
 

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*

HAD, NOW HAS, OR MAY HEREINAFTER HAVE AGAINST THE DEFENDANT CITY
OF PINE LAWN OR STEVEN BLAKENEY AKA STEVE BLAKENEY, WHETHER
NOW KNOWN OR UNKNOWN, ARISING FROM THE BEGINNING OF TIME TO THE
DATE OF THIS AGREEMENT, AND THAT THE TERMS OF THIS AGREEMENT ARE

_ FULLY UNDERSTOOD AND VOLUNTARILY ACCEPTED FOR THE PURPOSES OF
MAKING FULL AND FINAL COMPROMISE AND SETTLEMENT.

15. Claimant agrees to complete a Medicare reporting form and return it to counsel for
the City. The parties agree that receipt of this form is a condition precedent to the payment set
forth in paragraph 1. Claimant further warrants and represents that she has not sought any medical
treatment for which Medicare has paid or been requested to pay as a result of any action of the
City or Blakeney. .

16. This Agreement may be executed in counterparts, and the counterparts shall
constitute one and the same document.

Approved and agreed to by the undersigned:

CLAIM :
Gillin

Kristen Moore

PE

STATE OF MISSOURI )
) 88
COUNTY OF ST. LOUIS }

On this day of May 2015, before me personally appeared KRISTEN MOORE, to me known to be the
person described in and who executed the foregoing Settlement Agreement and General Release and acknowledged
to me that she executed the same for the purposes therein stated.

IN TESTIMONY WHEREOF, | have hereunto set my hand and affixed my official seal in the County and
State aforesaid, the day and year first above written,

 

Notary Public

My Commission Expires:

 

 
 

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* &

v7 } PINE LAWN, nebuin)

(name)

dep tnt one) Botong Margy,

 

[date]
STATE OF MISSOURI )
. ) 88
COUNTY OF ST. LOUIS )

I do hereby certify that¢ £!

LUST Of dvs

nally known to me to be the person whose name is

subscribed to the foregoing instrument, appeared before me this /#¢**tny of May, 2015, in person, and acknowledged
that she signed and delivered this instrument in his official capacity as Marine He of the City of Pine

Lawn, Missouri, and the duly authorized representative of the City of Pine Lawn, Mi

i, with full authority from

the Board of Aldermen approving this Agreement, as her free and voluntary act, for the uses and purposes therein set

forth.

IN TESTIMONY WHEREOF, I have hereunto set my hand and affixed m
aforesaid, the day and year first above written.

 
  
  

 
   
   
 

N bli
My Commission Expires:
Robarta J Meh
03 Jae hi & Notary Public Notary Seal
State of Misgouri County of St Louis City

 
 

My Commlasion Expires 03/27/2014
Commission # 12320878

    

[END OF DOCUMENT]

y official seal in the County and State

 

 
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SETTLEMENT AGREEMENT AND BRAL RELEASE

This SETTLEMENT AGREEMENT AND GENERAL RELEASE (“Agreement”) is
made and entered into by and between Sidney Sinclair (the “Claimant” and the CITY OF PINE
LAWN, MISSOURI, (the “City” or “Defendant”) on this day of October 2015, The City of
Pine Lawn and Sidney Sinclair ave sometimes herein individually referred to as “party” or
colleatlvely ag the “parties”.

WHEREAS, the Claimant hag asserted claims against the Dofendant arising from an
incident and interaction with former Pine Lawn Officer Steven Blakeney aka Steve Blakeney
(“Blakeney”) occurring in the City of Pine Lawn in Octoboy 2012 (hereinafter “Lawauit”); such
claims agaist the City of Pine Lawn and Blakeney may arise under the United States
Constitution, Missourl Constitution, and other state and federal law, including but not limited to
42 USC §§ 1983 and 1988; the Claimant is represented by a(tomey Stephen Ryals; and

WHEREAS, the City und Blakesoy have each denied end each continues to deny any
wrongdoing or Liability to the Claimant; the City is represented by attorneys Blake Hill and
William Hellmich of King, Krehbiel & Hellmich, LLC; Blakeney 1s represented by attomey
Mark Zovie; and

WHEREAS, the Defendant and the Claimant desire to fully and finally comprise,
tegolve, and settle claims ralged or which could have been raised in any Lawauit by the Claimant,
againet all putative defendants to auch Lawsuit including but not limited to the City of Pine Lawn
and Blakeney, as well as any and all claims of any nature which the Claimant may now have or
has at any time in the past kad against the City of Pine Lawn or Blakenoy; and

WHEREAS, while Blakeney is not a party to this Agreement, he is fully released
hereunder as more partioulatly set forth below,

NOW, THEREFORE, in consideration of the foregoing revitations and the mutual and
reciprocal promises contained in this Agreement, the parties hereby agres as follows:

1. Contemporaneously with the exeoution of this Agreement by the Defendant shall
cause to be paid to the Claimant and his attorneys the total sum of Sixty-Thousand Dollars
($60,600.00) by draft made payable to “Sidney Sinclair and The Ryals Law Firm, P.C.” and
delivered to attorney Stephen Ryals. The payments and amounts set forth in this paragraph fully
and completely settle and resolve all claims of the Claimant including but not limited to his
claims for all manner of damages, attorney’s fees and court coats. No other payments will be

 

 
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made by the Defendant or any other releasee or beneficiary under this Agreement, and Claimant
shall be solely responsible for the payment of his own costs and attorney’s fees, and any taxes or
any other assessments incident to the payments set forth in this paragraph.

2, It is expressly agreed by and among the patties that the payment made herein by
the Defendant is made solely for the purpose of preventing and/or terminating the assertion of
the cause of action, as well ag any other disputes or claims which the Claiment may have against
the City and/or Blakeney arising from any facts now known or unknown, This payment is made
without any way admitting any liability, which liebility both the City and Blakeney expressly
deny. Claimant covenants that he shall not file any lawsuit for the acts, omissions and conduct
released herein, and as more particularly set forth below, releases and covenants not to sue the
City of Pine Lawn or Steven Blakeney,

3, The Claimant agrees to satisfy any and all liens arlsing out of any incident or
occurrence relating to the claims and to indemnify and save both the City of Pine Lawn, its
agents, employses, officers, Board of Aldermen, representatives and lta insurer, and Blakeney,
harmless therefrom, The Claimant irrevocably directa his attorney to satisfy any known liens out
of the settlement proceeds. The Claimant further reprazents that there are no known liens in this
case.

4, For and in consideration of the additional sum of One Dollar ($1.00), the
Claimant, ag well as his attorneys, agree not to publicize or disclose the financial terms of this
Agreement, or the discussions leading up to same, elther directly or indirectly, to the public
generally or to any porson or entity. This confidentiality provision specifically includes, but is
not Hmited to, the Claiment’s attorneys’ agreement not to publish any information concerning
this settlement in the Missourl Lawvers Weekly or any other such publication, This
confidentiality provision extends to communication by the Claimant or his attorney to any and all
persons except spouses, or attorneys or accountants who have a legitimate need to know the
terme in order to render professional advice or services, or unless disclosure is authorized or
compelled by law. In the event that it is necessary to disclose the terms of this Agreement fo an
attorney or accountant, the Claimant agrees that such attorney or accountant shall be advised of
this provision to maintain the confidentiality of this Agreement. Otherwise, the Claimant (and
his attorneys) agrees not to identify or reveal any terms of the Agreement. In response to

 

 

 
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inquity, the Clalmant agrees to afate that “the matter has been settled” or “the cage has been
resolved to the satisfaction of the parties", or significantly identical language.

This confidentiality provision is intended solely for the benefit of the City and its
employees, agents, officers and insurers, may be walved by the City at any tme, and is not
enforceable against the Clty. Any comment about any matter protected by this confidentiality
provision by City or any employes, agent, officer or insurer shall constitute a waiver of this
confidentiality provision, Further, this confidentiality provision is subject to the provisions of
the Missouri Sunshine Law and other applicable law, and any diaclosure made under compulsion
of law or the Order of any Court or administrative agency of proper jurisdiction shall act be
deemed a violation of this provision. Insofar as any of the terme of this Agreement must be
divulged pursuant to the compulsion of legal process or proceedings, Claimant agrees to take all
lawful steps necessary to maintain the confidentiality of the terme of this Agreament, including
immediately notifying the City or its attorney if served with or notified of any process seeking
information protested by this provision, prior to the disclosure of any such information,

5. The parties to this Agreement additionally agree to refrain from publicly
expressing or in any way publishing any derogatory or disparaging remark concerning the other,
gubject to the same conditions and safe harbor set forth in paragraph 4 concerming statements
made wider compulsion of law. Nothing in thia Agreement shall prohibit Claimant or his
counsel from fully disclosing the faots giving rise to his laine to any law enforcement or
governmental entity or agency.

6. Sidney Sinclair, for himself and hia heirs, legal representatives, administrators,
guccessors, assigns, trustees, agents, servatts, insurers and anyone claiming by, through or under
any of them, does hereby WAIVE HIS RIGHT TO SUE and COMPLETELY RELEASES AND
FOREVER DISCHARGES the City of Pine Lawn, Missouri, and its executives, Board of
Aldermen members, ctected officials, officers, agents, employees, servants, administrators, legal
representatives, successors, assigns, trustees, attorneys, insurers (specifically, the Missouri
Publio Entity Risk Management Fund (“MOPBRM”), and any and all of them, and Steven
Blakeney aka Steve Blakeney and his heirs, legal representatives, adminigtratore, successors,
assigns, trustees, agents, attorneys, insurers (apecifically, MOPERM), and any and all of them, of
and from any manner of Llabilities, actions, suits, debts, judgments, claims, decisions,
controversies, demands and damages whatsoever, in law or in equity, which he has ever had,

 

 
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now hes, or may hereinafter have, ariaing or accruing from the beginning of time to the date of
this Settlement Agreement and General Release, whether known or unknown, against the City of
Pine Lawn, Missouri, and its executives, Board of Aldetmen members, elected officials, officers,
agents, employees, servants, administers, legal representatives, successors, assigns, trustees,
insurers (specifically, MOPERM) and attomeys, and against Steven Blakeney aka Steve
Blakeney and his heirs, legal representatives, administrators, successora, assigna, trustees, agents,
insurers (specifically, MOPBRM), and attomeys, including but not limited to all claims which
Claimant raised or could have been raised in any Lawsuit, a woll az all other causes of action of
any nature in any legal forum, court of law, or administrative agency, under the common law, or
any federal or state statute or city ordinance.

Without limiting the generality of the foregoing, this Settlement Agreement and General
Release is intended to and shall release the City of Pine Lawn and Steven Blakeney aka Steve
Blakeney and each of their agents, successore and assigns from any and all claims of violations
arising under 42 U.S.C. §§ 1983, 1988 or any other federal, state, or Local statute, ordinance or
common law.

7. The parties agree that the sum paid to Plaintiff is for Plaintiff's alleged non-
econointo damages Including physical injury, patn and suffering, and for relmbursement for
Plaintiff's attorney's fees, as more fully set forth in paragraph 1 of this Agreement, and not for
punitive damages, Claimant further acknowledges, agrees, covenants and etipulates he ia solely
responsible for the payment of any and all Local, state and/or federal taxes, withholdings, interest
and penalties that may be levied on any and all monies pald to him under thia Agreement.

8, City agrees that it shall assert no oppositlon to aa action by Claimant to expunge
any record of arrest resulting ftom ihe incident upon which Claimant's claims is based.

9. Bach party expressly states and acknowledges that this Agreement seta forth all
the promises, agreements, conditions and understandings among the parties concerning the
matters set forth herein. ‘There are no oral agreements or understandings among the partles
hereto effecting this Agreement, and this Agreement suparsedes and cancels any and ail previous
negotiations, arrangements, understandings and agreements (either oral or written), if any,
among the parties hereto with respect to the mattera set forth herein. Subsequent alteration,

- amendment, change or addition to this Agreement shall not be binding upon the parties hereto
uniegs reduced to writing and signed by them,

 

 

 
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10, Hach party declares and warrants that no representations made by why party
hereto, or by any agent or attorney of any party hereto, or any other representation has induced
any party to make this Agreement and that cach patty hereto is acting upon his/her/its own
judament, beltef and knowledge regarding the nature and validity of all olsims or potential
claims based upon the advice of legal counsel of his/herfits own choosing in making this
Settlement Agreement and General Release.

11. The parties hereto acknowledge and warrant to cach other that they have not at
ay tine heretofore assigned to any other person or party all or any portion of any claim,
counterclaim, or potential claim, whatsoever that any party may have or may have had against
any other party hereto,

12, This Agreement shall inure to the benefit of the Clty of Fine Lawn, Missourl, and
its executives, Board of Alderman members, elected officlals, officers, agents, employees,
servants, administrators, legal representatives, successors and asslens, past and present, and
anyone claiming through them, The Claimant acknowledges that the consideration described in
Paragraph | of this Agreement is all that ha or his attomeys or representatives are aver to receive
from the Defendant, or any person or entity whatsosver, in settlement of the threatened claims
pertaining to the Lawsuit, whether in settlement of the Claimant's olaim for damages, for pain
and suffering, emotional distress, mental anguish, inconvenience, loss of enjoyment of life,
nervousness, anxiety, worry, loss of back pay and future pay, if any; for declaratory and
injunctive relief; and for reasonable attorneys’ fees, costs, ar for any other claim of any nature
whatacever. The Claimant further agrees that he is not, and shall not be considered to be, a
“prevailing party” with respect to any claime threatened or made in relation to the Lawsuit within
the meaning of any statute, rule or other provision of law which is, or may be, in any way
applicable hereto.

13. This Agreement and any controversy of claims arising out of or relating to this
Agreement shall be govemed by the Jaws of the State of Migsourl.

14, THE CLAIMANT EXPRESSLY ACKNOWLEDGES THAT HE HAS
BEEN COUNSELED BY HIS ATTORNEYS, AND BASED ON THAT CONSULTATION,
UNDERSTANDS AND AGREES THAT THIS AGREEMENT FULLY SETTLES,
RELEASES, AND DISCHARGES ANY AND ALL CLAIMS RAISED, OR WHICH
COULD HAVE BEEN RAISED, IN THE ABOVE-REFERENCED LAWSUIT, AS WELL

 

 

 
 

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AS ANY OTHER CLAIM, OF ANY NATURE. WINCH THE CLAIMANT HAS EVER
HAD, NOW IAS, OR MAY HEREINAFTER HAVE AGAINST THE DEFENDANT
CITY OF PINE LAWN OR STEVEN HLAKENEY AKA STEVE BLAKENEY,
WHETHER NOW KNOWN OR UNKNOWN, ARISING FROM THE BEGINNING OF
TIME TO THE DATE OV THIS AGREEMENT, AND THAT THE TERMS OF THIS
AGREFMENT ARE FULLY UNDERSTOOD AND VOLUNTARILY ACCEPTED FOR

THE PURPOSES OP MAKING FULL AND PINAL COMPROMISIL AND
SETTLEMENT.

15. Claimant agrees to complete o Medicare reponing form and return li to counsel

for the City. The partics agree that receipt of this form ta a condition precedent to the payment
set forth in paragraph | Claimant further warranty and represents that he has not sought any
medical treatment for which Medicare has paid or heen requested to pay as a result of any wction
of the Clty ar Binkeney.

16. This Agreement may be exceuted in counterparts, and the counterparts shull
canstilute one and the came document.

Approved and agreed to by the undersigned: .

 

STATE OF MISSOURI }

COUNTYOF

fm His day of October 2013, before me personally appeared Sidney Sinclair, to me known tu be the

Person described in und whe caccutcd the foregoing Setilenwnt Agreciient and Cicneral Release and acknowledged
to me thal he execaied the same for the purposes therein slated,

IN TESTIMONY WHEREQK Ihave hereunte ce my hand and affixed my alficial seal in the County and

State aforesaid. the day and year Hral above written
4 fy
~ Ul Eo. Mraerroaten Ltt
olary Public

hty Commission Expires:

PATRIA L MLLER
fecary Publ, - Sar of Masa
My Corerammaon Expires tarth 27, 2018
Gt Lexan Gomaly
Conrerennes 212515763

 
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(name)

 

Aetng Mayor

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Oehber (5, 301s”

4 dats]
STATE OF MISSOURI 9

COUNTY OF 8T, LOUIS

I do hereby certify that Olimes Underwee do. persona wii to me to
be the perton whose manta is aubsoribed to the foregoing Instrument, appeared before me this ay of Cotober
2Q15, bh. person acknowledged that he/she signed and dolivered this instrument In his official capaotty aa

eting ayer of the Clty of Pine Lawn, Missouri, and the duly authorized representative of the
City of Pind Lawn, uri, with fall authority trom the Board of Aldennen approving thia Agreamont, as his/her
free and voluntary act, for the uses and puxposes theroln set forth,

IN TESTIMONY WHEREOF, [ have hereunto set my hand ond affixed my official ceal In the County and Stats
aforesaid, the day and year first above written,

 

My Commisston Expines: 63 feo / L

   

 
  
  

Notary Pubsa Notary Gee) ;

’ State of Miscoust County of St Loula oi
My Gemmniaston MB OMIT”

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SETTLEMENT AGREEMENT AND GENERAL RELEASE

This SETTLEMENT AGREEMENT AND GENERAL RELEASE (“Agreement”) is made
and entered into by and between Nakita Jackson (the “Claimant”) and the CITY OF PINE LAWN,
MISSOURI, (the “City” or “Defendant”) on this [¢aay of May 2015. The City of Pine Lawn
and Nakita Jackson are sometimes herein individually referred to as “party” or collectively as the
“parties”, ,

WHEREAS, the Claimant has asserted claims against the Defendant arising from an
incident and interaction with former Pine Lawn Officer Steven Blakeney aka Steve Blakeney

- (“Blakeney”) occurring in the in the 4000 block of Peyton in the City of Pine Lawn, MO in

December 2012 (hereinafter “Lawsuit”); such claims against the City of Pine Lawn and Blakeney
may arise under the United States Constitution, Missouri Constitution, and other state and federal
law, including but not limited to 42 USC §§ 1983 and 1988; the Claimant is represented by attomey
Stephen Ryals; and

WHEREAS, the City and Blakeney have each denied and each continues to deny any
wrongdoing or liability to the Claimant; the City is represented by attorneys Blake Hill and
William Hellmich of King, Krehbiel & Hellmich, LLC; Blakeney is represented by attorney Mark
Zoole; and

WHEREAS, the parties and their respective attorneys mediated all of the Claimant’s
claims at a mediation held on April 20, 2015 at the Offices of Dick Sher and Sher Corwin
Winters LLC; the City, Jackson, and Blakeney each attended the mediation along with their
respective counsels, and an agreement to settle was reached between the City and Jackson; and

WHEREAS, while Blakeney is not a party to this Agreement, he is fully released

 

hereunder as more particularly set forth below; and

WHEREAS, the Defendant and the Claimant desire to fully and finally comprise, resolve,
and settle claims raised or which could have been raised in any Lawsuit by the Claimant, against
all putative defendants to such Lawsuit including but not limited to the City of Pine Lawn and
Blakeney, as well as any and ail claims of any nature which the Claimant may now have or has at
any time in the past had against the City of Pine Lawn or Blakeney.

NOW, THEREFORE, in consideration of the foregoing recitations and the mutual and
reciprocal promises contained in this Agreement, the parties hereby agree as follows:

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r

1, Contemporanecously with the execution of this Agreement by the Defendant shall
cause to be paid to the Claimant and her attorneys the total sum of Seventy-Five-Thousand Dollars
($75,000.00) by draft made payable to “Nakita Jackson and The Ryals Law Firm, P.C.” and
delivered to attorney Stephen Ryals. Defendant also agrees to pay in full the mediator’s bill
directly to Dick Sher for the mediation of April 20, 2015. The payments and amounts set forth in
this paragraph fully and completely settle and resolve all claims of the Claimant including but not
limited to her claims for all manner of damages, attorney's fees and court costs. No other payments
will be made by the Defendant or any other releasee or beneficiary under this Agreement, and
Claimant shall be solely responsible for the payment of her own costs and attorney’s fees, and any
taxes or any other assessments incident to the payments set forth in this paragraph.

2. It is expressly agreed by and among the parties that the payment made herein by
the Defendant is made solely for the purpose of preventing and/or terminating the assertion of the
cause of action, as well as any other disputes or claims which the Claimant may have against the
City and/or Blakeney arising from any facts now known or unknown. This payment is made
without any way admitting any liability, which liability both the City and Blakeney expressly deny,
Claimant covenants that she shall not file any lawsuit for the acts, omissions and conduct released
herein, and as more particularly set forth below, releases and covenants not to sue the City of Pine
Lawn or Steven Blakeney.

3. The Claimant agrees to satisfy any and all liens arising out of any incident or
occurrence relating to the claims and to indemnify and save both the City of Pine Lawn, its agents,
employees, officers, Board of Aldermen, representatives and its insurer, and Blakeney, harmless
therefrom, The Claimant irrevocably directs her attorney to satisfy any known liens out of the
settlement proceeds. The Claimant further represents that there are no known liens in this case.

4, For and in consideration of the additional sum of One Dollar ($1.00), the Claimant,
as well as her attomeys, agree not to publicize or disclose the financial terms of this Agreement,
or the discussions leading up to same, either directly or indirectly, to the public generally or to any
person or entity. This confidentiality provisioh specifically includes, but is not limited to, the
Claimant's attomeys’ agreement not to publish any information concerning this settlement in the
Missouri Lawyers Weekly or any other such publication. This confidentiality provision extends
to. communication by the Claimant or her attorney to any and all peTsons except spouses, or
attomeys or accountants who have a legitimate need to know the terms in order to render

 

 
 

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professional advice or services, or unless disclosure is authorized or compelled by law. In the
event that it is necessary to disclose the terms of this Agreement to an attorney or accountant, the
Claimant agrees that such attorney or accountant shall be advised of this provision to maintain the
confidentiality of this Agreement. Otherwise, the Claimant (and her attommeys) agrees not to
identify or reveal any terms of the Agreement. In response to inquiry, the Claimant agrees to state
that “the matter has been settled” or “the case has been resolved to the satisfaction of the parties”,
or significantly identical language.

This confidentiality provision is intended solely for the benefit of the City and its
employees, agents, officers and insurers, may be waived by the City at any time, and is not
enforceable against the City. Any comment about any matter protected by this confidentiality
provision by City or any employee, agent, officer or insurer shall constitute a waiver of this
confidentiality provision. Further, this confidentiality provision is subject to the provisions of the
Missouri Sunshine Law and other applicable law, and any disclosure made under compulsion of
law or the Order of any Court or administrative agency of proper jurisdiction shall not be deemed
a violation of this provision. Insofar as any of the terms of this Agreement must be divulged
pursuant to the compulsion of legal! process or proceedings, Claimant agrees to take all lawful steps
necessary to maintain the confidentiality of the terms of this Agreement, including immediately
notifying the City or its attorney if served with or notified of any process seeking information
protected by this provision, prior to the disclosure of any such information.

5. The parties to this Agreement additionally agree to refrain from publicly expressing
or in any way publishing any derogatory or disparaging remark concerning the other, subject to
the same conditions and safe harbor set forth in paragraph 4 concerning statements made under
compulsion of law. Nothing in this Agreement shall prohibit Claimant or her counsel from fully
disclosing the facts giving rise to her claims to any law enforcement or governmental entity or
agency.

6. Nakita Jackson, for herself and her heirs, legal representatives, administrators,
successors, assigns, trustees, agents, servants, insurers and anyone claiming by, through or under
any of them, does hereby WAIVE HER RIGHT TO SUE and COMPLETELY RELEASES AND
FOREVER DISCHARGES the City of Pine Lawn, Missouri, and its executives, Board of
Aldermen members, elected officials, officers, agents, employees, servants, administrators, legal
representatives, successors, assigns, trustees, attorneys, insurers (specifically, the Missouri Public

 

 
 

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Entity Risk Management Fund (“MOPERM”)), and any and all of them, and Steven Blakeney aka
Steve Blakeney and his heirs, legal representatives, administrators, successors, assigns, trustees,
_ agents, attorneys, insurers (specifically, MOPERM), and any and all of them, of and from any
| manner of liabilities, actions, suits, debts, judgments, claims, decisions, controversies, demands
and damages whatsoever, in law orin equity, which she has ever had, now has, or may hereinafter
have, arising or accruing from the beginning of time to the date of this Settlement Agreement and
General Release, whether known or unknown, against the City of Pine Lawn, Missouri, and its
executives, Board of Aldermen members, elected officials, officers, agents, employees, servants,
administers, legal representatives, successors, assigns, trustees, insurers (specifically, MOPERM)
and attorneys, and against Steven Blakeney aka Steve Blakeney and his heirs, legal representatives,
administrators, successors, assigns, trustees, agents, insurers (specifically, MOPERM), and
attorneys, including but not limited to all claims which Claimant raised or could have been raised
in any Lawsuit, as well as all other causes of action of any nature in any legal forum, court of law,
or administrative agency, under the common law, or any federal or state statute or city ordinance.

Without limiting the generality of the foregoing, this Settlement Agreement and General
Release is intended to and shall release the City of Pine Lawn and Steven Biakeney aka Steve
Blakeney and each of their agents, successors and assigns from any and all claims of violations
arising under 42 U.S.C. §§ 1983, 1988 or any other federal, state, or local statute, ordinance or
common law.

7. The parties agree that the sum paid to Plaintiff is for Plaintiff's alleged non-
economic damages including physical injury, pain and suffering, and for reimbursement for
Plaintiff's attomey’s fees, as more fully set forth in paragraph 1 of this Agreement, and not for
punitive damages. Claimant further acknowledges, agrees, covenants and stipulates she is solely
responsible for the payment of any and all local, state and/or federal taxes, withholdings, interest
and penalties that may be levied on any and all monies paid to her under this Agreement.

8. City agrees that it shall assert no opposition to an action by Claimant to expunge
any record of arrest resulting from the incident upon which Claimant's claims is based.

9, Each party expressly states and acknowledges that this Agreement sets forth all the
promises, agreements, conditions and understandings among the parttes concerning the matters set
forth herein. There are no oral agreements or understandings among the parties hereto effecting
this Agreement, and this Agreement supersedes and cancels any and all previous negotiations,

 

 
 

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arrangements, understandings and agreements (either oral or written), if any, among: the parties
hereto with respect to the matters set forth herein. Subsequent alteration, amendment, change or
addition to this Agreement shall not be binding upon the parties hereto unless reduced to writing
and signed by them.

10. Each party declares and warrants that no representations made by any party hereto,
or by any agent or attorney of any party hereto, or any other representation has induced any party
to make this Agreement and that each party hereto is acting upon his/her/its own judgment, belief
and knowledge regarding the nature and validity of all claims or potential claims based upon the
advice of legal counsel of his/her/its own choosing in making this Settlement Agreement and
General Release.

11. The parties hereto acknowledge and warrant to each other that they have not at any
time heretofore assigned to any other person or party all or any portion of any claim, counterclaim,
or potential claim, whatsoever that any party may have or may have had against any other party
hereto,

12. This Agreement shail inure to the benefit of the City of Pine Lawn, Missouri, and
its executives, Board of Alderman members, elected officials, officers, agents, employees,
servants, administrators, legal representatives, successors and assigns, past and present, and
anyone claiming through them. The Claimant acknowledges that the consideration described in
Paragraph | of this Agreement is all that she or her attorneys or representatives are ever to receive
from the Defendant, or any person or entity whatsoever, in settlement of the threatened claims
pertaining to the Lawsuit, whether in settlement of the Claimant’s claim for damages, for pain and
suffering, emotional distress, mental anguish, inconvenience, loss of enjoyment of life,
nervousness, anxiety, worry, loss of back pay and future pay, if any; for declaratory and injunctive
relief; and for reasonable attorneys’ fees, costs, or for any other claim of any nature whatsoever.
The Claimant further agrees that she is not, and shall not be considered to be, a “prevailing party”
with respect to any claims threatened or made in relation to the Lawsuit within the meaning of any
statute, mile or other provision of law which is, or may be, in any way applicable hereto.

13. This Agreement and any controversy or claims arising out of or relating to this
Agreement shall be governed by the laws of the State of Missouri.

14. THE CLAIMANT EXPRESSLY ACKNOWLEDGES THAT SHE HAS
BEEN COUNSELED BY HER ATTORNEYS, AND BASED ON THAT CONSULTATION,

 

 
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UNDERSTANDS AND AGREES THAT THIS AGREEMENT FULLY SETTLES,
RELEASES, AND DISCHARGES ANY AND ALL CLAIMS RAISED, OR WHICH
COULD HAVE BEEN RAISED, IN THE ABOVE-REFERENCED LAWSUIT, AS WELL
AS ANY OTHER CLAIM, OF ANY NATURE, WHICH THE CLAIMANT HAS EVER
HAD, NOW HAS, OR MAY HEREINAFTER HAVE AGAINST THE DEFENDANT CITY
OF PINE LAWN OR STEVEN BLAKENEY AKA STEVE BLAKENEY, WHETHER
NOW KNOWN OR UNKNOWN, ARISING FROM THE BEGINNING OF TIME TO THE
DATE OF THIS AGREEMENT, AND THAT THE TERMS OF THIS AGREEMENT ARE
FULLY UNDERSTOOD AND VOLUNTARILY ACCEPTED FOR THE PURPOSES OF
MAKING FULL AND FINAL COMPROMISE AND SETTLEMENT.

15. Claimant agrees to complete a Medicare reporting form and return it to counsel for
the City. The parties agree that receipt of this form is a condition precedent to the payment set
forth in paragraph 1. Claimant further warrants and represents that she has not sought any medical
treatment for which Medicare has paid or been requested to pay as a result of any action of the
City or Blakeney.

_ 16, ‘This Agreement may be executed in counterparts, and the counterparts shall
constitute one and the same document.

Approved and agreed to by the undersigned:

 

CLAIMANT:
Nakita Jackson /
SLi LfZols—
Date / (f
STATE OF MISSOURI }
} SS
COUNTY OF ST. LOUIS }

On this day of May 2015, before me personally appeared Nakita Jackson, to me known to be the person
described in and who executed the foregoing Settlement Agreement and General Release and acknowledged to me
that she executed the same for the purposes therein stated.

4 :

IN TESTIMONY WHEREOF, I have hereunto set my hand and affixed my official seal in the County and
State aforesaid, the day and year first above written.

 

Notary Public
My Commission Expires:

 

 
 

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wD OF PINE LAWN, MISSOURI

[name]

falda panzer Letey Moy

LOS/14/ ole

 

fdate) :
STATE OF MISSGURI j
) ss
COUNTY OF ST, LOUIS }

I do hereby certify that dtymnd- Uv Deeurge)deonaty known to me to be the person whose name is
subscribed to the foregoing instrument, appeared before me this jefttday of May, 2015, in person, and acknowledged
that she signed and delivered this instrument in his official capacity as Ae T)é- Miter of the City of Pine
Lawn, Missouri, and the duly authorized representative of the City of Pine Lawn, Mi i, with full authority from

the Board of Aldermen approving this Agreement, as her free and voluntary act, for the uses and purposes therein set
forth.

IN TESTIMONY WHEREOF, I have hereunto set my hand and affixed my official seal in the County and State
aforesaid, the day and year first above written.

  

 

My Commission Expires:

£8 [307 |p

[END OF DOCUMENT]

 

 
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SETTLEMENT AGREEMENT AND GENERAL RELEASE

This SETTLEMENT AGREEMENT AND GENERAL RELBASE (“Agreement”) is made
and entered into by and between Kaleisha Beck, individually and as next friend for her minor
child more particularly identified in St. Louis County Cause Number 15SL-CC04254
(collectively the “Claimant” or “Claimants”) and the CITY OF PINE LAWN, MISSOURL, (the
"City" or “Defendant”) on this 6b Yay of December 2015, The City and Claimants are sometimes
herein individually referred to as “party” or collectively as the “parties”,

WHEREAS, the Claimant has asserted claims against the Defendant arising from an
incident and inferaction with former Pine Lawn Officer Steven Blakeney aka Steve Blakeney
(“Blakeney”) occurring on James A. Harvey Lane in Wellston, Missouri in March 2013
(hereinafter “Lawsuit”); such claims against the City of Pine Lawn and Blakeney may arise under
the United States Constitution, Missouri Constitution, and other state and federal law, including
but not limited to 42 USC §§ 1983 and 1988; the Claimant is represented by attorney Stephen
Ryals: and

WHEREAS, the City and Blakeney have each denied and each continues to deny any
wrongdoing or fiability to the Claimant; the City is yepresented by attorneys Blake Hill and
William Hellmich of King, Krehbiel & Hellmich, LLC; Blakency is represonted by attorney Mark
Zoole;

WHEREAS, the Defendant and the Claimant desire to fully and finally comprise,
resolve, and settle claims raised or which could have been raised in any Lawsuit by the Claimant,
against all putative defendants to such Lawsuit including but not Limited to the City of Pine Lawn
and Blakeney, as well as any and all claims of any nature which the Claimant may now have or
has at any time in the past had against the City of Pine Lawn or Blakeney; and

WHEREAS, the parties specifically desire that this Agreement fully and finally settle all
claims ofall occupants of the residence at the scene of the occurrence which is the subject of the
Lawsuit, Including the mlnor children of the Claimant, as settlement is in the best interest of such
minor children; and.

WHEREAS, the partles have caused to be filed a friendly suit styled Racquel
Wooten el, Al. v, City of Pine Lawn, Causo Number 158L-CC04284 solely for the purposes
of the appointment of next friend on behalf of the minor child(ren) and to obtain cowt

EXHIBIT

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approval of the settlement to the extent required by law (hereinafter the “friendly Suit”);
and

WHEREAS, while Blakeney is not a party to this Agreement, he is fully released
hereunder as more particularly set forth below.

NOW, THEREFORE, in consideration of the foregoing recitations and the mutual and
reciprocal promises contained in this Agreement, the parties hereby agree as follows:

1, Contemporaneously with the execution of this Agreement by the Defendant shall
cause to be paid to the Claimant and her attorneys the total sum of Thirty-Two Thousand Five-
Hundred Dollars ($32,500.00) by draft made payable to “Kaleisha Beck and The Ryals Law Fim,
P.C.” and delivered to attorney Stephen Ryals. The payments and amounts set forth in this
paragraph fully and completely settle and resolve all claims of the Claimant including but not
limited to her claims for all manner of damages, attomey’s fees and court costs. No other payments
will be made by the Defendant or any other releasee or beneficiary under this Agreement, and
Claimant shall be solely responsible for the payment of her own costs and altorney’s fees, and eny
taxes or eny other assessments Incident to the payments set forth In this paragraph.

2 It is expressly agreed by and among the parties that the payment made herein by
the Defendant is mede solely for the purpose of preventing and/or terminating the assertion of the
cause of action, as well as any other disputes or claims which the Claimant may have against the
City and/or Blakeney arising from any facts now known or unknown. This payment is made
without any way admitting any liability, which liability both the City and Blakeney expressly deny.
Claimant covenants that she shail not file any lawsuit for the acts, omissions and conduct released
herein, and as more partioularly set forth below, releases and covenants not to sue the City of Pine
Lawn or Steven Blakeney.

3. The Claimant agrees to satisfy any and all liens arising out of any incident or
occurrence relating to the claims and to indemnify and save both the City of Pine Lawn, its agents,
employees, officers, Board of Aldermen, representatives and Its insurer, and Blakeney, harmiess
therefrom. The Claimant irrevocably directs her attorney to satlsfy any known liens out of the
settlement proceeds. The Claimant further represents that there are no known liens in this case,

4, Claimant Kaleish Beck, as Next Friend of S.M., her minor cluild, warrants and

expressly represents and stipulates:

 

 

 

 
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a. that she is the natural mother and Next Friend of S.M., who is more
particularly idontified in the riendly Suit;

b, that Claimant also for the benofit of her mor child(ren) will hold in trust for
the benefit of SuM., her minor child, such sum and portion as directed by the
Court in the Friendly Suit; and

c, that Kaleisha Beck will hold harmless the City, Blakency and all Releasces
under this Agreemont for any failure to make such allocation pursuant to any
such Court Order; and

d. Kaleisha Beck will dofend, hold harmless and indemnify the City, Blakeney,
and all Releasees under this Agreemont from any and all claims of 8M. that
may arise from any matter which is the subject of this Agreement,

5. For and in consideration of the additional sum of One Dollar ($1.00), the Claimant,
as well as her attomeys, agree not fo publicize or disclose the financial terms of this Agreement,
or the discussions leading up to same, either directly or indirectly, to the public generally or fo any
person or entity, This confidentiality provision specifically includes, but is not limited to, the
Claimant's attorneys’ agreement not to publish any information concerning this settlement in the
Missouri Lawyers Weekly or any other such publication, This confidentiality provision extends
to communication by the Claimant or her afforney to any and all persons except spouses, or
attorneys or accountants who have a legitimate need to know the terms in order to render
professional advice or services, or unless disclosure is authorized or compelled by law. In the
event that it is necessary to disclose the terms of this Agreement to an attorney or accountant, the
Claimant agrees that such attorney or accountant shail be advised of this provision to maintain the
confidentiality of this Agreement, Otherwise, the Claimant (and her attorneys) agrees not to
identify or reveal any terms of the Agreement. Jn response to inquiry, the Claimant agrees to state
that “the matter has been settled” or “the case has been resolved to the satisfaction of the parties”,
or significantly identical language. .

This confidentiality provision is intended solely for the benefit of the City and its

employees, agents, officers and insurers, may be waived by the City at any time, and is not
enforceable against the City, Any comment about aay matter protected by this confidentiality
provision by City or any employee, agent, officer or insurer shall constitute a waiver of this
confidentiality provision. Further, this confidentiallty provision is subject to the provisions of the

 

 

 
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Missouri Sunshine Law and other applicable law, and any disclosure made under compulsion of
law or the Order of any Court or administrative agency of proper jurisdiction shall not be deemed
a violation of this provision. Insofar as any of the terms of this Agreement must be divulged
pursuant to the compulsion of legal process or proceedings, Claimant agrees to take al] lawful steps
necessary to maintain the confidentiality of the terms of this Agreement, Including immediately
notifying the City or its attorney if served with or notified of any process seeking information
protected by this provision, prior to the disclosure of any such information.

6.  Thepartios to this Agreement additionally agree to refrain from publicly expressing
or in any way publishing any derogatory or disparaging remark concerming the other, subject to
the same conditions and safe harbor set forth in paragraph 5.concerning statements made under
compulsion of law. Nothing in this Agreement shail prohibit Claimant or her counsel from fully
disclosing the facts giving rise to her olaims to any law enforcement or governmental entity or
agency.

7. Claimant, for horself and ag Next Friend of her minor child(ren), and for her
heirs, legal representatives, administrators, successors, assigns, trustees, agents, servants, insurers
and anyone claiming by, through or under any of them, does hereby WAIVE HER RIGHT TO
SUE and COMPLETBLY RELEASES AND FOREVER DISCHARGES the City of Pine Lawn,
Missouri, and lis executives, Board of Aldermen members, elected officials, officers, agents,
employces, servants, administrators, legal representatives, successors, assigns, trustees, attomeys,
insurers (specifically, the Missouri Public Entity Risk Management Fund (“MOPERM"), and any
and all of them, and Steven Blakeney aka Steve Blakeney and his heirs, legal representatives,
administrators, successors, assigns, trustees, agents, attorneys, insurers (specifically, MOPERM),
and any and all of them, of and from any manner of fiabilities, actions, sults, debts, judgments,
claims, decisions, controversies, demands and damages whatsoever, in law or in equity, which
Claimant has ever had, now has, or may hereinafter have, arising or acoruing from the beginning
of time to the date of this Settlement Agreement and General Release, whether known or unknown,
against the City of Pine Lawn, Missouri, and its executives, Board of Aldermen members, elected
officials, officers, agents, employees, servants, administers, legal représentatives, successors,
assigns, irustees, insurers (specifically, MOPERM) and attorneys, and against Steven Blakeney
aka Steve Blakeney and his heirs, legal representatives, administrators, successors, assigns,
trustees, agents, Insurers (specifically, MOPERM), and attorneys, including but not limited to all

 

 

 
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claims which Claimant raised or could have been raised in any Lawsuit, as well as all other causes
of action of any nature in any legal forum, court of law, or administrative agency, under the
common law, of any federal or state statute or city ordinance.

Without limiting the generality of the foregoing, this Settlement Agreement and General
Release is Intended to and shall release the City of Pine Lawn and Steven Blakeney aka Steve
Blakeney and each of thelr agents, successors and assigns from any and all claims of violations
arising under 42 U,S.C, §§ 1983, 1988 or any other federal, state, or local statute, ordinance or
common law,

8, The parties agree that the sum paid to Plaintiff is for Claimant’s alleged non-
economic damages including physical injury, pain and suffering, and for reimbursement for
Plaintiffs attorney's fees, as more fully set forth in paragraph 1 of this Agreement, and not for
punitive damages. Claimant further acknowledges, agrees, covenants and stlputates she Is solely
responsible for the payment of any and all local, state and/or federal taxes, withholdings, interest
and penalties that may be levied on any and alf monies paid to her under this Agreement.

9, Clty agrees that it shall assert no opposition to an action by Claimant to expunge
any record of arrest resulting fom the incident upon which Claimant’s claims is based.

10. Hach party expressly states and acknowledges that this Agreement sets forth all the
promises, agreements, conditlons and understandings among the parties concerning the matters set
forth herein. There are no oral agreements or understandings among the parties hereto effecting
this Agreement, and this Agreement supersedes and cancels any and all previous negotiations,
arrangements, understandings and agreements (cither oral or written), if any, among the parties
hereto with respect to the matters set forth herein. Subsequent alteration, amendment, change or
addition to this Agreement shall not be binding upon the patties hereto unless reduced to writing
and signed by them.

1}. Each party declares and warrants that no representations made by any party hereto,
or by any agent or attorney of any party hereto, or any other representation has induced any party
to make this Agreement and that each party hereto is acting upon his/her/its own judgment, belief
and knowledge regarding the nature and validity of all claims or potential claims based upon the
advice of legal counsel of his/her/its own choosing in making this Settlement Agreement and

General Release.

 

 

 

 
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12, The parties herelo acknowledge and warrant to each other that they have not af any
time heretofore assigned lo any other person of party all or any portion of any claim, counterolalm,
or potential claim, whatsoever that any party may have or may have had against any other party
hereto,

13. This Agreement shall inure to the benefit of the City of Pine Lawn, Missouri, and
its executives, Board of Alderman members, elected officials, officers, agents, employees,
servants, administrators, legat representatives, successors and assigns, past and present, and
anyone claiming through them, The Claimant acknowledges that the consideration desorlbed in
Paragraph 1 of this Agreement is all that she or her attorneys or representatives ace ever to receive
ftom the Defendant, or any.person or entity whatsoever, in settlement of the threatened claims
pertaining to the Lawsuit, whether in settlement of the Claimant's claim for damages, for pain and
suffering, emotional distress, mental anguish, inconvenience, loss of enjoyment of life,
nervousness, anxiety, worry, loss of back pay and future pay, if any; for declaratory and injunctive
relleft und for reasonable attorneys” fees, costs, or for any other claim of any nature whatsoever.
The Claimant further agrees that she Is not, and shall not be considered to be, a “prevailing party”
with respect to any claims threatened or made in relation to the Lawsuit within the meaning of any
statute, rule or other provision of law which is, or may be, in any way applicable hereto.

t4, This Agreement and any controversy or claims arising out of or relating to this
Agreement shall be governed by the laws of the State of Missouri,

15. Claimant agrees to complete a Medicare reporting form and return it to counsel for
the City, The parties agree that receipt of this form is a condition precedent to the payment set
forth in paragraph 1. Claimant further warrants and represents that she has not sought any medical
treatment for which Medicare has paid or been requested to pay as a result of any action of the
City or Blakeney.

16. This Agreement may be executed in counterparts, and the counterparts shall
constitute one and the same document.

17, Because this Agroement expressly releases all claims of S.M., a minor, the
parties agree to the prosceution of the Friendly Suit for the sole and express purpose of
obtaining court approval of the minor settlement in accordance with all applicable tnw,
Notwithstanding any other provision in this Agrcement, the porformance of all covenants
and agreemonts herein are contingont upon such Court approval by Court ordor in the

 

 

 
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Friendly Suit, Ifau order approving this settlement has not been entered within ninety (90)
calendar days of the execution of this Agreement by both parties, this Agreement shall
become null and void, Such order shall be incorporated into this Agreomont by reference.

18. Upon entry of the order approving minor settlement and the paymont of the
funds set forth herein, Claimant shall within five (5) business days thereof dismiss all clnims
in tho Friendly Suit with prejudice,

19, THE CLAIMANT EXPRESSLY ACKNOWLEDGES THAT SHE HAS
BEEN COUNSELED BY HER ATTORNEYS, AND BASED ON THAT CONSULTATION,
UNDERSTANDS AND AGREES THAT THIS AGREEMENT FULLY SETTLES,
RELEASES, AND DISCHARGES ANY AND ALL CLAIMS RAISED, OR WHICH
COULD HAVE BEEN RAISED, IN THE ABOVE-REFERENCED LAWSUIT, AS WELL
AS_ANY OTHER CLAIM, OF ANY NATURE, WHICH THE CLAIMANT BAS EVER
HAD, NOW HAS, OR MAY HEREINAFTER HAVE AGAINST THE DEFENDANT CITY
OF PINE LAWN OR STEVEN BLAKENEY AKA STEVE BLAKENEY, WHETHER
NOW KNOWN OR UNKNOWN, ARISING FROM THE BEGINNING OF THME TO THE
DATE OF THIS AGREEMENT, AND THAT THE TERMS OF THIS AGREEMENT ARE
FULLY UNDERSTOOD AND VOLUNTARILY ACCEPTED FOR THE PURPOSES OF
MAKING FULL AND FINAL COMPROMISE AND SETTLEMENT.
Approved and agreed to by the undersigned:

CLAIMANT:
/[ oY ig /ADIG~
eck, Noxt Friend and Natural Mather to S.M. Date

STATE OF MISSOURI )
couNTY oF _Of Lours }

On this igh day of December 2015, before me personally appsared Kaloisha Beck, lo me knowa to be the
person described In and who executed the foregoing Settlament Agreemont and General Release and acknowledged

to me thal she executed the same for the purposes theroltt stated,

ss

IN TESTIMONY WHEREOP, I have hereunto set my hand and affixed my offfelal seal In the County and

State aforesuld, the day and your frst above written,
nr

My Gaspari Eepires! Notary Publle Deputy Cherk, Sk. b ounis County

 

 

 

 

 
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CITY OF PINE LAWN, MISSOURI

t a

 

 

(name)
Lu TELM = M atte fh
[titls) {
2/46/ fo
{date]
STATE OF MISSOURI } 3s
COUNTY OF ST. LOUIS }

Ido hereby certify that Art lel WR Git porsonally known to a parson whose name is
subsorlbed to the foregoing Instrument, appeared before mo this 4% day of er, 2055, fy person, and
acknowledged that site signed and delivered this fustrument in his official capacity as “fas #- f the
City of Pine Lawn, Missouzl, and the duly authorized reprosontative of the City of Pine Lawn, Missou i, with full

authority Grom the Board of Aldermen approving this Agreament, as her free and voluntary act, fer the uses and
purposes therein set forth,

IN TESTIMONY WHEREOF, I have hereunto set my hand aad affixed my officlat seal in the County and State

aforesald, the day and year first above written, At C ;

My Commission Expires: 0 9 Ja 7 |) ‘b

 
    

   

Roterla J Metshotf
e Notary Publls Notary Seal

Blalg of Misvourl County of St Louls City
My Ganimiasion Expires 03/27/2016
Commission # 12320078

    

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SETTLEMENT AGREEMENT AND GENERAL RELEASE

This SETTLEMENT AGREEMENT AND GENERAL RELEASE (“Agreement”) is made
and gntored into by and between Racquel Wooten, individually and as next friend for her minor
Se ro particularly identified in St. Louls County Cause Number 1SSL-CCOd254
(collectively the “Claimant” ox “Claimants") and the CITY OF PINE LAWN, MISSOURI, (the
“City” or “Defendant”) on this gt day of December 2015, The City and Claimants are sometimes
herein individually referred to as “party” or collectively as the “parties”.

WHEREAS, the Claimant has asserted claims against the Defendant arising from an
incident and interaction with former Pine Lawn Officer Steven Blakeney aka Steve Blakeney
(“Blakeney”) occurring on James A. Harvey Lane in Wellston, Missouri in March 2013
(hereinafter “Lawsuit’); such claims against the City of Pine Lawn and Blakeney may arise under
the United Siates Constitution, Missouri Constitution, and other state and federal law, including
but not limited to 42 USC §§ 1983 and 1988; the Claimant is represented by attorney Stephen
Ryals; and

WHEREAS, the City and Blakeney have each denied and aach continues to deny any
wrongdoing or liability to the Claimant; the City is represented by attorneys Blake Hill and
Willlam Helimich of King, Krehbiel & Hellmich, LLC; Blakeney is represented by attorney Mark
Zoale;

WHERIEAS, the Defendant arid the Claimant desire to filly and finally comprise,
resolve, and.settle claims raised or which could have been raised in any Lawsuit by the Claimant,
against aff putative defendants to such Lawsuit including but not limited to the City of Pine Lawn
and Blakeney, as well as any and all claims of any nature which the Claimant may now have or
has at any time in the past had against the City of Pine Lawn or Blakeney: and

WHERIAS, the parties specifically desire that this Agreement fully and finally settle all
claims of all occupants of the residence at the scene of the occurrence which Is the subject of the
Lawsuit, including the minor children of the Claimant, as settlement is in the best interest of such
minor children; and

WHEREAS, the parties have caused to be filed a friendly suit styled Racquel
Wooien et, Al, y, City af Pine Lawn, Cause Number 15SL+CC04254 solely for the purposes
of the appointment of next friend on behalf of the minor child(ren) and to obtain court

EXHIBIT

 

 

 

 

 
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approval of the settlement to ihe extent required by law (herelnafter the “Friendly Suit”);
and

WHEREAS, while Blakeney is not a party to this Agreement, he is fully released
hereunder as more particularly set forth below,

NOW, THEREFORE, in consideration of the foregoing recitations and the mutual and
reciprocal promises contained in this Agreement, the parties hereby agree as follows:

1, Contemporancously with the execution of this Agreement by the Defendant shail
cause to be paid to the Claimant and her attorneys the total sum of Sixty Thousand Dollars
($60,000.00) by draft made payable to “Racquel Wooten and The Ryals Law Firm, P,C.”.and
delivered to attorney Stephen Ryals, The payments and amounts set forth in this paragraph fully

‘ and completely settle and resolve all claims of the Claimant including but not limited to her claims
for all manner of damages, attorney's fees and court costs. No other payments will be made by
the Defendant or any other releases or beneficiary under this Agreement, and Claimant shall be
solely responsible for the payment of her own costs and attorney’s fees, and any taxes or any other
assessments incident to the payments set forth in this paragraph,

2. it is expressly agreed by and among the partles that the paymont made herein by
the Defendant Is made solely for the purpose of preventing and/or terminating the assertion of the
cause of action, as well as any other disputes or claims which the Claimant may have against the
City and/or Blakeney arising from any facts now known or unknown. This payment Is made
without any way admitting any Hability, which tiability both the City and Blakency expressly deny.
Claimant covenants that she shall net file any lawsuit for the acts, omissions and conduct released
herein, and as more patticularly set forth below, releases and covenants not to sue the City of Pine -
Lawn or Steven Blakeney,

3. The Claimant agrees to satisfy any and al! Hens arlsing out of any incident or
occurrence relating to the claims and to indemnify and save both the City of Pine Lawn, its agents,
employees, officers, Board of Aldermen, representatives and its insurer, and Blakeney, harmless
therefrom. The Claimant itrevocably directs her attorney to satisfy any known liens out of the
settlement proceeds, The Clalmant further represents that there are no known liens in this case,

4, Claimant Racquel Wooten, as Next Friond of B.H., C.J., RS, and Cul, her

minor children, warrants and expressly represents and stipulntes:

 

 

 
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a. that she is the natural mother and Next Vriond of BAL, C.J, RJ, and CW,
her minor children, who more particularly identified in the Friendly Suit;

b, that Claimant also for the benefit of hor minor child(ren) will hold in trust for
the benefit of B.E., C.J., RJ, and C.J., her minor children, such sum and
portion as directed by the Court in (he Friendly Suit; and

¢ that Racquel Wooten will hold harmless the City, Blakenoy and all Releasecs
under this Agreement for any failure to make such allocation pursuant to any
such Court Order; and

ad, Racquel Wooten will defend, hold harmless and tndemnify the City, Blakeney,
and all Releasecs under this Agreement from any and all claims of B.HL, Cy
RJ, and C.J,, her minor children, that may artse from any matter which fs
the subject of this Agreement,

5. For and in consideration of the additional sum of One Dollar ($1.00), the Claimant,
as well as her attorneys, agree not to publicize or disclose the financial terms of this Agreement,
or the disoussions leading up to same, elther directly or indirectly, to the public generally or to any
person or entity. This confidentiality provision specifically includes, but is not limited to, the
Claimant's attorneys’ agreement not to publish any information concerning this settlement In the
Missouri Lawyers Weekly or any other such publication, This confidentiatity provision extends
fo communication by the Claimant or her attorney to any and all persons except spouses, or
attorneys or accountants who have a legitimate need lo know the terms in order fo render
professional advice or services, or unless disclosure is authorized or compelled by law. Jn the
event that it is necessary to disclose the terms of this Agreement to an attorney or accountant, the
Claimant agrees that such attorney or accountant shall be advised of this provision to maintain the
confidentiality of this Agreement, Otherwise, the Clalmant (and her attorneys) agrees not to
identify or reveal any terms of the Agreement, In response to inquiry, the Claimant agrees to state
that “lhe matter has been settled” or “the case has been resolved to the satisfaction of the parties”,
or significantly identical language.

This confidentiality provision is intended solely for the benefit of the City and its
employees, agents, officers and insurers, may be waived by the City at any time, and is not
enforceable against the City. Any comment about any matter protected by this confidentiality
provision by City or any employee, agent, officer or insurer shall constitute a waiver of this

 

 

 
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confidentlality provision. Further, this confidentiality provision is subject to the provistons of the
Missouri Sunshine Law and other applicable law, and any disclosure made under compuision of
~ law or the Order of any Court or administrative agency of proper jurisdiction shall not be deemed
a violation of this provision. Insofar as any of the terms of this Agreement must be divulged
pursuant to the compulsion of legal process or proceedings, Claimant agrees to lake all lawful steps
necessary to maintain the confidentiality of the terms of this Agreement, including immediately
notifying the City or lis attorney if sorved with or notified of any process seeking information
protected by this provislon, prior to the disclosure of any such information,

6. The parties to this Agreement additionally agree to refrain from publicly expressing
or in any way publishing any derogatory or disparaging remark concerning the other, subject to
the same conditions and safe harbor set forth in patagraph 5 concerning statements made under
compulsion of law. Nothing in this Agreement shall prohibit Claimant or her counsel from fully
disclosing the facts giving rise to her claims to any law enforcement or governmental entity or
agenoy,

i Claimant, for herself and as Noxt Friend of her mtlnor child(ren), and for her
heirs, legal representatives, administrators, successors, assigns, trustees, agents, servants, insurers
and anyone claiming by, through or under any of them, does hereby WAIVE HER RIGHT TO
SUE and COMPLETELY RELEASES AND FOREVER DISCHARGES the City of Pine Lawn,
Missouri, and its executives, Board of Aldermen members, elected officials, officers, agents,
employees, servants, administrators, legal representatives, successors, assigts, trustees, attorneys,
insurers (specifically, the Missouri Public Entity Risk Management Fund (“MOPERM))), and any
and all of them, and Stevon Blakeney aka Steve Blakeney and his heirs, legal representatives,
administrators, successors, assigns, trustees, agents, altorneys, insurers (specifically, MOPERM),
and any and all of them, of and from any manner of liabilities, actions, sults, debts, judgments,
claims, decisions, controversies, demands and damages whatsoever, in law or {n equity, which
Claimant has ever had, now has, or may hereinafter have, atising or accruing from the beginning
of time to the date of this Settlement Agreement and General Release, whether known or unknown,
against the City of Pine Lawn, Missouri, and its executives, Board of Aldermen members, elected
officials, officers, agents, employees, servants, administers, legal representatives, successors,
assigns, trustees, insurers (specifically, MOPBRM) and attorneys, and against Steven Blakeney
aka Steve Blakeney and his heirs, legal representatives, administrators, successors, assigns,

 

 

 
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trustees, agents, insurers (specifically, MOPERM), and altorneys, including but not limited to all
claims which Claimant raised or could have been ralsed in any Lawsuit, as well as all other causes
of action of any nature in any legal forum, court of Jaw, or administrative agency, under the
common law, or any federal or state statute or city ordinance,

Without limiting the generality of the foregoing, this Settlement Agreement and General
Release is intended to and shall release the City of Pine Lawn and Steven Blakeney aka Steve
Blakeney and cach of their agents, successors and assigns from any and all claims of violations
arising under 42 U.S.C, §§ 1983, 1988 or any other federal, state, or local statute, ordinance or
common law,

8, The parties agree that the sum paid to Plaintiff is for Claimant’s alleged non-
economic damages Including physical injury, pain and suffering, and for relmbursement for
Plaintif’s attorney's fees, as more fully set forth in paragraph 1 of this Agreement, and not for
punitive danages, Claimant further acknowledges, agrees, covenants and stipulates she is solely
responsible for the payment of any and all local, state and/or federal taxes, withholdings, interest
and penalties that may be levied on any and all monies paid to her under this Agreement,

9, Clty agrees that it shall assert no opposition io an action by Claimant to expunge
any record of arrest resulting from the incident wpon which Claimant’s claims is based.

10, Each party expressly states and acknowledges that this Agreement sets forth all the
promises, agreements, conditions and understandings among the parties concerning the matters set
forth herein, ‘There are no oral agreements or understandings among the parties hereto effecting
this Agreement, and this Agreement supersedes and cancels any and ail previous negotiations,
arrangements, understandings and agreements (elther oral or written), if any, among the parties
hereto with respect to the matters set forth herein. Subsequent alteration, amendment, change or
addition to this Agreement shall not be binding upon the parties hereto unless reduced to writing
and signed by them.

11. Bach party declares and warrants that no representations made by any party hereto,
or by any agent or attorney of any party hereto, or any other representation has induced any party
to make this Agreement and that each party hereto is acting upon his/her/its own judgment, belief
and knowledge regarding the nature and validity of all claims or potential claims based upon the
advice of Segal counsel of his/her/its own choosing in making this Settlement Agreement and

General Release,

 

 

 
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12. The parties hereto acknowledge and warrant to each other that they have not at any
time heretofore assigned to any other person or party all or any portion of any claim, counterclaim,
or potential claim, whatsoever that any party may have or may have had against any other party
hereto,

13, This Agreement shail inure fo the benefit of the City of Pine Lawn, Missouri, and
its executives, Board of Alderman members, elected officials, officers, agents, employees,
servants, administrators, legal representatives, successors and assigns, past and present, and
anyone clalming through them. The Claimant acknowledges that the consideration described in
Paragraph | of this Agreement is all that she or her allorneys or representatives are ever to receive
from the Defendant, or any person or entity whatsoever, in settlement of the threatened claims
pertaining to the Lawsuit, whether in settlement of the Claimant's claim for damages, for pain and
suffering, emotional distress, mental anguish, inconvenience, loss of enjoyment of life,
nervousness, anxiety, worry, loss of back pay and future pay, if any; for declaratory and injunctive
relief} and for reasonable attorneys’ fees, costs, or for any other claim of any nature whatsoever.
The Claimant further agrees that she is not, and shall not be considered to be, a “prevailing party”
with respect to any claims threatened or made in relation to the Lawsuit within the meaning of any
statute, rule or other provision of law which is, or may be, in any way applicable hereto,

14. This Agreement and any controversy or claims arising ont of or relating to this
Agreement shall be governed by the laws of the State of Missouri,

15. Claimant agrees to complete a Medicare reporting form and return it to counsel for
the City. The parties agree that receipt of this form is a condition precedent to the payment set
forth Inparagraph 1. Claimant further warrants and represents that she has not sought any medical
treatment for which Medicare has paid or been requested (o pay as a result of any action of the
City or Blakeney.

16. This Agreement may be executed in counterparts, and the counterparts shall
constitute one and the same document.

17, Because this Agreement expressly releases all claims of minor children B.L,
C.J. Ru, B.B,, and C.d., the parties agree to the prosecution of the Friendly Suit for the sole
and express purpose of obtaining court approval of the minor settlement in accordance with
all applicable law, Notwithstanding any other provision In this Agreement, the performance
of all covenants and agreements herein are contingent upon such Court approval by Court

 

 

 
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order in the Friendly Suit. [fan order approving this settlement has not beer entered within
ninety (90) calendar days of the execution of this Agreement by both parties, this Agreentent
shall become null and vold, Sueh order shall be incorporated into this Agreement by
reference,

18. pon entry of the order approving minor settlement and the payment of the
funds set forth herein, Claimant shall within five (5) business days thereof dismiss all claims
in the Friendly Suit with projudice,

19, THE CLAIMANT EXPRESSLY ACKNOWLEDGES THAT SHE HAS
BEEN COUNSELED BY HER ATTORNEYS, AND BASED ON THAT CONSULTATION,
UNDERSTANDS AND AGREES THAT THIS AGREEMENT FULLY SETTLES,
RELEASES, AND DISCHARGES ANY AND ALL CLAIMS RAISED, OR WHICH
COULD HAVE BIEN RAISED, IN THE ABOVE-REFERENCED LAWSUIT, 4S WELL
AS ANY OTHER CLAIM, OF ANY NATURE, WHICH THE CLAIMANT HAS EVER
HAD, NOW HAS, OR MAY HEREINAFTER HAVE AGAINST THE DEFENDANT CITY
OF PINE LAWN OR STEVEN BLAKENEY AKA STEVE BLAKENEY, WHETHER
NOW KNOWN OR UNKNOWN, ARISING FROM THE BEGINNING OF TIME TO THE
DATE OF THIS AGREEMENT, ANP THAT THE TERMS OF THIS AGREEMENT ARE
FULLY UNDERSTOOD AND VOLUNTARILY ACCEPTED FOR THE PURPOSES OF
MAKING FULL AND FINAL COMPROMISE AND SETTLEMENT,

Approved and agreed to by the undersigned:

   

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ext Friend and Natural Mother to Date
B.H., CJ, RL, BH, and C.J,

STATE OF MISSOURI )
) 8s
COUNTY oF Ot Lours )

On this gtMsey of December 2015, before mo personally appeared Racquel Wooton, to me known to be the
person deseribed in and who exeouted the foregoing Settlement Agreement and General Release and acknowledged
to mo thatshe executed the same for the purposes therein stated,

IN TESTIMONY WHEREOY, [ have heyounto set my land and affixed my offie/@l seal in the County and
State aforesald, the day and year first above wrilten. ; eri,

NoteerPubi De outy Clerk, St Lous Cou nty

 

My-Gommiistion Bxpires:

 

 

 
 

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CITY OF PINE LAWN, MISSOURI
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tlie

 

[date]
STATE OF MISSOURI }
} $$
COUNTY OF ST. LOUIS )

=
Ido hetoby certify thavfDs’ ifs wil GH personally kyowt to me he person whose name is
subsoribed to the foregoing Instrumont, appearcd bofore me this 44" Gay of F, 2015, in person, and
i

acknowledged that she signed and delivered this Instrument in his official capacity as Fthe
City of Pine Lawn, Missouri, and the duly authorized representattye of the City of Pine Lawn, Missouri, with full
authority from the Board of Aldermen approving this Agreemont, us her free and voluntary act, for the uses and

purposes therein sot forth.

IN TESTIMONY WHBREOP, I have hereunto sot my hand and affixed my officlal seal in the County and State
aforesald, the day and year first above written,

My Commission Bxplres: 2? / 27 /) fa

 
    

   
 

Roberta J Mehthow
Notary Public Notary Seal
Stale of Masourt County of St Louls City
My Commission Expires 09/27/2016
Conmission # 12320678

    
     

(END OF DOCUMENT}

 

 

 

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SETELEMENT AGREEMENT AND GENERAL RELEASE
This SETTLEMENT AGREEMENT AND GENERAL RELEASE (“Agreement”) is made

and entered into by and between Roy Telano and Chasity Telano (individually and collectively the
“Claimant” or “Telano”) and the CITY OF PINE LAWN, MISSOURI, (the “City” or “Defendant”)
on this BF iay of May 2015. The Defendant and Claimant are sometimes herein individually
referred to as “party” or collectively as the “parties”.

WHEREAS, the Claimant has asserted claims against the Defendant arising from a traffic
stop and other interactions and incidents involving former Pine Lawn Officer Steven Blakeney aka
Steve Blakeney (“Blakeney”) occurring on or about July 19, 2013 and thereafter (hereinafter
“Tawsuit”); such claims against the City of Pine Lawn and Blakeney may arise under the United
States Constitution, Missouri Constitution, and other state and federal law, including but not
limited to 42 USC §§ 1983 and 1988; the Claimant is represented by attorney Stephen Ryals; and

WHEREAS, the City and Blakeney have each denied and each continues to deny any
wrongdoing or liability to the Claimant; the City is represented by attorneys Blake Hill and
William Hellmich of King, Krehbiel & Hellmich, LLC; Blakeney is represented by attorney Mark
Zoole; and

WHEREAS, the parties and their respective attorneys mediated all of the Claimant’s
claims at a mediation held on April 20, 2015 at the Offices of Dick Sher and Sher Corwin
Winters LLC; the City, Telano, and Blakeney each attended the mediation along with their
respective counsels, and an agreement to settle was reached between the City and Telano; and :

WHEREAS, while Blakeney is not a party to this Agreement, he is fully released
hereunder as more particularly set forth below; and

WHEREAS, the Defendant and the Claimant desire to fully and finally comprise, resolve,
and settle claims raised or which could have been raised in any Lawsuit by the Claimant, against
all putative defendants to such Lawsuit including but not limited to the City of Pine Lawn and
Blakeney, as well as any and all claims of any nature which the Claimant may now have or has at
any time in the past hed against the City of Pine Lawn or Blakeney.

NOW, THEREFORE, in consideration of the foregoing recitations and the mutual and
reciprocal promises contained in this Agreement, the parties hereby agree as follows:

L. Contemporaneously with the execution of this Agreement by the Defendant shall
cause to be paid to the Claimant and his/her attorneys the total sum of Two-Hundred-T wenty-Five-

 

 
 

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Thousand Dollars ($225,000.00) by draft made payable to “Roy Telano, Chasity Telano, The Ryals
Law Firm, P.C., and Dobson, Goldberg, Berns & Rich, LLP” and delivered to attorney Stephen
Ryals. Defendant also agrees to pay in full the mediator’s bill directly to Dick Sher for the
mediation of April.20, 2015. The payments and amounts set forth in this paragraph fully and
completely settle and resolve all claims of the Claimant including but not limited to his/her claims
for all manner of damages, attorney’s fees and court costs. No other payments will be made by
the Defendant or any other releasee or beneficiary under this Agreement, and Claimant shall be
solely responsible for the payment of his/her own costs and attorney's fees, and any taxes or any
other assessments incident to the payments set forth in this paragraph.
2. It is expressly agreed by and among the parties that the payment made herein by
the Defendant is made solely for the purpose of preventing and/or terminating the assertion of the
. cause of action, as well as any other disputes or claims which the Claimant may have against the
City and/or Blakeney arising from any facts now known or unknown. This payment is made
without any way admitting any liability, which liability both the City and Blakeney expressly deny.
Claimant covenants that he/she shall not file any lawsuit for the acts, omissions and conduct
released herein, and as more particularly set forth below, releases and covenants not to sue the City
of Pine Lawn or Steven Blakeney.

3. The Claimant agrees to satisfy any and all liens arising out of any incident or
occurrence relating to the claims and to indemnify and save both the City of Pine Lawn, its agents,
employees, officers, Board of Aldermen, representatives and its insurer, and Blakeney, harmless
therefrom. The Claimant irrevocably directs his/her attorney to satisfy any known liens out of the
settlement proceeds. The Claimant further represents that there are no known liens in this case.

4, For and in consideration of the additional sum of One Dollar ($1.00), the Claimant,
as well as his/her attorneys, agree not to publicize or disclose the financial terms of this Agreement,
or the discussions leading up to same, either directly or indirectly, to the public generally or to any
person or entity. This confidentiality provision specifically includes, but is not limited to, the
Claimant’s attorneys’ agreement not to publish any information concerning this settlement in the
Missouri Lawyers Weekly or any other such publication. This confidentiality provision extends
to communication by the Claimant or his/her attorney to any and all persons except spouses, or
attormeys or accountants who have a legitimate need to know the terms in order to render

professional advice or services, or unless disclosure is authorized or compelied by law. In the

 

 
 

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event that it is necessary to disclose the terms of this Agreement to an attorney or accountant, the
Claimant agrees that such attorney or accountant shall be advised of this provision to maintain the
confidentiality of this Agreement. Otherwise, the Claimant (and his/her attorneys) agrees not to
identify or reveal any terms of the Agreement. In response to inquiry, the Claimant agrees to state
that “the matter has been settled” or “the case has been resolved to the satisfaction of the parties”,
or significantly identical language.

This confidentiality provision ts intended solely for the benefit of the City and its
employees, agents, officers and insurers, may be waived by the City at any time, and is not
enforceable against the City. Any comment about any matter protected by this confidentiality
provision by City or any employee, agent, officer or insurer shall constitute a waiver of this
confidentiality provision. Further, this confidentiality provision is subject to the provisions of the
Missouri Sunshine Law and other applicable law, and any disclosure made under compulsion of
law or the Order of any Court or administrative agency of proper jurisdiction shall not be deemed
a violation of this provision. Insofar as any of the terms of this Agreement must be divulged
pursuant to the compulsion of legal process or proceedings, Claimant agrees to take all lawful steps
necessary to maintain the confidentiality of the terms of this Agreement, including immediately
notifying the City or its attorney if served with or notified of any process seeking information
protected by this provision, prior to the disclosure of any such information.

5. The parties to this Agreement additionally agree to refrain from publicly expressing
or in any way publishing any derogatory or disparaging remark conceming the other, subject to
the same conditions and safe harbor set forth in paragraph 4 conceming statements made under
compulsion of law. Nothing in this Agreement shall prohibit Claimant or his/her counsel from
fully disclosing the facts giving rise to his/her claims to any law enforcement or governmental
entity or agency.

6. Telano, for himself/herself and his/her heirs, legal representatives, administrators,
successors, assigns, trustees, agents, servants, insurers and anyone claiming by, through or under
any of them, does hereby WAIVE HIS/HER RIGHT TO SUE and COMPLETELY RELEASES
AND FOREVER DISCHARGES the City of Pine Lawn, Missouri, and its executives, Board of
Aldennen members, elected officials, officers, agents, employees, servants, administrators, legal
representatives, successors, assigns, trustees, attorneys, insurers (specifically, the Missouri Public

Entity Risk Management Fund (“MOPERM’)), and any and all of them, and Steven Blakeney aka

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Steve Blakeney and his heirs, legal representatives, administrators, successors, assigns, trustees,
agents, attorneys, insurers (specifically, MOPERM), and any and all of them, of and from any
manner of abilities, actions, suits, debts, judgments, claims, decisions, controversies, demands
and damages whatsoever, in law or in equity, which he/she has ever had, now has, or may
hereinafter have, arising or accruing from the beginning of time to the date of this Settlement
Agreement and General Release, whether known or unknown, against the City of Pine Lawn,
Missouri, and its executives, Board of Aldermen members, elected officials, officers, agents,
employees, servants, administers, legal representatives, successors, assigns, trustees, insurers
(specifically, MOPERM) and attomeys, and against Steven Blakeney aka Steve Blakeney and his
heirs, legal representatives, administrators, successors, assigns, trustees, agents, insurers
(specifically, MOPERM), and attorneys, including but not limited to all claims which Ciasmant
raised or could have been raised in any Lawsuit, as well as all other causes of action of any nature
in any legal forum, court of law, or administrative agency, under the common law, or any federal
or state statute or city ordinance.

Without limiting the generality of the foregoing, this Settlement Agreement and General
Release is intended to and shall release the City of Pine Lawn and Steven Blakeney aka Steve
Blakeney and each of their agents, successors and assigns from any and all claims of violations
arising under 42 U.S.C. §§ 1983, 1988 or any other federal, state, or local statute, ordinance or
common law.

7. The parties agree that the sum paid to Plaintiff is for Plaintiffs alleged non-
economic damages including physical injury, pain and suffering, and for reimbursement for
Plaintiff's attorney’s fees, as more fully set forth in paragraph 1 of this Agreement, and not for
punitive damages. Claimant further acknowledges, agrees, covenants and stipulates he/she is
solely responsible for the payment of any and all local, state and/or federal taxes, withholdings,
interest and penalties that may be levied on any and all monies paid to her under this Agreement.

8, City agrees that it shall assert no opposition to an action by Claimant to expunge
any record of arrest resulting from the incident upon which Claimant's claims is based. ,

9. Each party expressly states and acknowledges that this Agreement sets forth all the
promises, agreements, conditions and understandings among the parties conceming the matters set
forth herein. There are no oral agreements or understandings among the parties hereto effecting
this Agreement, and this Agreement supersedes and cancels any and ali previous negotiations,

 

 

 
 

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arrangements, understandings and agreements (either oral or written), if any, among the parties
hereto with respect to the matters set forth herein. Subsequent alteration, amendment, change or
addition to this Agreement shall not be binding upon the parties hereto unless reduced to writing
and signed by them.

10. Each party declares and warrants that no representations made by any party hereto,
or by any agent or attomey of any party hereto, or any other representation has induced any party
to make this Agreement and that each party hereto is acting upon his/her/its own judgment, belief
and knowledge regarding the nature and validity of all claims or potential claims based upon the
advice of legal counsel of his/her/its own choosing in making this Settlement Agreement and
General Release.

fl. The parties hereto acknowledge and warrant to each other that they have not at any
time heretofore assigned to any other person or party all or any portion of any claim, counterclaim,
or potential claim, whatsoever that any party may have or may have had against any other party
hereto.

12. This Agreement shall inure to the benefit of the City of Pine Lawn, Missouri, and
its executives, Board of Alderman members, elected officials, officers, agents, employees,
servants, administrators, legal representatives, successors and assigns, past and present, and
anyone claiming through them. The Claimant acknowledges that the consideration described in
Paragraph | of this Agreement is all that he/she or his/her attorneys or representatives are ever to
receive from the Defendant, or any person or entity whatsoever, in settlement of the threatened
claims pertaining to the Lawsuit, whether in settlement of the Claimant’s claim for damages, for
pain and suffering, emotional distress, mental anguish, inconvenience, loss of enjoyment of life,
nervousness, anxiety, worry, loss of back pay and future pay, if any; for declaratory and injunctive
relief; and for reasonable attorneys’ fees, costs, or for any other claim of any nature whatsoever.
The Claimant further agrees that he/she is not, and shall not be considered to be, a “prevailing
party” with respect to any claims threatened or made in relation to the Lawsuit within the meaning
of any statute, rule or other provision of law which is, or may be, in any way applicable hereto.

13. This Agreement and any controversy or claims arising out of or relating to this
Agreement shall be governed by the laws of the State of Missouri.

14. THE CLAIMANT EXPRESSLY ACKNOWLEDGES THAT HE/SHE HAS
BEEN COUNSELED BY HIS/HER ATTORNEYS, AND BASED ON THAT

 

 
 

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CONSULTATION, UNDERSTANDS AND AGREES THAT THIS AGREEMENT FULLY

SETTLES, RELEASES, AND DISCHARGES ANY AND ALL CLAIMS RAISED, OR
WHICH COULD HAVE BEEN RAISED, IN THE ABOVE-REFERENCED LAWSUIT, AS
WELL AS ANY OTHER CLAIM, OF ANY NATURE, WHICH THE CLAIMANT HAS
EVER HAD, NOW HAS, OR MAY HEREINAFTER HAVE AGAINST THE DEFENDANT
CITY OF PINE LAWN OR STEVEN BLAKENEY AKA STEVE BLAKENEY,
WHETHER NOW KNOWN OR UNKNOWN, ARISING FROM THE BEGINNING OF
TIME TO THE DATE OF THIS AGREEMENT, AND THAT THE TERMS OF THIS
AGREEMENT ARE FULLY UNDERSTOOD AND VOLUNTARILY ACCEPTED FOR
THE -PURPOSES OF MAKING FULL AND FINAL COMPROMISE AND
SETTLEMENT.

15. Claimant agrees to complete a Medicare reporting form and return it to counsel for
the City, The parties agree that receipt of this form is a condition precedent to the payment set
forth in paragraph 1. Claimant further warrants and represents that he/she has not sought any
medical treatment for which Medicare has paid or been requested to pay as a result of any action
of the City or Blakeney.

16. This Agreement may be executed in counterparts, and the counterparts shall
constitute one and the same document.

Approved and agreed to by the undersigned:

 

 

STATE OF MISSOURI }
COUNTY OF ST. LOUIS )

On this day of May 2015, before me personally appeared Roy Telano, to me known to be the person
described in and who executed the foregoing Settlement Agreement and General Release and acknowledged to me
that he executed the same for the purposes therein stated.

IN TESTIMONY WHEREOF, I have hereunto set my hand and affixed my official seal in the County and
State aforesaid, the day and year first above written.

 

Notary Public
My Commission Expires:

 

 
 

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CLAIMANT:
asity Tel
SHBG
Date ff i
STATE OF MISSOURI )
85
COUNTY OF ST. LOUIS

On this day of May 2015, before me personally appeared Chasity Telano, to me known to be the person
described in and who executed the foregoing Settlement Agreement and General Release and acknowledged to me
that she executed the same for the purposes therein stated.

IN TESTIMONY WHEREOF, I have hereunto set my hand and affixed my official seal in the County and
State aforesaid, the day and year first above written.

 

Notary Public

My Commission Expires:

 

 
 

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CIFX OF PINE LAWN, MISSOURI

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XO05/ 14/2015
[date] ¢ c
STATE OF MISSOURI )
. §5$
COUNTY OF ST, LOUIS

I do hereby certify that O24 69S lin aelwedbConally known to me to be the person whose name is
subscribed to the foregoing instrument, appeared before me this /4“4day of May, 2015, in person, and acknowledged
that she signed and delivered this instrument in his official capacity as eTi &-__ of the City of Pine
Lawn, Missouri, and the duly authorized representative of the City of Pine Lawn, Missduri, with full authority from
the Board of Aldermen approving this Agreement, as her free and voluntary act, for the uses and purposes therein set
forth. ,

IN TESTIMONY WHEREOF, I have hereunto set my hand and affixed my official seal in the County and State
aforesaid, the day and year first above written.

 

   

  
     

My Commission Expires:
Roberta J Menthol
03 (on |) b Stato fy Pubits ee oon
My Commission Expires oa2y2o18 )

 
 

[END OF DOCUMENT]

 

 
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The
HOLLINGSWORTH
LAW FIRM

Dewey Gi. Hollingsworth

Atlarney at Law

Christophe: G, Hollingsworth
Attorney at Law

FAX TRANSMITTAL
To: Carolina Edwards / Steve Ryals
Date: 10-2-15
No. of Pages (including cover page): 8
Pax Number: 314.526-0061

From:
() DEWRY G. HOLLINGSWORTH
(X} CHRISTOPHER G. HOLLINGSWORTH

Re: CONFIDENTIAL
Jordan Maxtner- Document Requested and Notarized

IMPORTANT: This message is intended for the wae of the individual or entity to which it is addsessed
and may contain information that is privileged, confidential and exempt from disclosuxe under applicable
law. If the reader of this message is not the intouded recipient, or the employee or agent responsible for
delivering the message to the intended recipient, you are hereby notified that any dissemination,
distribution or vopying of this communication is stziotly prohibited. If you have received this
communication in exrot, please notify ua immediately by telephone and return the original massage to us
at the address below via the United States Postal Service. Thank you.

IF TITERE ARE ANY COMPLICATIONS WITH THIS TRANSMISSION, PLEASE
CONTACT Christopher AT’ (630) 701-1700.

 

 

AURORA OFFICR ¢ 1700 N, Farnaworth Ave., Suite 27 ¢ Auruza, Llinois 60505
#* Telephone: 630.701.1700 + Fax: 630.701.1704 *

OSWRGO OFFICE + 123 W, Washingt St. Suite 231* Oswego, [linate 60543
®Telephenc 630.554.1786 » Fax: 650.701-12704 ¢

Eeruil: dewey @hollingsworthlawnet ¢ daia@hollingrworthlaw.net

 
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1011704

 

This SETTLEMENT AGREEMSNT AND GENERAL RELBASS Agreement" Ismade
and entered into by and between Jordan Martner (the “Claimant” or "Martner’) and the CITY OF
PINE LAWN, MISSOURY, (the “Clty” or “Defendant) of this day of August, 2015. The
Defendant and Claiment are sometimes herein individually referred bo as “pay? of collectively
aa the “pasties”.

WHEREAS, tho Claimant has asserted clsime against the Defendant arlaing from a traffic
stapand gther interactions and incktents involving former Pine Lawn Officer Steven Blakapey aka
Steve Biskeney (Slakency”) occurring on or ebout April 10, 2014 sad thereafter (herainafter
“Lawenfi”); such claims against the City of Pine Lawn aud Blakeney nay atiss under the United
Stafes Coustitution, Missaurl Constitution, and otter sirte and federal law, including but not
Hinked te 42 WSC $$ 1983 and 1988; the Clalont }s represented by ultoriss Stephen Ryals and
Shawn Goulet; and

WHEREAS, the City hiss filed and continues te prosecute certait charges alleging violation
of Fine Lawn municipal ordinance axistag from the encounter and arrest of Claimant, and

WHEREAS, the Chry and Hiskeney have cack dented and each continues to deny euy
wrongdolig or HabWlity fo the Clatment; the Clty is represented by attomeys Blake Hitt and
William Hetbnich of King, Krehbiel & Hetlualch, LLC; Blekency [2 represented by attomey Mark
Zoole; add

WAEREAS, whlle Biskency it not a party to thls Agerement, he is Rally released
hereunder as more particularly set forth below; and

WHEREAS, tho Defeadent end tho Chimant desite to fully and finally consprise, resolve,
‘and settic claims raiged oc which could have heen taised fn any Lawsult by the Claimant, agalnst
all putative defendants to such Lawault ixctudiag but not limited to Ute City of Pine Lawn and
Blakeney, ax well os any and al! claims of any nalare which the Claimant may now hays or has at
pny thne In the past had agpinst the City of Pine Lawn or Biakensy.

NOW, THEREFORE, in conskieration of the foregolng recitations and dis mutual and
reciprocal promises contained in this Agresmont, the partles hereby apres as follows:

1. _Contemporansously with the exeouthon of this Agresment by the Dofendant sitll
ésuse to be pald to the Clabnant and her attomeys the tolal sunn of One-Fondred-Bighty-Thousaad
Dollars ($180,000.00) by drat mado payable to “Ths Ryals Law Firm, P.C." and dellvered ta

 
sopapDele 10155 3:55PM THE HOLLINGSWORTH LAW FIovonazoa oS We ESI Pg

attomey Stephen Ryals. ‘The payments and amounts set forth in this paragraph fully end
completely settle and resotve all claims of fk Claimant including but nod limited to her olafms for
all manner of damages, attorney's fees and court costs. No other payments will bs ade by the
Defendant or any other releases or heneltclary under this Agreement, and Clalmant shall be safely
responaible for the payment of her own costa and atfomey’s ftes, and ony taxes or any other
assessments incident to the payments set forth lo thir paragraph,

2% «© Contemporansously with the execution of this Agreement hy Dafendant, it shall
dismiss with profitdice all charges pending against Claimant without casts being seseased against

Claimant.
3, Ie is cxprosaly agreed by ond among the partles that the payment made herein by
‘ tha Dafendant ig eade solely for the purpose of preverting and/or terminating the assertion of he =

cause of action, a2 well as any other disputes or claims which tho Claimant may have againat the
City aud/or Blakeney arising from eny fhots new known or unknown, This payment is made
without any way adiilttiog any Hability, whlch liability both the City and Blekenoy exprascly deny.
Claimant covenarite thet ghe shall not file any lawsuit for the acts, omfssions and conduct released
hereio, and ag moce particularly set fhrth below, releases and covenants not fo suc the City of Plre
Lawn or Steven Blakeney.

4. The Claimans agrees to satisfy any and ail Items arising out of any incident or
ctcurrence relating to the ulalms and to indemnbfy and save both the City of Pine Laws, its agents,
employees, officers, Board of Aldennen, representatives and its insurer, and Blakeney, hennkes
therefrom. The Clatmant irrevocably directs her attorney to satisfy eny known lens out of the
settlement proceeds. The Claimant further represents that there are no known Jiens in this case. -

5. For and inconskictation ofthe additional sum of One Dollar ($1.00), tho Claimant,
ag well a9 her attorneys, agree not to publicize or disclose the finatetal terms of this Agreement,
or the discussions lending mp ti aame, either directly or Indirectly, to the publle goncrelly or to any
person or antity, This confidentiallty provision specifically includes, but is not limited to, the
Claimant's attomeys! egresment not to publish any Information conceming this setttemant in the
Missouri Lawyers Weelely or ay other such publication. This contidentlallty provision exteads
to cottmuntication by the Claimant or tur attomey to any and all persons except spotisas, parents
or atorneys ar accountants who have « legitimate need to know the terms in osder ty render
professional advice of services, or unless disclosure 1a authorized or compolled by law. In the

 
sora dee LWIA FF Heer HE HOLEEROSHORTH LAW FAR Sronan0g | OOS O° No HAEP PD a °°?

event that it Is necessary to disclose tha terms of this Agresment to an attomey or accountant, the

Clalnent agreed that such attorney of aecomtant shall be advised of this provision to matntaln the

confidentiality of this Agreement, Otherwive, the Clalmant (ond her attomeys) agrees not to .
identify or reveal any terms of thre Agreement, In rosponse to inquiry, the Claimant agrees fo stats

that “the matter has beat settled” or “the case has been resulved fo the satisfaction of the parties”,

or significantly identical language.

This confidentiality proviston fo Intended solely for the benalit of the Clty and Its
employees, agents, officers and insurers, may be watved by thio City at any timo, and Is not
enforceable against the City, Any comment about any matter protected by this confidentiality
provision by City or acy etnployee, agent, officer or insurer ahall constitute a walver of this

S  ebnfidentiafity provision, Farther, chis confidentfallty provision 's subject to the provistons of the ‘

Missouri Sunshine Law and other applicable lay, and any disclosure made uader compulsion of
law or the Order af any Court or administrative agency of proper juttediation shall not be deemed
a vielation of this provision, Ynsofw as any of tite tems of this Agresment must be divulged
pursuant to the computston oflygal process or proceedings, Claimant agress to take all fawilel steps
necessary to malntain the confidentlelity of the terme of this Agreement, neluding immediately
notifying the Clty or Its attomey if served with or notified of any process sucking Infomation
protected by this provision, priar to the disclosure ofany anch infiemation.

6 ‘Thopartles to this Agreoment addifonally agree to roftaln from publicly expressly
ot in eny way publishing any derogatory or disparaging remark conceming the other, subject to
the same conditions and gafis harbor act forth in paragraph 4 oonceming statements made under
compulsion of law, Nothiog in this Agresment shall prohibit Claimant or her counsel fora fully

" diaolosing tho dicta givleg rie to her clalms to ny law enforeetnent or governontal entity or
agenny.

7, —- Martner, for herself and herheles, logal represantativas, administrators, successors,
assigns, trustscs, agents, servants, insurers and anyone okalming by, through orunder any ofthe,
does hereby WAIVE her RIGHT TO SUE and COMFLETELY RELEASES AND FORSVER
DISCHARGES the City of Fina Lawn, Missouri, and ite oxcoutlves, Board of Aldermen members,
lected offictals, officers, agents, employees, servants, administrators, legal representatives,
guocestars, assigns, tmstees, attomeya, Inaurera (specifically, the Missourl Public Entity Risk

. Menagement Fund (“MOPERM"), and ny end all of them, and Steven Binkeney aka Stave

 

 

 
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Blakeney and his hoirs, legat representatives, administrators, sucnessary, atsigns, trustees, agents,
attomeys, Ingurets @pesificaly, MOPERM), and any and all of then, ef and from sty manner of
linbillties, ections, suits, debts, Fudgmenta, claims, decinons, controversies, demenda and damages
whatsoever, in law or in equity, which she has over had, now has, or may herelnafter have, arlaing
‘ or accruing from the begianing of time to tho date of this Settlement Agmement and General
Release, Whether known of unknown, agatost the City of Pine Lawn, Missouri, and its exeeutlver,
Board of Aldermen member, elected offictals, officers, agents, employes, servants, administors,
legal representatives, successors, assigns, trustees, fyauera. (spooltteally, MOPBRM) and
attomeys, and against Stoven Biokeney ake Steve Blakeney and hfs Hels, legal representatives,
administeafors, euccescoze, assigns, trustecs, agents, Insiteca (specifically, MOPERM), and
uttomeys, including but not fmited to all claime which Clalmant rafsed ar coutd have been ralsed
' in say Laweult, ag well o9 all other causes of action of any naturs In any legal forem, court of law,
ot administrative agenoy, under the cornman law, or any federal or ciate statute or city ordinance,

Without imiting the generality of the foregoing, this Setdlement Agreement and General
Reloana is intended to aud shall roleage the City of Plue Lawn and Stayen Alekeney alka Steve
Blakeney and each of (helt agents, succesvors and séelgns fiom ady and afl oleims of violations
arising under 42 U.S.C, §§ 1983, 1988 or any cther federal, state, or loval statute, ordinance of
conumnon law,

8 The parties agres that tho sum par to Plaintiff is for Plalntitf's alleged non-
economic damages Snoluding physical injury, pain and suffetlag, and for reimbursement for
Plaintiff's attorney's feos, as mare fully set forth in paragraph 2 of this Agreement, and not for
paoitive damages. Claitant firther acknowledges, agrees, covenants and siipulates she fs sotely
responsible for the payment of any and ell fooal, steto and/or federal toxes, withholdings, Interest
and penalties that may be levied of aay and afl monies pald to her under this Agreement,

9, City agrecs that It shall assert no opposition to an uctlon by Claimant to expunge
any record of srrest resulting from the inokent upon which Claimant's clatns is based,

10, Bach party expresaly states end acknowledgen that thls Agreement sets forth all the
promises, agreements, conditions and understandings among the pastles concerning tho matters set
forth heveln, There are no otal agranments of understandings among the parties hereto oltzeting
this Agresment, and this Apraemont supersedes and canwels any sod all previous negotiations,
anuligemonts, understandings and aprecmerits (oitker oral or Written), if any, among the partias

 

 

 
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herelo with respect to the matters a6t forth hereln. Subsequent alteration, amendment, change or
addition to this Agreement shall tot be binding wut the parties hereto untoss reduced to writing
and signed by them.

It. Each party declares and warents that no representations made by any party bereto,
ox by any agent or atomecy of any party hereto, or any other representation has Induced aty party
to muke this Agreoment atid that cach party harete is aoting upon his/hor/its own Judgment, teltcf
and knowledge regarding the nature and validity ofall claims or potential claims based upoa fc
adylee of legal counsel of hishen/lts own chooalng in making this Settlement Agreement attd
General Relcase,

12. The parties hereto acknowledge and warrant to each other that they have nat at any.
tinoherctofbre agskyned to mny other person or party all or any portion of any claim, comnterclain,
or potential claim, whatsoever that any party nay have or may have had against any other party
hereto,

13. This Agreement shall inuns to the bsnefit of the City of Pine Lawa, Missourl, and
its execudives, Board of Alderman members, clected officials, officers, agents, employess,
servants, sdmintateators, legal ropriedntatives, succcasars end arsigns, post and present, and
anyone olalming through thom, The Claimant acknowledges that the consideration dosocibed fn
Paragraph 1 of this Apreerrentt Js el! that she or her attorneys or jepresenlailvas ars ever to receive
from the Defendant, or any person or enfity whatsoever, in satilement of tha threatened claims
pertaming to the Laveuit, whether in sottlament of the Claimant's claiin for damages, for paln and
sufftding, ¢motionnl distress, mental anguish, inconvenience, loss of enjoyment of lif,
nervousiness, anxiety, worry, logs of hack pay and future pay, if any; for declaratory and Injunstive
rafleft and for reasonable attorneys’ fhes, caste, or for any other claim of any nature whatsoever,
‘The Claimant farther agrees that she Is not, and shall not be consklared to be, a “provailing party*
with respect to any claims threatened cr mado In relatioa to the Lawsnit within the meaning of any
statute, rule or other provision of law which fs, ormay b6, In any Way spplicable hereto.

id. This Agreement and any controversy or claims arising out of or relating to this
Agreentent shall te governed by the Lawn of the State of Missouri,

is, THE CLAIMANT EXPRESSLY ACKNOWLEDGES THAT SHE WAS
BEEN COUNSELED BY BER. ATTORNEYS, AND BASED ON THAT CONSULTATION,
UNDERSTANDS AND AGHRES THAT THIS AGREEMENT FULLY SETTLES,

 

 
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011704

RELEASES, AND DISCHARGES ANY AND ALL CLALVS RAISED, OR WHICH
COULD BAVE BEEN RATSED, IN THE AGOVE-REFERENCED LAWSUIT, AS WELL

 

HAD, NOWHAS, OR RMAY HERRINAFTER HAVE AGAINST THE DEFENDANT CITY
OF PINE LAWN OR STEVEN BLAKENEY AKA STEVE BLAKENEY, WHETHER
NOW KNOWN OR UNKNOWN, ARISING FROM THE BEGINNING OF TIME TO TRE
DATE OF THIS AGREEMENT, AND THAT TRE TERMS OF THIS AGREEMENT ARE
FULLY UNDERSTOOD AND VOLUNTAQULY ACCEPTED FOR THE PURPOSES OF
MAKING FULL AND WINAL COMFROMISE AND SETTLEMENT.
16, Claimant agrese to completa a Medicare reporting form and return tt to counsel for
_the City. ‘Tha parties agree thet receipt of this form is & condition precedent to the payrasnt sot
forth In parepmiph £. Claimant further warrants and represents thot she has net sought say medal
freatment for which Medioare bay paid or been requested ty pay os a result of saty action of the
City or Blukensy.
17, This Agreement may bo exnouted in counterparts, and the covnterparts shall
oonstitule ons and the sume docunent, .
Approved and agreed to by tha undersigned:
CLAIMANT:

Dato
STATE OR 2dNNOUS Dilincns ) 6s
COUNTY OF Kone
Onthts_ +. 2 Den boforeme puscnally appeared Jordan Mariner, fo mskaotnt ta bo te
perman dotenlTa Ga Who emeed tho Sepals Salorat Settlement Agreement anf General Ratease and acknowtedted
bo tuo thot sha etcecnted tha cane for tha puipoces thereta stated,
“oN WHERHOP, I have h Ficed mip offictal seal in (he Couey and

    
  

‘ Notary Public, Stataol liinois
aM My Commission Expires
eM February 03, 2016

 
  

      

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STATE OF MISSOURI ,
COUNTY GF ST. LOUIS

Ido hereby certify thet Oluner Unclerwchecsona fo Mie (9 be the presen whose nasio i

sabscdited fo the foregoing Inginement, appeared befere uo thts ay of F, 2045, in porsen, and
acknoaledged tfat sho s!gnet and delivered thle Insinement tn hls offtcial canvas Adlipe Mla ft
City of Pine Lawn, Miscou, aid the duly sothariegd eapmestutative of tho Chy of Pine with full

exthaty fom the Beard of Aldamoa approving this Agestont, os her ee and yolunttry ect, for the used wixd
paren therein att Rcth, ‘

IN TESTIMONY WHEREOS, | kaye hereunto set ray fend and effxed my in the County unt State
eforemaid, tho doy and year direct above written. (\

 

 

Na
My Commission Hompirss: “

 

(END OF DOCUMENT]

 

 
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' Case: 4:19-¢v-02017>9NI.4) Doc. #: 1-35 ‘Filed: 07/16/19 Page: 63 of 85 nfge!D #: 237

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THE RYALS LAW FIRM, BC.

ATTORNEYS ATLAW

Sttrxcd M. itvats

Or Counce:
Sittin 1. Geet

November 7, 2014

Blake D, Hill, Exq,

King, Krehbiel & Hellmleh, LUC
2000 So, Hanley Road

Su Louis, Missouri 63144

Ret Cty of Pine Lawn and Lt Steven Blakeney
Dear Bitke:

Enotosed arg eight repamte decuand letters relating to the matters we previously
ditcussed, | an fn the process of completing an additlanal eight arising frons the
fones/Henlton oresia,

A will honor your expertise and spare you the sdvessasial pitch except ta say that
in iny thirty years of pmetion, | have never cocouttered a police officar 6 blatantly
deviant, over a long pertod of ime os Is Steven Blakeney, More importantly, his
reputation as on unprofessional, abusive, unbalanced lar 1s known by the ctilzens of Pine
Lawn, the administration of Pios Lawn ood throughout the fogal and law onforesment
community, The work [have dooe to caearth his history Ls revealing but is anily a small
part of what J expect to flod iff have the power to conduct discovery.

|, and my fico, have appraxiinately $0 hours invested ia alt of the Plane Lawa
cases, If we litigate these matters, I have arninged my docket to allow mie the freedam to
overturn every stone regarding Blakeney and Pine Lawn and [ intend to do so. Frankly,
each of my clionts wents to seo Blakeney de-certified and I endorse thal gool. [1 is rare to
find o case that presents tn opportunity to servs oa true “private ettomey general” and
affect n moaningfil change ina depirtment. These cases do. T have presedted demands
ot behalf ofwy ellents boeauss I wes directed to do se. My clicats bave nol deminded
his cosignation or termination as part of thelr offers to setths, but J, and thoy, ate prepared
to Hilgate these cases with the goal of not only echieving the Justlos that compensation
fepresecta but atso with the equally importadt gual of cxosiag a change in Pine Lawn, {
including the separation of Blakeney frant Flos Lawn and from policing. |

 

Please do me the courtesy of letting ma know 2s soos as possible whether there Is
any vatue In discuselng a resolusion ef these claims, of any of teem,

Gentdentat: Peoducad Unter Ptocagty¢ Cider

Mr. Hill
November 7, 2014
Page Tro
Vi YORTS,
M. Ryals
SMRimvo
Enclosures

 

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TREMMELL McCOLE -

 

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THE RYALS LAW FIRM, P.C,

ATTORNEYS AT LAW

STEPHEN M, Aya 16840 Certrrersep Gane Roan
San in

OF Coa: Cuctrrenno, Miso SKS
Sravtn J, Gus Tec cesar C14) 262-262
Pare (436) 514-4062

November 7, 2014

Biske D, Hill, Esq.

King, Krefiblet & Hellmich, LLC
2000 So, Hanley Rand

$1, Louls, Missourl 63144

CORTIBENTIAL AND PRIVILEGED SETTLEMENT OFFER
NO PART OF THIS LETTER OR CONTENTS 15 AN ADMISSION OR
OTHERWISE ADMISSIGLE IN THIS OR ANY OTHER LAWSUIT

Re: Tremnell MeCate v. City of Pine Lawn anit Stevere Blakeney
Bear Bleke:

To follow our recent discussions, | mpretent Tremamell MeCole ka his efatm for
daranges apainst he City of Pine Lawn end Steven Blakency atleing from the stop,
detention, nnd tminwfh! seizure of his perton by Steven Blekesey on October 5, 2012.
Blehency’s conduct violated Mr. MoCales's Fourth Amendment rights for which be will
sock redress pursuant to 42 ULS.C, §$698) and 1938.

The City of Pioe Lava is table for the constitutionally violative eenduct of
Binkeney because Blakeney has engeged, and continucs to engage, in conduct that i is
unconstituilazal and The City was and is aware of his conduct and falled to oxerctsc itt
duty to supervise nad control Blakeney. Atisched is a sunmaary of additions] cases. 1
represent each af the individuals identified in the attachment and each of them has
committed fo suppart Mr, McCale ead ong another In pursuil of their mmcdies, including
the public policy concerns of each of than,

The ineldeat Involving Tremmell MeCole ond Bickeney

Os; October 5, 2012 Tremmell MeCole was walking wits hls friend, Sideey
Sinedalr tawerd a bus stop ot Jennings Station Road and Grecr in Pine Lawn, Mr. Sinclair
had come froma job interview, was wearing a fui and tie, and hed Hopped ot te borne
of his Bend, Mr. McCals, belween busses, Ag dhey walked pasta police car, several
officors emerged from behind a hosts, Then Blakeney emeged uiths shotgun in his
hands, The officers ordezed the pelrto stop, which they did. Blakeney wld the men to

 

 
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Mr, Hill

November 7, 2014

Page 2.0f 5

walk toward bia. Thoy osked why as choy moved toward tho other offers because
Blakeney wes painting the shotgun sf them, whick threatened and ightened then
‘When thoy asked what was going om, Blakeney told them to shut up = thal they didn't
tieter: and were now golig to jail,

Blakeney handed the shotgun ¢o another officer and grabbed Mr. McCole by his
elbows, from behind end began his asssuly of Mr. MeCole, Blakenoy slanuned MsCals
to the ground and cuffed him. Mr, Sinctalr, observing the assault of his friend attempted
toexplela that he was wearing o suit and tie, hod Just come from. an interview and that
(hey had not dows snything. Blakeney responded that they didn’t comply nod were going
tojail, He then sald, “Oh, so belog int a avi and tie makes you better than me}
Blakeney cuffed Mr, Stnelair end put hin ty a police car, Ag he sat hese, he saw that
Blakenay was futher assauliing Mr, MoCole by slzeming him ageins| a car, and then
down on the paventent where he kicked him. Mr. Sinclalr could net heer what the other
officers wore saying, but heard Blakeney say, “What? You disagree with what I'm
doitg? No? Then shui the fuck up.” Mr. Sinclair reports that the other offtcers did not
act Inappropatately, and thal they insinuated that Blekoney wos out of control and had
dong this sort of thing before.

Mr. MeCole was beld In alll for seven days before being released on his own
tecegnizenes, He iffered injuries to hig elbows, his knees, the side of his fhoe where he
war kicked (while in handcuffs) and immediolely after he was released, he sought
ticdical care at Bames-lewish Hospital.

Mr, McCole was charged with Failure to Appear, Derelict Vehicle, Disorderly
Conduct and Pallure to Comply, The FTA and vehicle eharges were old and false, as Mr.
McCols did not own a cer and did not reside In Pine Lown My. MeCale defended the
ordinance violation charges and all cases were dismissed.

Etabttity of Makerey and Pine Lawn

Blakeney has been abusing citizens, in Pine Lawn, end out, since a least 20]2.
‘The attached summary, reecurts other individuals who have suffered viclatlons of their
constitutional dghts by Blakeaoy, and by Blokency and other Pins Lawa police offices.

Blakency’s abusive actions are well known to others in the low enforcenient
contmunity and to these in Pine Lawn with a duty to control him, Besplts a cleer and
pervasive history of vinletlons afthe low and United States Constitutlon, Blakeney has
not been dizciplined, more closaly supervised o7 re-tratned. On the contrery, he has been
Promated and is now 9 Lieutenant

CONFIDENTIAL AND PRIVILEGED SETTLEMENT OFFER
NO PART OF THIS LETTER OR CONTENTS [5 AN ADMISSION OR
OTHERWISE ADMISSIBLE 1N THIS OR ANY OTHER LAWSUIT

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pad Wider Proiestve Cider

Mr. Hill
November 7, 2014
Pogo 3 of $

Biskensy stopped and detsined Mr. MeCale, at gunpoint, and arrested, jotled and charged
him. Mr, McCole hed committed no offense, reflected in the Fact that the changes worn

dismisted, Blnkeney and Pine Lown will be Ilable for damages for theso violations of ths
Fourth Amendment to the United States Consiltutlan.

Blakenoy will be lable for punitive damages. His conduct toward McCote mvrals
bis disregard for ths fav end the Constitution ofthe United States. Of equal impertunes,
the {uct of Btok led on multiple ions ia multiple
will bo edmltted on tha fase of punitive damages and on the issue of municipal liability,

‘There ere ample indicator of Blakenoy's unfitness to be a pence officer, While

uur officer In New Achens, Ilinals, tee beother aflicers were 40 concemed about

Blekeney's eqeressiveness, inappropritts behavior and statements that they reparted hls
actions to the command staff Blakenty wax dismissed from thet agency because of

dlrcrepancies In his representations on bis spplteation that showed deception. Blekency
was dismissed from the Eastern Mistouri Polles Academy for behavioral problems, an
issue thet was noted by his fellow students os well es the e endrc.  Binkeney was disnilssed
from the St. Louis Metropolitan Police D since b
work for Plas Lawn, tested positive for cocaine. Blakerey bas had orders of protection
entered againgt him and bad a Bromma restrictlan that, 1 believe, he violated, Blakeney
was found to be abusive to his foomer wife and on one occasion stuck a pacifier fa her
mouth,

Blakeney caused ibe imfiic stop ofa local police ehle! and his colleagues that [x
remarkably similsy (o the stop of Capttin Telao, Blakeney first eneountered the Chief,
tn the downtown area, as he was traveling frou Cardinals game with colleagues, When
they reeched the eily limits of Pit Lawn, Blakenoy stowed to ollow the Chiefs car to
pass and then initiafed a traffic stop. The officer who eccampanied Blakeney was in the
background signaling to the Chief by making a circular motion with his Index finger tear
the side of his head, which che Chief teak as a comment on Blakenay"s conipotente,

Esch of the individuals who oe identified Ie the atteehed summary has
committed support al] litigation thet eny of them may bring against Blakenoy and Pine
Lawn. Each of my clients is motivated to contrite fo an effort to cause on unbiased and
careful review of Blakeney’s conduct and bis competence to serve a4 9 peace officer.

The jury in Mr, Sinclair’ ease nod io every other will hear a complete account of
Blakeney’s misconducd since employed by Pinc Lawn.

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iFiled: 07/16/19 Page..64.0f35.RagelD #: 238

Mr. Hill
November 7, 2014
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Offer af Settlement

On behalf of Tremell MeCole, [ have been sulborized lo convey ca offer of
setjlement of Sinclair's claim for dunages and feos pursuant to 42 U.S.C. §§ 1983 and
1988, The terms of the offer:

Ll. The City of Pine Lewn shail immedintely request an investigation of Blakeney by
the St, Louis County Police o the Missourd State Highway Patrol, Tha
lnvestigatiog shall Include his background, the incidents described fxs thls tettor
sed In the attachment and any other incidents thai come to Hight, end shall be in
tho nature of an internal investigation with the goa! of determining whether
Blakeney should be disciplined and what tho discipline should be.

2. The results of the lnvestigation shall be forwarded to the Missrurt Penes Offices
Standards and Training Commission (P.0.5.T.}.

3. Plne Lawn shell direct that Blakeney shall not exercise police powers unless on
duty ond. unfess within the efty limits of Pine Lawn.

4, Pine Lawn shall inttletea program of training thet reflects Instructlon wring the
conduct involving Sliclair aud of the other violations decribed in the tachment
asa foundation for instrocting on the constrains of the United Sutcs Constitution
tnd the laws end fully explaining how the actions of Blekenoy violated them.

5. Pina Lawn skal confess Mr. MeCok's petition to exputtge bis amest reeard,

. Pine Lawn and Blakeney shztl pay Mr. MeCole the sum of Tao Hundred Twenty
Five Thoussnd Dollars ($225,000.00) for damages resulticg from the liguries
sulfered by Mr, MeCols atthe hands of Blakeney, ‘Tha amount of the offer is
inclusive of atormey fee4 and in exchange for the payment and acceptence of the
ether terms, Mr, MeCole will provide Blakeney and Plas Lawn with a full
release, including a release of attomey fees.

Mr, McCole it interested in cogaging in Timited discusstan about the settlement,
pre-suit, ofhis cause atid | (nvvite you to reply at your first opportunity, Jy addition, Mr.
McCole would be pleased ta meet with you to explain what occured and how if sffecind
him. Please lei me ketow if your principal is interested in making 4 diligent effort to
resolved My. McCole's case and, importantly, if not, so [ can commence ault without
undue delay,

a

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Mr, Hal
November 7, 2014
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SMiAmva
Enclosure: Case Synopses

 

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Date af Qecurrence: 0/23/11. Krlsten, Moore,

Blakeney wass corporel, off duty when he stopped Kirditen Moore, while she waa
driving to work,

On Juno 24, 2001 at approximately 4:30 p.m, while driving to work et Washington
University/Barces Hospitel ip St Louls trom her home ln Waterloo, illinols, White off
duty i Bis private SUV, Blokency putled aver Kristen Moore. His children ware fn ths
veblole with hin. Blakenoy epproached Mis, Moore. In a rage end his behavior only got
worse, Ha released Ma, Moots withott a altatlon and she Icamed Eater that ko had
proferted a C&l charge ogoinst her that tha Slate did not purtus,

Blekensy’s personal vehicle was oguipped with potice gies and other polles equipment.

Blakeney threatened Ma. Moore by telling her (hat he knew where sho lived and after the
incident Ms. Moore saw him following her.

Ms, Moore lodged a complain! and a City aflicial told her to excuse the conduct because
Blakenoy had come from a funeral.

A Google search of “officer steven bleheney” will Head to a now report on Fox % that
Teporis on this incident.

DOE MSA Tremmell MeCole

With Sldney Sinclair, Tremme!l McCale and Sidney Staetair were walking froot the
home of Mr. McCole. As they wer walking, they noticed an undercover police cir in the
middie of the street. Blakeney, brandishing a shotgun, appooacbed the pair from 4
distance of a couple of houses sway and said, Yeome here, boy.” Other officers anvived
and while Blakeney held the shotgun on theat, threw Mr, MeCote to the ground and
began kicking him. Blakency kicked Mix. McCota In the face, He wos then pulled tupaud
violently thrown against Ube police car and thrown in the hack, Blakeney choked Mr.
MoCole while he was hendculfed,

Mr, McCole wos held in juil fora week on charges misted to a derelict vehiels and the
fellure to appear on these charges, Mr. MeCole sever resided in Fine Lawn tnd did not

Geontdennd = Peodrong Leiter Drotectys Otel

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own a vebicle. Ho was also charged with Falluns to Comply and Disorderly Condacl.
All charges wore dismissed,

DOL 10/5/12, S\dney Sinclair

Watking with Tremtnell McCole. Mr. Sinclair was in asvit 28 he had just come from a
Job interview, He witnessed Blakeney abusing Tremutell MeCole end yelled for him to
stop ond then, “come here, boy.” Biakensy then told him he was falling to comply and
was going to jsf. Mr. Sinclar told Biekensy that bs hed not dane anything wreng and
noted hla suit. Blakeney said, “Oh, so being in 4 suit and dé makes you Setter than me?"
As Mr. Sinelaic saw Blakeney cbuting Tremmtall MeCols he overhead officers and
Blakeasy — Blekenoy said, “What? Vou disagree with what I'ra doing? No? Then shut
the firek up.* Mr. Sinclair boaded out end his case way ultimately dlaissed,

Mr. Sinclair celated the had reputation of Blakeney and sald that severd! offtcers hinted

that Blakeney isa problem officer and this sort of behavior Is not unusual for him.

BOn 120412, Nekdta Inckson

Nakita Jackson was visiting ef her sister's home, They watked to the bus stop (o-atesl
her niece, There wasa fight or tussle involving the children. The police arrived end
Blakeney punched her in the fnes sod choked her nnd others threw her to the ground, put
aknes in ber beck and put a Tasor sgainst her neck, She yelled thet sho was pregnant and
they did not Tater her, While on the ground, sho bad ebdominat! and back pain and
vomlred, She osked for madical enenilon and Blakeney aid “her ass will be fi.” She
asked Blakensy why he hit her end bo suid, “get the fuck baok before ] bit you agsin.”
She was ttken to fail, bonded ovt and all the charges were dismissed,

Blakeacy made statements that conteined recial aturs.

Ma. Jockos asked to speck to a supervitor and Blakeney said thet he wag in change — that
nobody was shove him. Ns. Jackson complained to then Chief Ricky Calllns wito sald,
“Lot me guess when this happened, 2™ shif, craund 3:00 pm. That shift Is always
fucking up” Blakeney ordered the arrest of multiple people, including chitdren,

Dol: 3/16/13, Katetsha Beck

Kaletiha Beck was staying with Racquel Wooten and femily on James A. Hirvey Lane,
Wellstan, a neighboring community to Pine Lawn, At epproximaely 10:30 pan, KB.
came out ofa main level reom and saw five cops La living room, Sho was dotained ona
couch for 30 minutes at gunpcint.

 

 

neti. Sandie Niet Cpoler tin Cece

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‘Tho officers were from Pine Lawn and were in Wellston sitempting tu apprehend a
‘woman whe had a wirant. They apparently thought Racqzel Woaten was the woman,
but Raeqvel Wooten wos the wanied woman's slater, The wartted woman wet nwt
prescut. I does riot eppear that they hod a search warrtnt.

A Wellsiaa affleer, Sgt, Bickley, showed up ond is 9 witness tothe unlawfll entry and
seared of the residence by Pine Low offlecss, including Blakency. Racquel Wanten saw
an ergumieat batweed Sgt, Blekley and P.L, afflcers about them Mocking the street,

DOI: Viel}, Raeqnel Wooten

Racquel Wooten was of home, reading in her upstairs bedroom, when Pine Lawn
officers came In looking for Katrenn W. guns draws. The police munded up and
detsined at gunpoint Ms. Wooten and het five chikiren, afoug with Kaleisha Beek and
her small child, At some point, ahe encountered Sgt Bickley fram. Wellsion. He told her
thal it was not Wellston PLD, in home, Sho alsa saw Bickly arguing with a PL, cop
quid rout unblocking the siet. Ma, Wooten was cuffed and scoured of being:

trens WW.

The police had no emest warrant and no search warrant
DOL 91) Rey Anthony Telco,

Anthony Telano isa former poltes officer, up Uirowgh tha ranks Captain in dhe United
Stttes Army (now in IMA status) and emptoyes af the Nations] Geospatial Agency,
‘White off duty (we belicve), Blakeney orebestrated the traffic stop tod arrest of Capt,
Teltno, the search end towing of his esr and, the filing of chsrges against him. When the
Pins Lown offfcers pulled Capt, Telano over, Blakeacy came ninaing up yalling, “who's
the toogh guy.” He assaulted Capt Tetano.

‘The charges were dismissed

Blakency rede a sutentent to Capt, Teleno that he was a disgrace to the military.
Bikeney made a comment about bnowing where Capt, Telano fives, sicniler to whel he
said to Kristen Moore.

DO; 40/4, Jordau Martner

Jordan Mariner ix a young college student who was draveting to her boyfriend's
apartment In St. Lous from Columbia, Missouri, Sho was pulled over by Blakeey end,
ultimately, errosted after questioning tha tavefulnegs of the seanchofher cer, Wher she
tetiteved her ear fom impound, she found thet her personal belongings, including a
computer, clothing aad personal Hem, witre damiiged from greats tod from having the
spare tire thrown 67 top of them,

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Contsantal » Pratuced Ueter Brataseye Ol cit

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During their encounter, Biskeney examined Ms. Mertner's cell phone, ordered her to give
him tha pass cade and texted a message posing es her to her boyftiead. He ofsa asked her
whether zhs Ite to go te mves,

After Blakency erresied Ms. Martner she began to ery, Mo teeriiod to enjoy that and said
thal she was going to find out how Sad this part of town was,

DOb 613/14, Hamilton and Jones Families and Tony Richard J]

Seven people at a family gathering were arrested, avsaulted, pepper szrayed ond charged.
The homeowner Ls ocancer patient and hed hosted two fiemily gatherings exch year for
approsimately thirty years, The police fint came because thoy said there was 0
coriplaint about shots fired, One of the nan told the offfcer that lhey had not heard any
sols. Blakeney arrived and began eggressively guraliig the mien talking to the officer. He
then got on the doud speeker and zold everyone to “get the fuck Inside.” The man who
‘was talking to the officer told Blakensy that he bed no call to curse, and that these were
children inside the house. Blakeney sald, “fuck the kids.”

Thea, the olficers crosted the fence and began using force on people despite thers being
Ro threats against the officers nnd do resistance. The used force, ineluding the Taser,
popper spray and hands on, against » womber of the family members. They mmrosted
women and men allke, One of the amestees ig a familly friend who is active duty Vaited
Sates Const Guard. One of the officers shaved the cancer victim homeowner against A
dow-drame and caused ber chemo port 66 bing ngeinst the frame.

One faniily member was pepper sprayed because he was recording the abuses. Everyone
who was arrested had thelr phones seized and afl of the recorded footage was deleted
from eech phone,

Addiional Information Regarding Pine Lawn/Dlakeney

+ Ths Mayor of Pine Lawn, Sylvester Caldweil, has boen Indtcted by the United
States,

* Blakeney was (or still fs} the subject of an order of pratecilon thal prohibits him
from being armed execpt on duty iss Pine Lawn.

* Goo of Blakensy's sont cams home with a cell phous givers to him by Blakenny,

[eis pogalble that the call phone wes seized by the PLL, police oy Blakensy.

Sidney Sinclair's phona was seized and was not retumed to bbe when he boaded

out, He utilisé o tracking feature on the phone that located [tin coyth St. Louis

Couty a! or acer on address ossocinied with Blakency.

 

 

 
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A former alffcer can testify that he bas seen Blakensy high or drunk and armed.
On ong occasion, be amived et amulti-ngeney rearch for a missing person armed
with an AR-15 and had came to the scone from ihe East Side,

* Blekeney tasted positive for cocaine,

* Blakeney fs known ta fintquent the strip elubs on the East Side end even goes
there whils on duty.

Sintflar to dhe stop of Anthony Telano, Blakeney stopped the St. Aun Chief of
Police, Blokency and his partuer followed the Chiel’s car from downtown, some
Tor 8 miles from Pine Lown and after they passed through Pine Lawa, let the
Chief's car pass tad then pulled iover, Blakeney was apparently on duty on this
occasion.

Blakeney is a notoriatts [far

While in cout with Capt, Telone, Blakeney was cavotdropalng on o private
conversation [ was having with ay clisut.

One client who wes at Pine Lawn to retrigve er complain was told by the
clerk, “Blakeney sgain,* popes ”
Blakeney started 8 & cozporal and was promoted twice and fs now a lievieneat,
There may be a sizeable member of officers who will testify about Blakeney's
abusive and extrategal pmctices. For example, he is reported to go quiside his
Jeriadiction and stop maqtoriats la the Clty of St. Lowis, Ho may secure plates
froma cars towed to Eddie's, affix then: to his car and ede through the afty
assaulting people. Another tepoct is that he will go to the Bost Side olubs while
an duty and get drunk and of high.

Biekency was accused of repo (off duty).

Blekeney beat and burdlitted hls former wife, On one occasion he threw her
down, locked her oud of ths house und stuck a paciiler in her mouth,

* Fonmer Pine Law Chief of Pollee Ricky Collins has a troubled past, Aniong the
tas of which |. am awere, he broke a sightstick over the head of my client and
charged him with the destruction of cily property,

. wo

tonfgerny - Sr duped Under Sieteery se Order

RACQUEL WOOTEN

SU

 

 

Filed: 07/16/19 Pag

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THE RYALS LAW FIRM, B.C,
ATTORNEYS AF LAW

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Stria M, AvaLs 18640 Cremnarene Grove Roan,
Gi
‘OF COCR: Cumosmin Masso O05
Styvai 1, Guor Op oe
Facx: (634) 536-0082
November 7, 2014
Bizke D. Hill, Esq.

King, Krehbtel & Heilmich, ELC
2000 So, Hanley Road
St. Louis, Missentrl 63144

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Re Racquel Waoted 4 City af Pine Lown and Steven Blakeney
Dear Blake:

To follow our meent discussions, ] repreteat Racquel Wootea in her claim for
dempages againsl the City of Fins Lawn aud Steven Blakeney arising from the valawiil
enter and search of her residence by Steven Blakeney, nad other Pine Lawn officers on
March 16, 2013. Blakency's conduct vialated Ma Wooten’s Fourth Amendment rights
for which sho will seck redress pursuant to 42 U.S.C. §§1983 and 1988,

The City of Pine Lawn is Hable for the constitutionally violative conduct of
Blakency because he hes engaged, and continues to engage, in comduct thal fs
Uncossillutional, The City was end is aware of his conduct, ond failed to axorelss {ts duiy
to stiperviss and contral Binkeney. Atiached is. summary of dditional cases. [
represent each of tha fadividuals identified in the attachment ond each of them has
committed to support Ms, Wooten and one another in persult of their readies, Including
the public policy contems of each of them.

The Ineddeut Ftvolving Racquel Wooten, ier Children ond Blakeney

On March 16, 2013 of spproximately 10:30 p.o., Rocquel Wooten was upsiala Io
ber bedronm, £1 her hams fossted at 1819 44 James A. Harvey Lane, In Wellston,
Missouri, Her children, Raven and Cangan, were sting in the living zoom when they
beard a loud noite at the door tnd saw police officera come ghrough the door. Raven
yelled up to her mother that someozte was in tbe hours. As Ms, Wooten wad responding

nf darted Ben tuted 4 Pegretne OY

Mr. Hill
November 7, 2014
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with “who,” four officers harged inta her room, yelling, “Are you Kutrena Wootea!?*
ALE four bad hed weapons drawn, licleding a long gum. Ms. Wootcn told them ihe! sie
‘vos not Karena, and Blakeney continued yelling and accusing her of lying. Blekeney
told Ms. Wooten that she had bigger problems becmise she was in fow-income housing
end wait until her landlord fads out.

Ms. Wooten saw that other officers were searching the rooms of her chitdren and
removing them, Her daughter Britney asked what was going on end Ms, Wooten told her
to call her husband. The officers would not permit it, end continued to push the upstairs
occupants down the hall and dawn the stairs ot gunpoint,

Ms. Wooten waa headoulicd and ene officer — possibly Blekency — Hed to other
officers end asserted that Ms, Wooten hind identified hecselfas Katrina. Sha directed the
officers to her Identification end having secured it, che remained bandcuffed, She was
taken 40 a downstairs ving room where her family was being dotatned, The officers
scorched her home and teled ber son, who was asleep in his room, at gunpoint,

When she went downsinirs, ahe encguntered Sgi. Bickley from the Wellston Police
Department who informned her tat the officers in her home were nol front Weilston,
mether, they were from fine Lav.

Tu sddition 46 fter son, Eirian, her other children, Britany, Chineya, Canaga and Raven
along, wlth her sister, Kaleisha Beck and lier infact, were alsa detained, at gunpoint, in tho
home.

Liabifity of Blakeney and Pine Lawn

The Pine Lowa officert did nat have a search warrant for the home of Ms.
Weoten end, apparently, there was nol even an arrest warrant for her sister, Kairens, The
lawlessness of the police itrusion is beyond dispute. First the officers were not within
their own elty limits. Second, they had po warrant to enter the home or to rect Karina,
if they found her. Third, there wes no cxigeney or consent to anter the home. When Ms,
Wooten protested the intrusion, Blakeney informed her thal she lived in “low-income
housing” and hed bigger problems,

Blakenay's ebusive sctions are well knows to others in the law enfoycernent
sontmualty and to thase in Pine Lawn with a duty to control Hin, Despite a clear end
pervasive history of violations of the law end United Stetes Constitutlon, Blakoasy bas
' Katreaa Wooten is Rnequsd Woolen's sister and she did not realde at Recquel Wocten's
residence,

’ The claim of Keicisha Beck, Ma, Wooten’s sister, will be submitted separately,
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fol been disciplined, more closely supécvised or re-trelned. On tho contrary, he has been
promoted aud is now.a Licutenast He clearly is permitted to-do what he wanls, when tie
wants and where be wants,

‘There ore ample indicators of Blakeaoy’s uafitness to boa peace officer, epart
from the multiple ineldents reflected 1a the attachment. While im offiecr in New Albens,
Illinois, two brother officers were sa cetacented about Blckeney's eggresslveness,
Enopproprinte behavior and statements that they reported his actions to the command
staff, Blakeaoy was dismissed from: that agency because of discrepancies In his
cepresmtations on his application thal showed deception. Blakeney was dismixted from
tha Eastem Minouri Polite Academy for behavioral problems, an issue that wad Hoted by
his fellow studenta as well ag ie cadre, Blakenoy wos dismissed from the St. Louta
Metropolitan Pollee Depsrtneat Acndemy, Blakeney, since beginning work far Pine
Lawn, tested positive for cocaine, Blakeney has hed orders of protection entared agsinst
him sod bad a flreamac restrictlon that, { believe, he violated, Blakency was found to be
shuslveto his former wife and on one occasion stuck 0 pacifier in her mouth,

Enoch of the individuals who aro [dentlled in the stiached summary has committed
ta rupport af] Litigation that my of them may bring against Blekeney and Pine Lawn.
Each of my elicats is motivated 46 contibuie to an effort to couse on enblased and caret!
review of Sizkenay"s conduct and his compelence to cerve te a peace officer, The jury in
Ms. Wooten's cass and In avery other will hear a complete secount of Btokeney's
enisconduct since employed by Pine Lawn,

Racquel Wootes"s Claims

There is oo more egregious violation (iat a citizen gen suffer thas to have tha
police anlewfully coier the home, guns drawn, selzing and detsining thoss who they find.
To make the intrusion more offensive, Ms. Waoten’s children were pecsent ond
teumatized by the faresfal fetrusion of the poles, Het oldest son, Brian, was asleep in
his bedroom when awakened by loud men with guzts painted ot him. Allof the children,
Brisn, Brittany, Chineya, Canenn end Raven, were herded into a slagls rom at gunpolat
command and detained while lis search of the tesidence occa.

Offer of Setdement

On bebalf of Racquel Wooten, T have been suthorized to convey mn offer of
cette! of her claim for damages and feos pursuant to 42 U.S.C. §§ 1993 and 1988,
Tho terms of the offer;

1, The City of Pine Lawn shall inunedintaly request an investigation of Blakensy by
the St, Lovia County Potiee or the Missouri Stnte Highway Petrol, The

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Mr, Heil
Novernber 7, 2014
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lavestigmion shall include his background, the Inctdents described in this letter
ond in ths attechmtent, and any other inoidonis that cone to light It shall bs in the
netiee of an inteme! investigation with (he goel of detecmtining whether Blakeney
should be discipiined and what the discipline should be.

2. The resulls of the investigation shall be forwarded to the Missouri Peace Officer
Stondards and Training Commission (P.0.5.T.).

1. Fine Lown shall direct that Blakeney shall not exercise police powers unless on
duty 2nd unless within the eity limits of Pins Lawn,

4, Pine Lawn shall iniifate a program of tralsting thal reflects instruction wring the

treatment Reequel Wooten and af the other violations deseribed in the attachment

asa foundétion fer inttructing on the lImlts of the United States Constitution, and

tho lows ond fully explaining haw the etions of Blakensy violated them.

$. Pine Lown end Blakeney shall pay Racquel Wooten the sum of One Hundred
Tweaty Five Thoasand Dollars ($125,000.00) for damages retulting fram the
injuries suffered by Ms. Wooten and her ebildred ai the hands of Blakency, The
mmoust of the offer Is Inclusive of attorney fees. fh exchange for the payment and
neceplones of the other tens, Ma, Wooten and her edult child wil! provide

Biseeney ond Pine Lawn witha full release, Including a release of attorney fees.

Ma. Wooten intends to engage in limited discussion abou! the settlement, pre-ault,
of her cause and] lavite you to reply al your Grst opportunity. Please let me know If your
principal is interested in: making o diligent sflort to resolve Racquel Weaten's case and,
importanily, if not, 29 | can commence suit without endue delay,

SMPunvo
Enclorure: Case Synopses

 

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City of Ping Lawa/Steven Blakeney
Case Syno Pses

Date af Geosrrence: M2011, Kertrtea Moore,

Btskenoy was a corporal, off duty when be stopped Kristen Moore, while she was
driving to work,

On June 23, 2018 of approximately 6:30 p.m, while driving to work at Washington
Unlversity/Rames Hospital in SL Louis from her home ia Waterloo, Hlinoix, Whils off
duty in his private SUV, Blakency pulled over Kristen Moore. His childeen were in the
vehtola with him, Blakenocy opprosehed Ma, Moore. io a rage and his behavior only got
worss, Ho retcased Ms. Moore without a eltation and she learned Inter that he had
oreferred a CAL change agatist her that the State did not pursue.

Blakensy's personel vehicle was equipped with police lights and other police equipment,

Blakenoy threatened Ms, Moore by teltfng her that be knew where she lived and after the
incident Ms, Moore nw hire followlag her.

Ms. Moore lodged a complaint and ¢ Clty official told ber lo excuse the condoct because
Bizkensy bed come from a flineral,

A Google scarch af “officer steven blzkency* will lead to a new report on Fox 2 that
ieports on this Incident.

GOL IWS, Tremoaell MeCole

With Sidney Stnelaty. Trenemell MeCele ond Siduey Stocleir were walking from the
home of Mr, MeCote. As thoy werd walking, they noliced an undercover pallce car fa the
siiddls of the atreal, Blakeney, brandishing a shotgun, approached tae palr fiom a
distance of a coupte of houses awoy and sald, “come bere, boy.” Other officers arrived
and while Blakeney hold the shotgun on them, threw Mr. MeCole to the ground and
began kicking him. Blakeney kicked Mc. McCole in the face, He wns then pulled ep and
wolenthy thrown against the polled ear and thrown inthe back, Blakeney choked Mr.
MeCote whlle he was hardewtfed,

Mr. MeCole was held in Sail for a week on charges related to a derelict vehicle and the
foilure to eppoar on hate charges, Mr, McCole never resided in Pine Lawn and did oot

= Pegs: Pre Deda

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ovina welticle. He was alzo charged with Fatlure to Comply end Disordecty Conduct.
All charges were dismisyed.

DOI: (¥S/12. Sldney Sinclair

Walking with Tremmol] MeCote, Mr, Sinclaly was [aa auitas be had jast come froma
fob interview. He winesed Blakeney abusing Treststell MeCole and yelled far him to
top and then, “cons bere, boy.” Blakeney then told hin he wee Eeiling to comply ood
wag going to jail. Mp. Sinctalr told Blakeney that bre bed noc done anything wrong ond
noted his sult. Blakensy sald, “Oh, so boing in a suit and the makes you better than me?”
As Mr. Sinclair saw Blakenoy abusing Tremmell McCole he averkeard officers and
Blakeney - Blakeney said, “Whar? You disagree with what I'm doing? No? Thea shut
the fuck up.” Mr. Sinclair bonded out ind ble case was ultimetcly dimmissed,

Mr. Stnclalr related the bed reputation of Blakeney ond said that several officers hinted
tut Binkensy is 4 problem ofltoes and this vort of belnvior ia not unusual for hin.

Dol 12/7/42, Neldin Inckson

Nakita Jeckson was visiting ol her sister's home. They walked to the bus stop to mect
her niece, Thero was.a fgh! or tussle involving the children. The police arrived and
Blakeney puncherl her in the thee and choked her and others threw her to the grourid, pat
a kate in her beck end pul a Taser against her neck. She yelled that she was pregnant nnd
they did not Teser her, Witile on the ground, she had abdomina! ond back pain and
vomited. She asked for medleal cttention ond Blakeney said “her ass will be fine." She
atked Blakeney why he hit bet and be sald, “get the fock back before I hit you sgain.*
Sha was taken 40 Jail, bonded oid and aii the charges were dismissed.

Biekeacy made stetements that contained meclal shars.

Ma Jeckson asked 4 speak toa supervisor and Blakeney said that he was in chnrge - that
nobody was above hina. Ms. Isckson conzplained to then Chief Ricky Coflins wlte said,
“Let me guess when this happened. 2” shif, around 3:00 p.m, Thei shift is elways
fucking up." Blakeney ordered the arrest of multiple people, including children.

DOM MIGHT, Kealeisha Beck

Katetsha Beck was saying with Reeque? Woodert and family on Jamies A. Harvey Lane,
Wellston, anelghboring community to Ping Lav. Al approximately 10:30 pm. KB.
ema out ofa main level room and saw five cops tn living room. She was detained on o
couch for 30 minutes at genpeint,

Sub 2d

pantie?

 

 

 

 
Case: 4:19-cy-0201,7-SNLJ Doc. #: 1-35

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‘The officers were from Pine Lawn and were in Wellston ettearpting to appretend a
woman who hed a warrant. ‘They spparenily ihought Racquel Wooten was the women,
bot Racquel Wooten was the wanted wonien’s sister. The wanted womun was nol
present, [tdoes sot appear that they had a scorch wonnnt

A Wellston officer, Sgt, Bickley, showed up and isa witness to the wnlowdll eniry end
search of the rosidence by Pino Law officers, including Blakeney. Racquel Wooten sav
Ai gustent between Sgt Bickley and PL. officers about them blocking the street.

DOK: MGA}, Racquel Wastes

Racquel Wooten wns at home, reading in her upstairs bedroom, when Pino Lawn
officers onme In looking for Katena W. guns drawn. The polles rounded tp and
detained at gunpoint Ms, Wooten and her five children, along with Katelaba Beek and
her small child, At some point, she encountered Sgt. Bickley from Wellsten. Ha told her
that id was not Wollston PD. inhome. She alto saw Bickly arguing witha B.L, cop
guaside noo bout unblocking the street, Ms. Wooten was cuffed and accused a: fheing.

trong W.

The police hed no arrest warrant and no search waerant

DOH HPT Rey Anthony Tears.

Anthony Telano ls a former police officer, up tuvugh the mnks Captain in dhs United
States Anny (now Lo IMA status) and employee of the Natlonel Geospailal Agency.

While off dury (wo batiove), Blakeney orchestrated the traffic stop and arrest of Cay,
Telana, the search end towing afhis car and, the filing of charges against him. Whea the
Pins Lawn officers polled Capt. Tela over, Blekeory carne running yp yalliog, “who's
the tough guy.” He assaulted Cept. Tolano.

The changes were dismticssd

Blakeney made a sintement to Capt, Telaso that be was a disgrace to the militery,
Binkeney mado o comment shoul kiovring where Capt. Telano lives, similar to what ha
said to Kristen Moore,

DO! 4/10/14. Jordan Martner

Jordan Martner fe a young college student who was traveling to her boythtend's
apartoent in St. Louis from Columbia, Missouri. She was pulled over by Blakecy and,
ultimately, emested alter quesioalng the lawfulness of the semrech ofbercar, When she
rettieved her car from impound, she found thai her pertonal belongings, tnotuding 9
computer, clothing and pemenal items, were demaged from grease and from having the
spare Ure thrown on top of them,

THLE

Cenisenret, Prtusgd Vegas Segre pee Cider

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Biring theiy encounter, Blakeney exzatined Ms. Murtier’s ¢ell phone, ordered her to give
hint the pass cade snd texted a message posing es her to her boyfriend. He clso asked ber
whether she like to go to raves,

After Blakensy mresied Ms, Mariner she began to ery. He seemed to enjoy that ead sald
that she was going to End out how baci this part of town was.

BO! 6d. Hamitton and Jones Families and Tony Richard

Saver people at a family gathering wont arrested, assaulted, pepper eproyed and charged,
The homeowner i a cancer petlent and had hosted two funilly gatherings exch year for
spproximately thirty yeaes, The poles first czas beoaute they said there ware
complaint about shots fired. Cin ofthe men told the officer that they hed not searé any
shots. Blekency arbved end began aggressively cursing the man talking to the officer. Ha
thes got on the loud speaker snd told everyone to “get the flack Inside." Tha nian wha
Was talking to the offfcer told Blakeney thal he bed na call to corte, and chal there were
children inside the house, Blakeney seid, “fuck the kids.”

Thea, the officers crossed (he feice end began using force on people despite there being
no threats agains the officers and no resistance. The used force, Including the Taser,
pepper spray end hands on, aginst a number of the family mezabers. They erresied
women snd men alike. One ofthe anrestees is a family friend who Is active duty United
States Coast Guard. One of the offtcent shoved ihe cancer victim homeowner against a
door-frame snd caused her cheme port to bang against the frome.

One fantily meter was pepper sprayed because he was recording the cbusts, Everyone
who was dorested had thelr phortes selacd and all of ds recorded foomge was deleted
from each phone,

Additional Information Regarding Plae Lawn/Blakeney

* The Mayor of Pins Lown, Sylvester Caldwell, has been indicted by the United
States.

® Blakeney wat {or sul ts) the subject of an order of protection that prohibits him
from being anned exept on duty in Pine Lawn

* One of Blekeney's sous came home with 4 cell phone given to him by Blakency.
Hts possible that tho cell phone was selaed by the PL, police ox Dlckeney.

© Sidocy Sinclair's phone was seized end was not retumed to him when he bonded
out, He ulllized o tracking feature on the phone that located il in south St, Louls
County nf or nears address aseoclated with Blakeney.

tutus

*

 

 

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A former officer can testify that be has seen Blzkeacy high or drunk ond ammed,
On one occasion, he arrived of a multi-agency search for a missing person ormed
whh an AR-ES utd hed come to the sceue from tho Bast Side,

Blakency tested positive fir cocaine,

Blakeney 1) know to frequent ths strip elubs on ihe East Side snd even goes
there while on duty,

Similar to the stop of Anthony Telano, Blakeney stopped the St Ana Chiefof
Potice, Biskency and his partes followed the Chief*s car from downtowa, sorne
7 or 8 miles from Pine Lawn and after they passed through Pine Lawn, let the
Chiefs ear pass and then pulled Hover, Blakency wer apparently on duty oa this
oceasiog.

Blakeney iy 9 notorious lias,

‘While in court with Capt. Telano, Blakeney was cavesdropping on a private
conversation T was having with my eleat.

One client who was al Ping Lown to retreve progeny or complain was told by the
clerk, “Blakenoy again.

Blekecny started a3 2 corporal and was promoted twice aad ix now o Heutenent.
There may be a sizeable number of officers who will testify about Blakeney’s
abusive and extra-tegel practices, For example, he 1s reported te go outeide hls
Jurisdlotion aad stop matoristy in the City of St. Louis. He may scours plates

from oats towed to Eddio's, affle them to his car and ride through the city
assaulting people, Another report Is that he willl go to the Bast Side clubs while
on dusy and get drenk and or high.

Blakeney was accused of mpe (off duty),

Blakeney beat and humiliated his former wife, Oni one occasion he davwher
down, locked her out of the house and stuck a pagifiey in her mouth,

Pormer Pins Law Chief of Potice Ricky Collins has a trottbked past, Among the
sascs of which I am aware, fe broke a sfyhtstick over the head of my olfent and
charged him with the destruction of ctiy propercy.

mbsentiat « Po page] Magar Dentecs ys Opdar

ROY ANTHONY TELANO

Cte thy

fil

 

 

 

 
‘Sresiten M. Rvals

OF Cranepar
STEVTH 1. Gus

Case: 4:19-cv-02017-SNLJ Doc. #: 1-35

Sambal. Peykced tlgder Orateetoe Scie

THE RYALS LAW FIRM, B.C,

ATTORNEYS AT LAW
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Novernber 7, 2014
Blake D. Hill, Esq.

King, Krehbiel & Heilmich, LLG
2000 So, Haley Road
St. Louis, Missouri 63144

CONFIDENTIAL AND PRIVILEGED SETTLEMENT OFFER
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Re: Roy Anthony Telang ». Chy of Pine Lawn and Steven Blakeney
Dear Blake:

Ta fallow our recent discussions, Jerome Dobson and [represent Captain Roy
Anthooy Telnno in his claim for demages against the City of Pine Lawn and Steven
Blakeocy exising ftom the stop and unlawful scigure of hls person and property by Steven
Blakensy on July 19, 2013. Blakeney's conduct violated Copinin Telano's Pourth
Amendment rights for which he will seek redress punswant to 42 U.S.C. 951983 ond
i988,

The City of Pine Lawa is Hable for the conscitutlonally violslive conduct of
Blakeney because Blokenoy has engaged, and continues to engage, in conduct that Is
mnconstitufonal, The Clty was snd is aware of bis conduct, and failed to exercise its duty
to supervise and control Blakeocy, J reprétenl exch bf the indtviduals ideatified in the
Mtachment and cach of then has committed to suppurt Captain Telano end one aaather tn
pursuit of their cemedics, ineluding the public policy concerns of each of thent,

The facident Involving Captain Tefane and Blakeney

On July 19, 2013, Ceptein Telana hed attended o St. Louls Cardinals bascball
geme in downtown Si. Louis. Ho attended the gente with his friend and a fellow Layman
of his church, Greg Eubanks, Captain Telano arrived of the game straight from ark --
the Nation! Gesspatial Intelligesica Agency (NGA), Captain Telano did aot consune
any aleohol and, in fret, docs ioe drink,

Gi ts

Conkdunit= Produced Vines Protertws Grape

Mr. ith
November 7, 2014
Pege2of &

As he was making his ny out of downtown lowerd hls home tn &t, Charles,
Capttia Telano sneezed and expelled snot from his nase into tis hand. He was wearing 9
tendy purchased Cardinals jerwy and dress alacky and, not wanting to soil either, be
rolled down the window sufficiently to allow him to extend his hand outside hls car and
air-dry i, These events occurred near the Lumtere Casing, shorily after Cuptein Telano
began travelling on Interstate 70.

As Cepialn Telano seitled in for hls drive home, he was (raveliing in the far left

lone, at tha speed fil, Somewhere beiween Lumiere and the Greenway Rallraad

he noticed a white vehicle approach on bis eight willl It matched his speed,
Suddenly, the driver of the white vehicle slilned an intense light ato Copiain Telano’s car
fromthe right. Te startled, Captales Televa, to cay the leasi, ag his (vst thought was that the
tar hed somehow haned and wre going ta strike hit car, As Captain Telano regained his
compeocure, the light was extinguished. Ashe continued to ty to determine what hed
occured, he observed that the carto his right had a spotlight near the dziver's outside
otirrer and he snw the driver, a white male looking at him The driver had no identifying
clothing ot heaiigear mtd the car had no police markings. However, Captain Telano,
himself'a foamer police officer, thought thal thé cor wes a police vehicle and that the
driver shined the light on bir #4 some sort of warning. Why he would be the subject af
polite attcrtion wea a mystery because he was travelling the speed limit (indeed, with
belipark maffie, it would not ba possible to exceed the speed limit}. end bad obeyed all
teefic laws prior to the light being shined.

Tn trying to zort out wha! had occurred and why, Cuptain Telano thoughd thet
pecbeps ths light bad beer shintd because he was traveling ia the far left lane ond the
driver of the white car might have wanted to get past, and shined the light as an indication
that Captain Telano was blocking bis way. ‘The white car has passed Capiain Telano mx
wor inthe middle lane. Io on effort to comply with what he thought was on Lmplicit
directive from a law enforcement officer, he chacged Lanes from the far left Lane to the
middle Lane, which put him bebind the white car.

When behind the white car, he noticed thet the plares appeared to be those of a
edvilian rether than a police vehicle. He considered celling 91 1 becnute be was no louger
confident that the driver was a police officer and his actions ia shining the Hght could
‘very well have cauted an nceldtnt, He was cot able to make that call because his phone
‘weg th the process of eiarging and did not have cnaugh power to even light the sereen.

Asbo continued to travel westbound behind the white car, ag suddenly as the [ght
heal oppeated, tho driver of the white cer slammed on his breaks which, ln hum, caused

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Mr. Hill
November 7, 2014
Pagedofe .

Copuzin Telano to have to ales on his to avold a collision. Now Captaia Teland was
concerned about his safety and the safety of other motorists, and believed that the actions
of the driver were ineensistent with thase of a police offices, In an effort to avoid farther
intersetion with the driver af the white car, Captoin Tcleno moved ona lane over to ihe
right and soon lost sight of the white car,

When Captain Telanc sppronched Kingshighway, the trafite slowed as did
Captain Teleao. He moved te the far left fanc to clear the traffic that seemed mont
backed up in the sight fzncs epproaching Goodfellow ard proceeded at approximately 45
titles per hour with the flew of waffle, Alter he passed under Goodfellow, Ceptaio
Telano noticnd flashing Hghts in bis rearview mirror. He was not speeding and coved to
the right to allow the emergency vehicle to pass. [t followed him and it betxme obvious
thot he was being pulled over. He stopped his cnr just east of the Jennings Station Road
oxi ond awaited contact with the officer,

The first Indication of what wea to follow was that the officer directed Captain
Telesto to stick his hands out the window end then oxit bis vehicle keeping his hattds in
view ct all times. He unbuckled his ceatbell and consplicd, When lie got aut of hils
vehicle, he was confronted by en officer with a semi-autornatle pisto] potaied et his
enter mass. Citber polles units arrived snd the officers ln them also approached Csptaln
Telono with their weapons trained on him. An afificor ordered Captain Telano to place
tis hands on the roof of his car, which he did. He was immediately handcuffed, He
asked what wit happening and why, and one of the officers stated that another officer
had econ fit theow drugs fromm fis ear. Ags Captale Telanio was attempting to defuse the
situation mid exeplain that there was a tndstake = that he bad beer. at the Cardinals game,
that te did nol inke drugs and had no drugs, and thal he was 6 Captoin in tho United
States Army, nnd that his identification and security Badge could be located In the car --
be heard s loud voice and sow Blakeney, in a t-shirt end jeans, running vp to Bim as he
yelled, “Where is the tough guy?”

When Biskeney got jo Captain Telono, he immed{ataly put his hends ec bim,
grabbing his shoulder and hands and excnling leverage on Crpinin Telano's body.
Blakengy yelled int the Foes of Capiain Telana end shouted whether Captain Telano
thought he was a tough guy end that he was not so tough now. Bhudkency bumped up
against Captnin Telano’s chest and challenged him to “Do something Motherfucker."
Diekency yanked Captain Telano's ans up and contiived with a profuse diateibe that
was minetuated by Blakensy knecing Capizin Tototo on tho thigh, causing his leg to ga
numb. Captain Telano continued to titempt to expleln that there was a misinke acd that
he hed not thrown any drugs from his car. Blakeney soreansed that he hed seen him do it,
Biakenoy thon pushed Captain Telano toward the potice car behind and using the

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Mr. Hill
November 7, 2014
Pogedof —

leverage of his cuffed arms, slamuyed Captrin Telano on the hood of the car, The force
was 30 violent that Coptata Telano's feed carne off ho ground ond his shoes flew off.
Blakeney continued a stream of profane accusations, including, that Captain Telano had
thrown drugs from his cay, that ke was drank, that he was high, road mage, attempting to
fun an officer off of the road, and thet Captain Telano had urinated in bis car and on
himself.

Another officer took charge of Caplaln Telano witile multiple officers searched
his car, Another officer performed the Grae-Mystaguias test and ihen Captain Telana
was required to provide several breath cantples la portable breathalyzce.

The search of Captain Telano's car reverted po filegat Jems ond Blakeney
Teturned tq Captain Teleno, again in on agitated state, and told him to sit down. Captain
Telano was in dress slacks ond had only one shoc on and he squatted to get down, Aske
was dolng $0, Blakeney pushed him down and he fell into a ditch,

‘There were more encotmiers and exchanges between Blakeney and Capisin
Telano. Most noteworthy were when Blakeney ordered that Captain Tolano be taken to
jail and booked, when he told Captain Telana that he was bucky be (Blzkeney) did not
beat his ass, that he koew where Captain Teleno lived and was going to ecatect St.
Charles end alert them to him, ond that Captain Telana was a disgrece to the military, At
another point, when Captain Telano told Blakeney thal he had committed ao offense,
Blakency screamed that if he did not stop claiming innocence, he would charge him with
6 felony and lock him op in “Coumy” for three days without a sccond thought,

When locked in a ceil, his cuffs were finally removed afler o time aod he noticed that hls
wrists were in pain and his thumba were minh, Captain Telano’s car was towed by
Eddie's Towing ond he was released from the jail on = summons, without having been
booked.

Captain Telapo defended the ordinance violation charges - C & 1 and expired ings + ond
bath cases ware dismissed.

Liabifly of Blakeney and Pine Laws
Blakency has beew ebusing citizens, in Pine Lawa, and out, slice at least 2011. Atteched

in summery form, is o list of other individuals why have suffered violations of their
constitutional rights by Blakeney and by Blakeney and olber Ping Lawn police officers,

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Mr, Hitt
November 7, 2014
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Blakency’s abusive sections cre well keown to otters tn the lew enforcentent communlty
znd to those in Pine Lawn with a duly to control him. Despite a clear and pecvasive
history af vigletiona of the law ond United Slates Constitution, Blakeney has not been
dist{plined, mare elcsely supervised or re-trtined. On the contrary, he has been
promated ond is cows Licutenmd,

Blakeney directed the stop sad detention, at gunpoint, of Ceptein Telano, based on a tie.
Biakeney’s first encounter nite with Ceptain Telano happened miles from Pine Lawn and
Blakeney was the aggressor. Cypain Tolano committed no viotation of Pine Lawn
ordinance ia the presence of Blakeney and, in Ect, no violation of sate flaw.

Bizkensy used manifestly unseasonable force when, in a blind rege, he accosted ond then
truck Cepttin Telano, all while Captain Telano was handcuffed and offering no
resistance,

Blakeney paused the amest and the seizure of Captain Telano's cur without probable
couts.

Blakeney and Ping Lawn will be Hable for damages for these violations of the Fourth
Amendricnt to ihe United Sintes Constitution. Captain Telano has served the United
Sintes os en officer in the United Stales Anny end still serves in the intelligence
community, He has 9 Top Scere compartmental clearances. He hes bean deployed to
Afghanistan, Pakistan, Tolikisten, Uicbellstan, Kuwait ud [eeq. Blokency's statements
and conduct wire not only obscend, but Captain Telano elo way abused whlle unable to
defend hinelFand faced multipts sideerms pointed al him. Captain Tetano was lojured,
Bis teg was injured where Binkeacy knoed him, his wrists were chafed and bruised, and
his bands were noth from the bindentis,

Btakenoy will be [lable for punilive damages. Blokency ix tha worst kind of bully. He is
a cowerd who will abuses citizen when he has the subject in cufls end bas other officers
around. His conduct and slatemeris to Captain Telano reveal his disregard for the Jaw
tod the Constitution of the United States, Of equal importance, tha repested miscondyct
of Blakeney revealed on multiple occasions in muttiple contexts, will be edmitied on the
issue of punitive dariages aed oa the issue of municipal liability. As but one oxample,
Blakeney told bath Kristes Moore and Ceptain Telano that he knew where they lived as
means of intimidation and abuse,

Thore are ample Indicators of Bikkency’s uniliness to bo a peace officer. While an
officer in New Athans, Mlnols, tvo brother officers were s9 concerned about Blakency's

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Goal tenia, Preeveag Undey Prorectsa Order
Mr, Hitt
November 7, 2014
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+ 4 tate behavior and thy| they rep d his ection te the

 

command salt, Bickeney was dismissed from thet agency because of discrepancies in
bis represeatations on his applleation thal showed deception. Blakeney was disminsed
from the Eastern Missouri Polies Acadsmy for behavioral problems, an isse tut was
coted by bls fellow students ax wail as the cadre. Blnkeney was dismissed from the SL
Louis Metropoliten Police Atedemy. Blakeney, since beginaing work for
Pine Lawn, tested positive for cocaine, Blakeney hos hid orders of protection entered
against him and hed s firearms resteietion tha, I belleve, he violated, Biskeasy was
found to be nbusive to his foemer wife and on ane occaslon stuek a pacifier in her mouth,

J was witness fo Blokency's lack of contro! ond ocrogance, Whert Captain Telano ond t
zppenred prepared to try hie chatges, T informed the prosecuting attorney that] would be
Prepared lo procesd is soci HS my cont teporter arived, | observed Blakeney conferring
‘wih the prosecttor cad shortly after, while [ wes having a private conversation with
Captain Telane, he approached us and asked, “Do ] know you?” He attempted to engage
Captain Telzpo and me in conversation. Neither of us was interested in specking to him
and it wag sn uncomfertable enegunter for many reasons, He then belt end Ceptain
Telana reported Inter thxt he moved behind me and pretended so be leaking ot» Pepi

hing, and was dropping om our cenvertation. Far a sworn peace officer to
attempt to intercept o privileged communication betwee an attiomey and his cllent is as

8s enyibing else Blakeney haa done. To compound the insult, after the

casts were dirmissed and Copitin Telaxo, hls wife, end I, were leaving, { leamod that
Blakency had been staring doom Captain Telano's wife and as we walked away from
Clay Hal, be ond bie collengues were soca sturing ond pointing and Loughing at my
ellent.

 

Blakeney caustd the traffic stop ofa local palice chief end his colleagues that is
remarkably similar to the stop of Captain Telono, Blakeney first encountered the Chied,
in the downtown area, og he tm ooveling from a Cardinals game with colleagues. When
they reached the city limits of Pine Lawn, Blakency slowed to allow the Chief's car to
pass end then Initiated a traffic stop. The officer whe sctomipaniod Blekeney was fn the
dackground signaling to the Chief by coaking 9 cisculer motion with his Index finger near
he side of his head, which the Chief took as 4 comment on Blakensy’s competence,

Each of the individuals whe artidentified it the attached stmmary has committed to
support oll litigation that any ofthern may bileg agalnst Blakeney and Pins Lawn. Each
of my clierus ix motivated to contribute to an effort to cause an unblased ond careful
review of Blakeney"s conduct and his competence to forve os a peace officer, The fury tit

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pig! Gedcen tage Seatactve Curiar

Mr. Hitl
November 7, 2014
Page 7 of 8

Captain Teleno’s cose and in evesy other will hear a complete account of Blakeney's
nilscomtuct sines craployed by Pins Lawn.

Offer of Settlement

On behalf of Captain Roy Anthony Telano, Jerome Dobson and I have been authorined to
convey an offer of settlement of Captrin Tofano’s claim for damages and Fees quritant to
42128.C, §§ 1983 and 1988. Tho terms of the offer:

b. The City of Pine Lawn shall iramediately request en investigation of Blakenay by
the SL, Louls County Police or the Missouri State Highway Patrol, The
investigation shall include his heckgrownd, the Inoldents desertbed fn this letter
and In the attachment, sad any other ineldents that coms to Ught, and shall be in
the natata ofan Internat investigation with the goa! of determining whether
Blakency should b¢ disciplined and what the dlsclaline should be,

2. The results of the Investigation shell be forwarded to the Missourl Peace Officer
Standards and Trelding Commisgton (2,0.8,T.).

»

Pine Lawn shall ditcct that Blakeney shall nut exercise police powers unless on
duty sud unless within the ely Unilts of Ping Lawn,

4. Pine Lawn shall inlilate a progrem of tralning that reflects Zasiction using the
canduet lavatving Ceptzin Telano and of the Other violations described in the

 

aaa foundation for it fats of the United Sunes
Conslitution and the laws and fully cayiing how the acilona of Blakeney
violated them.

5. Pine Lawn shall confess Ceptain Telano's petliton to expunge his arrest record.
6, Piste Lawn and Blakeney shel] pay Captain Telang tho stm of Fliree Hundred
‘Thirty Five Thousand Dollars ($335,000.00) for demeges resulting from the
injuries suffered by Captain Telano a1 tha hands of Blakeney, The amouct of the
offer is inclusive of attorney Fees and in exchange for the end dectpinnes
of the other terns, Captain Telano will provide Blakeney and Pine Laven with a
ful relense, Inchuding « release of attomoy fees,

Captain Telano is Interested in engaging in Himited discussion ebout the
selllement, pre-suil, of his cause and | Invite you to reply et your first opportunity, In,
addition, Captain Felana would be pleased to meet with you to explais what oceutred and

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Ste tate

Gontsecnal. Preguved Under Protective Grote:

Mr. Bll)
November 7, 2014
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bow it affected bint, Please tet me know if your principal 1s interested In making 0
diligent effort to resolve Captain Talano's caso and, importantly, if nel, 40 I can
commenca suit without undus delay.

 

SéMRinve
Enclosure: Case Synopses

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City of Pigg Lawn/iteven Blalency
Cate Synopses

Date of Oeourrence: G2/11, Kristen Moore,

Blakeney was « corporal, off duty when he stopped Krister floors, white she wes
driving to work,

On June 23, 2011 et opproxiimately 6:30 pum., while driving to work st Washington
University/Dames Hospite) in 5t. Louls from her home in Waterloo, [inols. While off
duty in his private SUV, Blakeney pulled over Kristea Moore. His chifdren were in the
vebicle with hin. Blakeney eppatsched Ms. Moors, in arage-atd his behavior only got
worse, He relessed Ms, Moore without 4 citation and she learned Inter that ha hed
proferred a Cal charge ageing! her thai the Stato did sol pursue.

Blakency's personal vehicte was equipped with potica lights and other police equipment.

Blakeney threntened Ms, Moore by telling her that he knew where she Lived and alter the
jocident Ms, Moore saw him following ber.

Ms. Moore lodged a complaint and o City officiel told ber to excuse the conduct because
Blakeoey hed come from a fincril.

A Google search of “officer steven blakency” will lend to 4 new cepart on Fox 2 that
feports on this fncident, :

DOF 15/12. Tremmell McCols

With Sidney Sinetatr, Tremmell MeCale and Sliney Sinclair were welking fram the
home of Mr. MeCole. As they were walking, they notierd an undercover poles car in the
taiddls of the street. Blakeney, brandishing a shotgun, approached the pair from a
distance of a couple of hotises away and said, “coms here, boy.” Other officets eerived
sad while Blakeney fild the akoigua on them, (brew Mr. McCole te the ground and
begen kicking him. Btakensy kicked Mr. McCole in the fece, He was then palled up and
violently thrown against the polles car and thrown In the back, Blakeney choked Mr,
MoCote while he war handeuffed.

Mr, MoCale trea held in Jail fora week on charges related to a derelict velicls and the
failure to appearon tine charges. Mr, MoCole never redided in Pine Lawn and did not

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Geofcenen . Ped ured b Droact es Cater

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own avehicl, He wns also charged with Paihie t Comply and Disorderly Conduct.
All charges were dlensissed,

DOr: (04/12, Sidney Staclatr

Walking with Tremmell McCole. Mr. Sinclair was ina sultaa he hed best come froma
job interview. He witnessed Blakeney sbusing Tremmell McCole and yelled for him ta
‘Hop and then, “corte bere, boy.” Blakensy then tld him he was failing to comply end
was going to fail, Mr. Sinclair wold Blakeney that be bad not done anything wrong and
noted his cuit. Btakeney said, “Oh, go belng fn a suit end tio makes you better than me?"
As Mr. Sinclaly saw Blakensy abusing ‘Tremme!] MeCole he overheard officers and
Blakeney - Blekenay said, “What? You disagree with whet I'm dalag? No? Then shut
the feck up." Mt, Stnelalr bonded out and his case wes ultinstely dismissed.

Mr. Sinclaly relsted the bad reputation of Blakeney end said thet several officert hinted
that Blakeney is a problem officer and this sort of behavior is not tryusual for kit,

DOE 12442. Naldta Inchaon

Nakita Jackton wos visiling at her sister's home, They walked to the bus stop to mect
her nieve, There was a fight or tussle involving the children. Tha polite amived and
Blakeney punched her In the face and choked her ond others Ibrew her to the ground, pot
aknce in ber back end put a Taser against her neck. She yelled that she wns prognant and
they did nat Teser her. While oo tho ground, sho hed sbdominal and back pain and
vomited, She atked for medical alention and Blakeney sid “her cas will bo fine.” She
asked Blnkeney why he bit her end he sald, “get the fuck back before | hit you egaln.”
Sho was taken to foil, bonded out and ail he charges were dismissed.

Blakency made statements thst contained metal slurs.

MMs, Jackson asked to speak to a supervisor ond Blakeney said thet he wes in charge — that
nobody wes .above him. Ms, Jerkeon complained 10 then Chief Ricky Collins who said,
“Let ine guess when this heppened, 2” shldt, nround 3:00 pan. That abift is always
Fooking up.” Biakeney ordered the erest of multipte people, including children.

SOE Itt}, Kalelsha Beek

Kalelsha Beek was staying with Racquel Wootes and femily on James A. Harvey Lane,
Wellston, 5 neighboring community to Pine Laws. At approximately 10:30 p.m., K.B.
came ou! ofa main level room end saw five cops fn lbing room. She was detained on «
couch for }) minutes.at gunpoini.

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The officers were from Pina Lewn and were ta Wellston nitempting to appishend a
werttan she bad a warrant, They apporenily thought Racquel Wooten was the women,
but Raquel Wooten was the wented woman's aster, The wanted women wos not
present. [t docs not appear thal they had a search warrant,

A Wellton officer, Sgi. Bickley, showed up and Ls.o wittets to the unlawdol entry and
search af tho residence by Pine Law officers, including Btakency. Racquel Posten saw
40 ergtanent between Sgl Bickley and P.L. officers ebout them blocking tha sirect.

BO! 6/73, Racquel Wooten

Racquel Wooton was at home, reading in ber upstairs bedroom, when Pine Lawn
offlcare samt in looking for Ketrena W. gins deawn. The police rounded up and
detained a1 gunpoint Ms, Wooten end her five chltdren, alang with Halelsha Beele and
her satel clit, At some point, she encountered Sgt, Bickley from Welliton. He told her
thas (t was not Wellston P.D, in home, She slsoaaw Bickly arguing with a PLL. cop
oui about unblocking the steel Ms, Wooten was enffed and accused of being

rena W.

‘The police had tro arrest warrant and no search wormttt
DOI: 74913 Roy Anthony Telano.

Anthony Telane |s a former police officer, up through the ranks Captain in the United
States Army (now ia IMA stetus) and employes of the Netlone] Geospatial Agency.
White off duty (we belicve), Blakeney orchestrated the traffic stop acd arrest of Capt.
Tetano, ihe search end towing of ttis car and, the fiting of charges against him. When the
Pine Lawn offers pulled Capt. Telano over, Blakency come running up yeling, “who's
the tough guy.” He assaulted Capt. Telano.

The charges were dismissed
Blakeney made a stetement 1 Capt. Telane that he was a disgrace to the militny.

Blekeney made o contment about knowing where Capt, Telana Lives, similar to what he
ted to Kristen Moore.

 

BO: 46/4. Jordan Martuer

Jordan Mariner is a young college studeal who wes traveling to her boyfriend's
ppartzedt in St, Louls from Columbia, Missouri, She was pulled over by Blakecy aod,
ultimately, arrested after questioning det lawfulness ofthe search of her car, Whea che
retrleved her cax From impound, she found that her perronal belongings, Including a
somputer, clothing and personal items, were damaged from grease and from having the
spare tire thrown on top of them,

Cralgennal: Soskned Meter Matectere Sacer

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During thelr encounter, Blakeney exantined Ms, Martner's call phone, ordered her t give
him the pass code and texted a roessage posing as her te her boyfriend. Ho also asked ber
whether she like to ga ¢o raved.

Alter Blakeney arrested Ms, Martner she begen to cry. He seemed to enjoy that and aaid
that she was going to find out how bed this pant of town was,

DOL: 6/13/14, Harattton and Jones Families and Tony Richard I

Seven people st a fumily gathering were arrested, assaulted, pepper sprayed nod charged.
‘The homeawner ian cancer patient mad hed hosted two femilly gatherings exch year for
spproxtmately thiny years. The palics first came because they sald dhere was 0
complaint abaut shots fired, One of the men told the officer thal they hed not heard any
shots. Blokency arrived and began aggrertively cursing the men talking to the officer. He
then got on the laud speaker and told cveryone to “get the fuck Inside.” The man who
was talking to the officer told Blakeney that be hed no call to curso, end that there were
children inside tha house. Blakeney rald, “fuck the kids.”

Then, tho officera crossed the fence end began using force on people despite there being
no threats agrinst tho officers end no resistmnes, The used force, including the Taxes,
pepper spmy and hands on, against a number ofthe family members, They arrested
women and mien alike. One of the arrestets is a family friend who is sctive duty United
States Coast Guard. One of the afftcers showed the cancer victim homeowner spainnt a
door-frame and caused het chento port to bang agalnst the frame.

 

‘One family metber was pepper sprayed beesuse he writs recording the abuses, Everyone
who was errested had thety phanes seized and all of the moonded footage wes deleted
from each phone,

Additional informarion Regarding Pine Lawn/iakeney

* The Moyor of Pine Lawn, Syivester Caldwell, has been Indicted by the United
States,

*  Blakenoy was (or still it) the subject of en onder of protection that protibits him

from being armed excep! on duty in Pine Lawn.

* One of Blakency's sons came home with a cell phone given to him by Blakenoy.

1 Is possible that the cell phone was seized by the P.L, police or Blakeney.

Sidney Sinclale’s phone was seized and was aos returned to him when ho bonded

OUL He utitized a uacking feature on the phone thet located {thn south St. Louts

County at or near an address associsted with Blakeney.

Ste dtee

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Case: 4:19;¢v-0201.fe0aMLJ Doc. #: 1-35 |Filed: 07/16/19 Page, 72.0f 85

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A former officer can tesiléy that he has scen Blakeney high or drunk aad amed.
Ou oa ocension, he arived at a multi-agency search fora missing persoa snmed
with an AR-LS dad bed come to the scene from the Bast Side,

* Blakeney tested positive for cocaine,

*  Blekenoy fs lovowa to frequeat the strip clubs on the Bast Sids and even goes
there while on duty,

Similar to dhe stop af Anthony Telano, Blakency stopped the St. Aon Chief of
Police, Bizkanoy and hls partner followed the Chiefs oar from downtown, some
Tor 8 miles from Pino Lawn mid after they passed through Plas Lown, Jet the
Chtef's car pass and then pulled It over. Blakeney was apparently on duty on this
sccasion.

© Diskeney is a notorious sr,

While in court with Capt, Teleno, Blakeney was eavesdropping ona private
convenmilon i wits having with my client.

" One client who was st Ping Laws to retrieve properly oe complalts was told by the
tlerk, “Blakeney regain,”

Blakeney started es 0 corpora] sod was promoted twite and is now a lieutenant.
There may be a sizeable number of officers who will testify about Blokeney’s
abusive and extra-tegal proctices, For example, he Is reposted to go oulslde his
Jurfediction and stop motorists in the City of Si, Louls, He may secure plates
fom cam towed to Eddie's, affix them to his cer and ride through the elty
osstulting people, Another report Ls that Ire will go to the Baa Side elubs while
on duty ond get drunk ard orbigh,

Blakency was accused of mpe (off duty},

Bikency beat and humallisted his former wits, On one oceaston he threw her
down, locked her out of the house and stuck o pectfier in her mouth.

«Foret Pine Law Chief of Police Ricky Coilins bas o trembled past. Astong the
cases of which I arm aware, he broke a alghtstick over the bead of my client mxd
charged him with the destruciion of chy property.

.

a

TenitentaLs Provuckd tender Protachys Cudtar

KALEISHA BECK

Cia Vacs

 

 

STLnGH M, Brats

Oe Counszus
Stayer), Gun

83, PagelD #: 246

THE RYALS LAW FIRM, P.C.
ATTORMEYS AT LAW
640 Carstrercin Ovova Row
Sune No
: Crusreamann Kresge 89005
‘Tonermioces (74) bdt-6IS2
A: {EIG) A608
Movember 7, 2014
Blake D. Hill, Esq.

King, Krehblel & Hellmich, LLC
2000 So. Elantey Road
St. Louis, Missouri 63144

CONFIDENTIAL AND PRIVILEGED SETTLEMENT OFFER,
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Re: Holetrita Beck « Clty of Pine Lawn aitd Steves Blakeney
Dear Biake:

To fottow our recent discussions, [ represent Kafcishs Bock in ber claim for
damages agains! tho Clty of Pine Lawn and Stovea Blakeney arfsing from the valewfal
entry end search of her residence by Steven Blakeney and vther Pine Lawn officers on
March 16, 2013. Biskensy's conduct violated Ms. Beck's Fourth Amendment rights for
which she will scck redress pursuant to 42 U.S.C, $§1983 and 1938.

The City of Fine Lown ia liable for the constitutionally viatative conduct of
Blakeney because Blekency has engaged, end continues to engage, in conduct that is
unconstitutional and The City wos tnd is award of his conduct end filed 1 exencioe its
duty to supervise und control Biskensy, Attoched isa summary of eiditional cetez. T
represent each of the individuals kdentified in the wltschment and each of them bas
cosmiltied to support Ms. Beck and one another in pacanis of thelr remedics, Including
the public pellcy concems of each of them. .

The Inctdent invalving Xeteisha Beck and Blakeney

On Mareh 16, 2013 at approxionatcly 10:30 pct, Kateisha Beck was in the
computer roam on the arovind Eloer of her honts located at 1899 4 fames A. Harvey
Lane, located in Wellsten, Missourt when she heard loud osises, She rounded a comer
and encountered multiple potioe officers, weapons displayed, Sho was bofding her two-
yeerold child, Samyn, The officers inimediately detained her axd ordered berto sit ona
couch while thoy conducted. search of the residence that insted approximately thirty
minutes.

Mp. Hill
November 7, 2024
Page 2 of 4

Lisbitiy of Blakeney and Plie Laver

‘The Pine Lawn officers did not have a search warrant for the home of Ms. Beck
ad, epparenily, there was nol even an arrest warrint for Katrena Wooten. The
fawlesgness of the police intrsion Is beyond dispute. First the officers were not within
their own city limits, Serond, they had no wasraat to enter the home (or fo onest
Katrena, if they found her}. ‘Third, there was no oxigectoy or consectl to enter the home.

Blskency’s abusive actions ete welll kxtown to others in the Law enforgement
community ond ta those in Pine Lawn with a duly to contro! him, Despite e clear and
pervasive bistory of violations of the law aitd United States Cansiituden, Blakeney bas
not been disciplined, meee closely supervised or re-trained. On the cantnazy, ke has been
promoted and is now a Licutenent, He clearly Ss permed to do what he sei, ssn be
wanta and where be wants.

Thera are ample iniicators of Blakency's unfitness to bo 9 peace officer, apart
Eroma the multiple ineidents reflected Inthe sttochunent White an officer In New Athens,
Uillnots, tro brother officers were 20 concemed about Blakeney's spgressiveress,
inappropriate behavior and statements that they reported his actions to the command
stall. Bizkeney ‘was dismissed from thet agency becnuse of f diserepanetes in his

oa hia application thet showed di d fom

ibe Eastortt Missatiri Policn Academy for behavior! problems, oa issus that wns noted by
his fellow students as well ns the-codm, Blakeney was dismissed from the St. Louis
Mctropaliten Pollee Department Actdemy. Blakeney, since beginning work for Pine
Lawn, tested posillye for cocaine. Blakeney has bad orders of protection entered against
him and had s reapms restriction thal, f believe, ha violsted. Blakensy was found to be
abusive to his former wife and on end octasion stuck 4 pacifier in her mouth.

Bech of the Individuals who ote identified tn the atached summary has committed
fo support all litigation thal ony of them may bying against Blakeney and Pine Lawn.
Each of my clients is motivated to contribute to an effort to causa an unbiased ond careful
soview of Blskency’s conduct and his competence to serve ns a peace officer. ‘The jitry in
Ms, Beck's case and in every other will hear s complete account of Blakency‘s
misconduct since employed by Fine Lawn

Maleitha Beck's Clair

There is perhaps oo more egregious violation thet a cilizen can suffer than to have
the pollee unlawfully corer the home, guns drawn, seizing and detaining those who they
find, To make the Intrusion more offensive, Ms. Beck's child was preseat,

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Sanfatena! = Praduped Unde Bratactoee Cretoe

Mr. Hill
November 7, 2014
Page 3 of 4

Offer af Seiilenvent

On behalfaf Keleishs Beek, | have bens suthorized to convey an offer of
sttllement of ber claim for dampges and foes pursusal to 42 U.S.C. §$ 1983 and £983,
The terms of the offer:

1, The City of Pine Lawa shall Immediately request a investigation of Blakeney by
the $t, Louis County Polies or the Missouri State Highway Patrol, The
Jevestigation shall Include his background, the Incidents desertbed Ln this tener
and in the attachment end ony other Incidents that come to Ught, and shall be in,
tho nature of an interna! investigation with tha goal af determining whetber
Blakenay should be disciplined and what the discipline should be.

2, The results of the invesligelion shall be forwerdedt lo the Missour| Peace Oilicer
Standards add Training Commission (P.0.3.7,).

4, Pine Lawn sball direct that Blakeney shall not exercise palies powers wales on
duty and unless within the city limits of Pine Lawn.

4, Ping Lawn shall inttlete a progeem of training thet reflects instruction uslng the
treatment Kaleisha Beak and of the other violstlons described in the attachment as
a fourxistion for instriciing on ihe limits of the United States Constitution tnd the

bows ond filly explaining how the actions of Blokency violated them.

3. Pine Lawn and Blekesey shall pay Koletsha Beck the sum of Seventy Fivs
Thousand Boliars ($75,000.00) for damages resulting from the injuries suffered
by Ma, Beck and her children at the hands of Btokency. The amount of the offer
is boclustys of attorney fees and in exchange for the payment ond neceptenes of
the other terms, Ms, Beck will provide Blakeacy and Pine Lown with a full
releate, incloding a release of attorney fees.

Ms. Berk intends to engage in limited discusston about the settlement, pro-suit, of her
cates and f invite you to ceply et your Girst oppartusily, Please fet nae know if your
poacipel iz interested io makinga diligent efforl to resolve Kaleisha Beck's case and,
[mportently, if hot, 20 f con commence sit without undus delay,

    

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Mr. Hill
November 7, 2814
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Enclosure: Case Synopses

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Lays Synorses

Date of Qecurrence: 6/23/41, Kriten Moore,

Blakeney was a corporal, eff'duty when he stopped Kristen Moore. while she was
driving to work.

On June 23, 2011 at approximately 6:30 p.m. while driving to work at Washington
University/Bomes Hospitel io SL Louta from her home lx Waterloo, [Hinols, While off
duty in bis private SUV, Blakenay palled over Krister Moore. His children were fn the
vehicle with him, Blakeney Ms, Meore. in o rage and bis behavior only got
worte. He released Mi, Moore without a einttion and sho leamed Lecer that he had
preferred a CI chenge agalist her chal the Slate did net pursus.

Blakeney’s personel vehicle was equipped with police lights and other pollee equipment,

Blekenoy threatcned Ms. Moore by telling her that he knew where she lived and after the
Incident Ma, Moore saw him following her.

Ms, Moors todged « complaint and 9 City official told ber ta oxense the conduct beesuse
Blakensy had come from a funezal.

A Google scarch of “officer steven bitkency” will lead to a new mport on Fox 2 that
reports ont this incident,

 

Dot: 1542, Tremmell McCote i

With Skdaey Staclalr, Treumel] MeColo ond Sidney Sinclair were walking From the

home of Mr, MeCole. As they were walking, they noticed an undercover police car in the .
middle of ibe street. Blnkensy, brandishing a shotgun, approsehed the peir from o
diaanee ofa couple of honses away ond said, “some here, boy," Other offlecrs arrived
and while Biokenoy held the sholgun on them, threw Mr. MeCole to the ground and
began kicking him, Blakeney kicked Mr. MoCale in dha face, He was chen pulled up end
violently thrown against the police ear and thrown in the back, Btakency choked Mr.
MeCole while ho was headeuffed.

Mr, McCole twas held in jail for a week on charges related to a derelict vehicle and the
failure to appear om these charges, Mr, MoCole never resided In Pine Lawn and did not

SiS

ard 4 Dep ead bredes Sretecrys Order

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‘own avebleie, He was also charged with Failure to Comply and Disorderty Conduct.
All charges were disinissed.

DGd: 1062. Bldaey Sinelate

Walking with Tremmell McCole, Mr, Sinelafe was in a suit og he had just conve froma
Job inerviow, Ho witnessed Blakeney abusing Tremmell MeCole and yelled for him to
atop and then, “conte here, boy.” Blakeney then told hint he was fatling te comply and
wis golng to jatl. Mr, Slaclair told Blakeney that he had not dane anything wrong and
noted his sult. Ditkenay said, "Oh, a0 belng Ina cult and the makes you batter than me?”
Aa Me, Sinelnir sow Blakeney abusing Tremmel] McCols he overheard affteers and
Blakeney -—Aiskenoy enid, “What? You disegrea wlth wit I's doling? No? Then shut
the fuck up." Mr, Sinclely bonded out and hls case was wlitmately dlemtissed,

Mr, Sinclairrelated the bad reputation of Blakeney and said that several ofllcera hinted
that Blakeney is a problem officer and this zort of behavior fs not unnsual for him.

DOE 12/7412, Nabidia Jactuon

 

Neldta Jackson wad visiting ot her sister's home, They walked to the bus stop to mect !
her niece, There waa a fight or tusile involving the children. The police arrived end 1
Blakeney punched her In the fhe ned choked her and others threw her to the ground, put i
aknes in her back and puta Taser against her neck. She yelled that she wos pregnant and :
they did not Taser her. While on tho ground, sho had abdominal and tack pats end '
vomited. She asked for mediral attention and Blakeooy sald “her ass will be fine.” She
asked Blakeney why he hil ber and be sald, “get the fark back before J hit you agsin.* ‘
She was taken to jail, bonded ovt ind all the chiosges were dismissed. ;
t

Bikency mode stutements that contained melal sturs.

Ms, Jackson osked to speak ton supervisor arid Blakency sadd that be was in charge = thot :
nobody wag above him, Ms, Jeckson complained to then Chief Ricky Collins who said, i
“Ler me guess when (bis xppened. 2% shift, around 3:00 p.m. That shift is always ‘
fucking up." Blakeney ordered the arrest of multiple peagle, inctuding childyer. i

DO}: Midis. Kateitha Beek
Katesha Beck was staying with Reequel Wootes and family on James A, Harvey Lone,
Wellston, anelghboritg community to Pine Lawn, Al approximately 10:30 pm., KB.

came out of a main level room ard saw five cops in living room. She was detained on o
couch {a7 30 minutes of gunpoint.

ust

 
Case: 4:19-¢v-0201/-aNLJ Doc. #: 1-35

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The officers were fron Pino Lawn end were fn Wellstan attempting to spprehend a
woman who hada warmot. They sppmeatly thought Racquel Wooten wos the woman,
but Racquel Wooten was the wanted women’s slster. ‘Ihe wanted woman wes oot
Picea, 1 docs not cppest that they had a search warrant.

A Wellsten officer, Sgt, Bickley, showed up and Is a whines to the unlawful emty and
tonrch of the residence by Pine Law officers, Including Blakeney, Racquel Wooten saw
er ergument betunen Sei. Bickley and P.L. offtcera about them blocking Ihe street,

DOL VIG1I, Racquel Wooten

Racquel Woaten was at home, zeading im her upatairs bedroom, when Pine Lawn
officers come in looking for Katrene W, guns drawn. The polles rounded tp and
dctalned ef gunpoint Ms, Wooten and her five chitdeen, slong with Kalelaha Beck and
her small child. At cums polat, she encountered Sgt, Bickley from Wellston. Ho told her
thot ft wes tot Wellstan FD. in home. She also saw Blekly arguing witha BAL. cop
cuiside about unblookdng the elrest. Ma. Wooten was cuffed and scoured of being
Ratreaa W.

The police had no eerest warrant and no search warrant
DOR FA9AF Rey Anthony Telarc.

Anthony Telana is a former police offices, up through the runks Capinin in the United
States Anny (row in IMA status) and cinployee of the Nadonal Geospailal Agency.
‘While off duty (we bollove), Blakeney orchestrated the trailic atop and arrest of Capt.
Telane, the search and towing of his car and, tha fling of charges against him, When tha
Blas Lawn offices pulled Capt, Telmo over, Blakeney came ninning up yelling, “who's
ths tough guy.” Ho assaulied Cupt. Teleno,

The charges were dismisued
Blakeney made statement to Capt Telano that ha was a disgntes to the military. t

Blakeney made a comment abo! where Capt, Telano lives, stmiter to what be
tald to Kristen Moers,

 

DOL 40/14. Jordan Mariner

Jordan Mariner it a young college studen’ who wes tmveling to hice boy friead"s
epartateat in St, Louls from Colimbic, Mistouri. She was pulled over by Blakesy and,
ullimetely, eresied after questioning the Inwiulness of the search of her cay, When sho
retrioved her car from impound, she found that her personal belongings, Including a
conputer, clothing and personal flems, were damaged from grease end from having the
spare fire thrown on top of them,

Satake

Begot dentigt » Procter dap Deeg) Cer,

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During their eacounter, Blakeney examined Mr. Mariner"s cell phone, ordered ber to give
dim the past code and trated a messege posing ¢s her to her boyfriend, He also nsked ber
whether she like ta go Fa taves.

After Blakerey arrested Ms, Mariner she began to-cry, He seemed to cojoy chat and sold
thet cho war going to find out how bad this part of tavn vs.

DO: Gi3v14, Hamilton and Jones Families exd Tony Richard 1

Saven people al o family getheting were arrested, assaulted, pepper sprayed and charged.
‘The bomcowner is a cancer pattent 2nd hed hosted two family guiberings exch year for
spproximately thirty years. The police first eume because they suid there was 4
complaint about shots fired. One ofthe men told the officer thet they had not heard any
dhots. Blakensy arrived oad began aggressively cursing the mon talking fo the officer. He
then goton the [oud apeaker and told averyons to “get the fick inside.” The man who
ong telking to the officer tald Blakeney that Ne hed ao call to curse, and that there wore
children Inside the house, Blakeney sald, “fuck the kids.”

Then, the officers crassed the fence end begen using fores on people desplie thero being
no ikreats ngainst tho cfficers and noeeslstence, The ited fores, inchating the Taser,
pepper spray tnd hands on, egeinst a number of the Gamily members, They enesied
‘Wotaen aed men alike, ‘One of the arrestecs isa femily friend who is active dary United |

 

States Coast Guard, Que of the officers shoved the cancer victim homeowner against a
door-frame and caused her cheno port co bang against the frame.

One family otember was pepper grayed because he was recording the abosea. Everyone

who was oorsted hed thelr phones seized and all of the recorded footage was deleted
from cach phone,

Additional Information Regarding Pine Lawn/Riakene}

* The Mayor of Pine Lawn, Sylvester Caldwell, has been indicted by tho United +
States.

¢ Blakeney wes (or sill! is} the subject of tn order of protection thal prohibits him
from being armod except on duly in Pine Laws,

* One of Blakeney’: sons cana Romie wilhta cell phone given to him by Blakensy.

tt is passlblo that the cel] phone was seized by tho PL, police or Bokenoy.

Sidney Sinclatr’s phone was coined and was nat retumed ta him when he bonded

oul, Ho uillized o tracking feature on tho phone that located ft in south Si. Lows

County 11 or near on addrett tasoclated with Blakeney.

WALL}

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A fernter officer can testify that he has seen Blakeney high or drwtk and amied,
On one cocaslon, ho erived ai 3 nuld-agensy search for a missing person exmed
with sn AR+15 sod bsd coms ta the secas from the Bast Side.

Blakeney tested positive for cocaine,

Blakeney ia known to Srequeat the strip clubs on the Bast Side and even goos
there while on duly,

Simllar to the stop of Anthony Telano, Blakenoy stopped dhe St. Ana Chief of
Police, Blakensy and his partier followed the Chief's car from downtown, sone
Tor & miles from Ping Lown and after they pared (hregh Pine Lawn, let the
chief's car pass ond then pullod ftover. Blakeney was eppacently on duty on this
occasion,

Blakeney ts a notorious Har.
‘While in court with Capt, Teleno, Blakeney was eavesdropping on 0 private
conversatlon | was baying with my slfent.

One cllent who wag nt Pine Lown te retrieve property or complain was told by the
slerk, “Biakendy again."

Blakeney started sy 9 carport and was promoted twice ond fe now a lioutenant,
There may be 4 zeabls number of affieers wha will testify about Blakency's
abusive and extra-fegal practiocs. Far example, be /4 mperted 10 go outside his
Jurisdiction and stop motorists in the City of St, Lauls, Ho may secore plates
from cars towed to Eddis's, affix them to his car and ride through the olty
sssaultiog people, Another report is that he will go to the Bast Side clubs wille
on duty end get drank and or high.

Blakenoy was recused of tage (olf duty).

Blakeney beat ard humilisted ils farmer wife, On one oocastan he threw her
down, locked her out of the house and stuck a pacifier in her mouth,

Farmer Pine Law Chief of Police Ricky Collins has a troubled past, Among tht
cases of which Lam aware, be broke anightstick qverthe heed of my een and
charged him with the destruction of city property.

Cont apntal. tuhcert under Dermat ye Seder

JORDAN MARTNER

mae as

 

 

 
* Case: 4:19-cv-02017-SNLJ Doc. #: 1-35 Filed: 07/16/19 Page: 75 of 85 PagelD #: 249

Conb teem. ctu Vindes Pottectan Out:
THE RYALS LAW FIRM, B.C.

ATTORNEYS ATLAW
‘Srarmon kL Nyala S4G10 Ceerrenrmn Caen Tees
Cann Crom, MOsouR O05
Sriven 1. Quan Tenerece: ($1) 467-242
Fax (838) 316-002
Novembar 7, 2014
Blake D. Hill, Esq,

Kiog, Krehbiel & Hellmich, LLC
2000 So, Henley Road
St Louis, Missouri 63144

CONFIDENTIAL AND PRIVILEGED SETTLEMENT OFFER
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Re: Jordan Mariner ¥ Clay of Plue Lows and Stevert Stokeneyp
Dear Blake:

To follow our moet discussions, | represent Jordan Mariner in her clalen for
demeges agains the Ciry of Pine Lawn end Steven Slakensy arising fram the unlawfut
stop, search and amest by Steven Blakeney on April £4, 2014. Blakency's conduct
violated Ms. Mariner's Fourth Amendment rights for which she will seek redress.
Pursuant to 42 U.S.C, $5198) and 1588,

‘The City of Pins Lawn ds Hable for the censtindionally violalive conduct of
Blakeney beenuse Blakeney bes engaged, end continues to engage, is canduet that is
wnconstinmionnl ond the City was and is aonuo of his condwet and failed to exatckse its
duty to supervise and contrat Blakeney. Attached {s a summary of edditional eases. t
rep cach of the individuals identified io the attach awl each of them has
camunitted to support Ms, Mortoar and one enother in pitmuil of their remedies, including
the public policy concems of each of them.

 

The fuctdent involving Jordon Martner and Blakeney

On April £0, 2014 at approximately 1:00 o.m., Jordan Martner was tmveling fom
Columbia, Misrouri, where the was a student, to SL Louls where she wos visting a
Fiend, She was epprosching ihe Brosdway exit in downtown $1. Louis when she saw a
str opprosching her at a high rate of speed from the rear. Her redar detector chirped and
che meoged to the right lane. Tho fast approaching car followed and then aetlvated
emerency Eights causing Ms, Martaer te pull aver end slap.

Cantderal - Braden nda: Pislecinve Otdae

Mr, Hill
November 7, 2014
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Blakency immediately sppeared at her window and ordered Ms, Mavtoer ta gel
out, She complied. She provided bes identification os reqticsted and Blakeney asked
whal she was doing before ke pulled her over, She did not undersiand the question and
inquired whathe meant, He occused her of “being an ass and ptaying games with me” as
he eppronched, Blekeocy accused her of going #6 miles per hour, She demurred. He
then said, “OK, 75 then.”

Asshe sot on the back bumper as directed, the observed that Blakeney was
condvcting a scarch of her car, going inte the center console, the glove-box and wader the
geet. There was another officer at the scene and alte asked him why her veblele was
belug searched, He eeplied shat he did not know and she should ask Blakeney. So, she
did. Bey ens (ota ae Because Ioan. What, are yous criminal justies
major, or something?” Ms. Mirtner replied that she was not, but that her dad ie an
pitomey end thet there wa no probable exuse to scorch her car. Blakeney then told her,
“Tdon'i give a shil wher your dad Is,” 03 ho charged toward her aggressively. Then he
seid, “Vou are interrupting my work, Went to know what heppess now? Tum around,
you ere under ntrest for speeding.” Blzkency cuffed her and placed her in the back of the
second officer’s car. He then continued the reerch of her car.

Blakeney told Ms, Mariner that because of how “disrespectful” sha was, she
would have to pty a botid and for ker car 12 be tawed, He also told her that he was laking
ber to the “ghetto.” Blakeacy asked who world be picking her up at the pollee station.
Adder she told him that it would be her Siead, Brett, Blakency scecased ber phone and
sent a text inessage to Brett, peetoailing to be Mi. Martner, Whea the phone locked, be
demanded ber security code, which she provided, Blakeney then asked her iffshe liked to
go fo roves and why she had 29 many apps on her phone. Lastly, Blakeney asked
svhether Ms. Martner knew where she was. She repiled that }t was an unsafe srea? That
gave Biskeney gles as he smiled and stated that she was “about to find-oul.” Priore to
making that statement o Ms. Matutes, she was weeping and Blakency's comment was an
unadulterated emuelty,

The officer who tremported Mx, Martesr asked her whether she knew Blakency's
name, She told him tha! she did not. The officer then voluntected thet it was Blakency.
Ms, Martner asked the officer whether she had been disrespectfl and he reptied, “No.*

The went moming, Ms, Martner went to Pine Lawn to secure o release for her car.
‘Fhe elerg asked whether ehe hid any pelor arrests, & suspended Heense or other negative
history. She then informed Ms. Martner thet she haa seen Binkeney do this many times
ond cothing is ever dene ebortit.

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Me. Hill
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When she recovered her car fiom Eddie's Towing, she discavered that the car had
becn tmshed. Her glesres were ripped from their case, the case was damaged cod papent
were strewn: throughout the car. The wensl, however, was what she found ia (he munk,
Herelothes were removed frogs her luggage and seatiered in the frumk, Her mako-up onse
was empiled and durped on ber glathes. The ypare Hire was Lrown an top of her book
bag that contained hes leptop sad the laptop was broken. Two bottles of oll kad been
ferpwn and oll was spilled on ber perronal fens,

Ms, Mariner 4 charged with curcless and iniprudent driving, no seat belt, failure
to signal a tum, no proof of insurance, nod no openttor's ficense [n possession.

Lighiitty of Blakeney and Pine Lawn

An incident report wos prepared alleging that Ms. Martner stopped her veliicle at
[-20 and Union. That is [le es one (he detaila of the alleged offenses. She was no! pulled
over until near the new Musial Veteran's Bridge, downtown, some seven or 50 miles
awny. Moreover, even assuming tha trath of the report, it does nol appear Gust Ms,
Martaer committed an offense within the city limits of Pine Lawn, or at best, itis
gutationable, Blakeney’s habit of pulling taking enforcement action outlde of Pine
Lawn is well extablishad,

Blakeney"s abusive eetlons ate well known to others in the law onforeement
community end to those in Pine Lown with duty to contrat him, Despite a clear and
pervasive History of violations of the law and United States Constitution, Blekeney has
pot been disciplined, more closely supervised or re-trained. Ga the contrary, be bss been
promoted and is cow a Licutonoat. Ho clearly is permitted to do whet he wittils, whe he
‘wants and where he wants,

There ave ample Indlcatora of Blakengy’s tnfitness to be a peace officer, spart
frem the multiple incidents reilected in the attachment. (Ville on officer la New Athens,
Iltinols, two brother officers were 39 concemed about Biskenay's aggressiveness and
inapproprinte behavior and ststements thal that reported his actions to the commntod staff.
Blakeney wos dismissed from that agency because of discrepancies in his mpresentations
on bis epplication that showed deception. Blekensy was dismissed from the Exsiem
Missougj Potice Academy for behaviorel problems, an issoe that was ooted by his fellow
students ns well as che cadre, Blakenoy was dismissed fron the St. Louis Mewopelimna
Police Departem Academy. Biakency, since beginning work for Pino Lawn, tested
positive for cocaine, Blakency has had orders of protection entored against him and hada
firearms resuriction that, T believe, ba viglzied. Blakeney was found to be abusive to his
former wife and oo one occasion stuck # pacifier tn ber moth,

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Con! dental. Pendturag Uindes Pretachs Qtdae

Mr. Hill
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Bach of the individuals who tre identified in the attached summery has committed
so support all Litigation that any of them may bring against Blakeney and Pine Lawn.
Each of my clients is motivated to contcbute (o on effort to cause en unbiased and careful
review of Biakerey"s conduct and his competence to serve oso peace officer, The jury in
Ms. Martner's case and in every other will hear a complete account of Blakenoy's
misconduct since employed by Pine Lawn,

Jordan Martuer’s Claims

This tine, Blakeney chase es the object of his daviance, a yauttg, sttmetive
student who was porticularly vulnerable based on her age and Inexpectones, Blakeney
unlawlully characterized her asking 4 question about his seorelt of her yehlele (having
sald he wax searching ii “because I can”), og an interruption of his “work” and.
disrespectful. It was neither and, in feel, wos nothing more or bess than (he exercise of
the First Amendment righ to question (he government and its agents. There is no cedar
proof of speed and the rest of the account relies on the integrity of Blakenoy, which is ta
any, ft is without foundation.

Perhaps at offensive at the retaliction for Ms, Mertner's “disrespect,” including
the dactage to het propeny ard the unlawful arrest, detention and seizure of hey vehicle
(by Eddie's Towing), {x that Blakeney once again revealed hia cructly. He took particular
delight in Ms, Mariner's distress and exacerbated [t with the final statement that she was
about to find out bow unsafe the area was,

Ms, Martner"s encounter and aRtenneth fs not the fivst time thal others ~ bath
officer and city employees — have made comments that support the well-known history of
Blakeney.

Offer af Satenent

On beholf of Jordan Marmer, I have been suthorized to couvey an olFer of
sciilement of her claim for demeges ond fecs pursuant to 42 U.S.C, §§ 1983 and 1983.
The tems of the offer:

1. All ordinance violation charges against Ma, Maztnor thal be dismissed without
costs and Kier bond moncy é immediately tefunded in foro.

2% Pine Lawn shall confess Ms. Martner's petition for expungment of her atrest
record.

2, The City of Pinc Lawn shail Immediately request an investigation of Blakency by
the St. Louis County Police or the Missouri State Highway Patrol, The

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November 7, 2014
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investigation sholl Include his background, the jacidents described in thls feiter
and in tho aniaehuneat and any other Incidents thal come to Hight, and shall be in
the nature ofan intemal Investigation with the goat of determining whether
Binkeney should be disciplined nnd what the discipline shauld bs,

4, The results of the investigation shall be forwarded to the Missouri Pesos Officer
Standards end Training Commission (.0.5.1)).

3, Pine Lawn shall direct chat Btakeosy shall not cxerolse police powers unless on
duty end wmiess within the elty limits of Pine Lawn,

6, Ploe Lawn gheil Inidatea progrem of training that reflects Instruction uslag the
treatment Jordan Martner end of the other violations described in the altachment
a3. a foundation for instructing on the Himits of the United States Consututlon, and
the laws ond fully exptniaing how the aclloas of Blokeney violated cham,

. Pine Lawn end Blakeney shall pay fordan Martner the semi of Four Hundred Sixty
Five Thousand Dolters ($465,000.00) for damages resulting irom the Injuries
suffered by Ms. Martner at tha hands af Slakeazy. The amount of the alfer is
taelusive of-ottomney fees and in dxchange For the payment and acceptance of the
other tenn, Ms, Martier vill provide Blakeney and Pine Lawn with a (ull
release, including 5 mlease of attamey fees,

Ms, Mariner intends to engage in limited disenssion about the settlement, pre-suit,
of her exuse and ] invite you to reply of your first appostunity, Please ft me know if your
painelpal is interested in making a diligent effort fo resolve Jordan Martuer's case and,
importantly, if not, 20 I ean commence sail without undue delay.

“a

 

SMRimvo
Enclosure: Case Synopses

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ity of lakers:

Dare of Gecurrance: O21}, Kristen Moore,

Blekeney was o corporel, off duty when he stopped Kristen Moore, while she was
driving to work.

Ga June 23, 2017 at approximately 6:30 pum, while driving to work af Washington
University Gomes Hospital in St, Lows from her home in Waterloo, Enola, While off
duty In bis private SUV, Blakeney pulled over Kristen Moore, His children were Inthe
vehicks with him. Blakenoy Ma. Moora, In a rege and his behavicr only got
worse. He released Ms. Moore withatt q eitation and she leamed Inter that he had
preferred a CA] charge against her tha! the State did not pursue.

Blakeney's persone] vehicle wos equipped willl pollen lights sud other police equipment,

Blakeney threatened Ms. Moore by telling ber thst he knew where ahe lived and after the
incident Ms, Moare saw him fallowlng ber.

Ms, Moore lodged a complaint and a City officis! told her to extuse the conduct because
Blakeney had come From a finer,

A Google search of “officer steven blakeney” will lead to a new report on Pox 2 ihat
reports on this incident,

DOK 16/5/12, Tremmett MeCate

With Sidney Sinelalr, Treminell MeCotc and Sidney Sinelalr were walking from the
heitte of Mr. MoCole. As thoy wore walking, they noticed en undercover police car in the
middle of the street, Blakeney, brandishing = shoigun, opprosched the pale frome
distance ofa couple of houses away end snid, “come bere, boy.” Other officers arived
amd while Blakeney held the shotgun oa them, threw Mr, MoCole to the ground and
began kicking him, Blakeney kicked Mr. MoCole In tha fea. He was (hen pulled up end
violeatly thrown agaliest the poles ear end thrown inthe back. Blakeney choked Mr.
McCols while he wag handentfed,

Mr. McColo was held In jail for a week on charges related to a dorollct vehicle nod the
feijure to appear on those charges, Mr, MeCole never resided In Pine Lawn and did act

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owna yelticte, Ho was also charged with Pailure to Comply and Disorderly Conduct,
All charges were dismissed.

DO 185/12, Sidney Sinclair

Walking with Tremmel] McCole. Mr. Sinclair was ina sult as ke had just come froma
job interview, He witiessod Glakency abusing Tremmell McCole and yelled for kim to
stop and thea, “come here, boy." Blekeacy then tokd hina he was falling to comply md
was going to Jail, Mz, Sinclair told Blakeney that he had not done enything wrong and
noted his evit, Blekency sald, “Ob, so belng in a suit sed tl mokes you better than ue?™
As Mr, Sinolaly saw Blakensy abusing Trensmell MeCols te overheard officers and
Blakeney - Blekency mld, “What? You disagree with whal I'm doing? No? Then shut
the fuck up.” Mr. Sinclair bonded out and his case was wlllmately dismissed,

Ms. Sinetair related the bed reputation of Blakeney and seld that several officers hinted
thot Blakeney is 9 problem officer end this sort of behavior is not unusual for him.

Hor 12/712, Nakita Jackson

Nekita Jackson was visiting at her sister’s home. They walked to te bus stop ta meet
her niece, hero was a fight or tussle involving the children, The police arrived and
Blakeney puoched her in the fees and choked her and others threw her to the ground, pul
a knee in her back and put o Taser against ber neck. She yeiled that rhe wos pregnant and
they did nnd Taser ber. While on the grimnd, she hed ebdominal end beck pain cod
vomited. She asked for medical attention and Blakeney said “her ass will be fine.” She
asked Blakeney why he hit hor and hs said, “get the fisck beck before hit you again”
She was tken to jail, bonded out and all the charges were dismissed.

Biekeney made satenents al contiined racial slurs,

Ms. Jackson asked to speak to a supervisor and Blakeney said that he was in charge = that
Robedy was ebove Alin, Ms, Jeckson complained to then Chief Ricky Calllns who inid,
“Let me guess when this happened. 2™ shift, around 3:00 p.m. Thal shifl is always
fucking up.” Blakeney ordered the arrest of multipts peaple, including children.

Dol VGH. Koleithn Beck

Kakisha Beck was staying with Racquel Wooten and family on James A. Harvey Lace,
Wailsion, 9 neighboring community (o Ping Lawn, At approximately 10:30 p.m., KB.
cane out ofa tials [evel room: and saw five cops in living room. Sha wes detained on «
couch for 30 miautes et gunpoint,

Ceol atoll. Praetutas Usgas rotating Oat

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‘Fhe officers were trem Pine Lawn and were in Wellston attempting to apprehend a
woman who had a warrant. They apparently thought Racquel Wooten was the women,
but Racque? Weoten Was tha wanted wotmin's sister, The wanted women wns Rot
Present, It does not appear that Gey Kad « search srarant,

A Wollsion officer, Sgt Bickley, showed upand isn witness to the unlawful eniry and
search of the residence by Pina Law officers, inchiting Blakency, Racquel Wooten saw
nh argument betucon Sgt. Bickicy and PL, officers bout them blocking the street.

DO}: 16/13, Reequel Woaten

Retquel Wooten wes at home, reading in her upstairs bedroom, when Pine Lawn
olllcers camo in looking for Kateerta W. guns drawn. The police rounded up end
detained of gunpoint Ms, Wooten and her five children, along with Katelsha Beok and
hor small child, At sonts polni, she encountered Sgt. Bickley from Wellston, He told her
thot it way not Wellston PD, In home. She also sow Bickly arguing witha PL, cop
ouside about unblocking the street. Ms. Wooten was cuffed and accused of belng.

atrema Wi.

‘The police bad no errest warrant and no search warrant

DO! HIST Roy Abthony Telano.

Anthony Telaro is a former police offices, up through the ranks Captain in the United
States Army (vow bn IMA slates) and employes of Lhe National Geospatlal Agency.
While off duly (we belive), Blakeney orchestmted the traffic stop and etrest of Capt.
Telano, the search and towing of his car end, the filing of changes against iin, When the
Pine Lawe ollicers pulled Capt. Telano over, Blakeney came running up yelling, “wha's
the tough guy.” He assaulted Capt, Tetano.

The charges were dismissed

Biskeney made a statement to Copt Telano that be was a disgrace to the military.
Blakency made a comment bout knowing where Cant. Tefang lives, shmiler to what be
sri to Kristen Moore.

DOL 4/1014, Jordan Martner

Jordan Martner iy a young college student who was tmveling to ber boyfriend's
apartment In St. Louls from Columbla, Missouri, She was pulled over by Biakeey and,
ultimately, arrested after questioning the lawfulness of the search of her cer. When she
retrieved ker car from [mpouttd, she found thal her personal belongings, Including 9
computer, clothing sod personal Items, were damaged from greats and from having the
spare tlre throwya on ion of thet,

fact}

 

 

 
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Sep f manta, Beading Uo tar Bronte Ontat

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During their encounter, Blakency examined Ms. Martacr’s cell phone, ordered her to give
him the pass code and texted a message posing es her to her boyfriend, Ho also asked ber
whether she like to go to raves,

After Blakeney arrested Ms. Martoer she begen ta cry. He seemed to enjoy that and sald
‘that sho was going to find out how bod this past of town was.

DOL 6/1314. Hamilton acd Jones Pamiltes and Tony Richard 0

Soven people at a family gathering wert mrrested, assaulted, pepper sprayed and charged.
Tha homeowner is a concer pallent and had hosted two family gatherings cach year for
approximately thirty years, The pollce first came becaute litey suid there was.
somplalnt about shots fired, One of the men told the officer that they had sat heard any
shots. Blakenoy suvived and began aggressively cursiig the man talking to tae officer, He
then got on the loud speaker and told everyone te "gel (he fuck Inalde." The man who

to the olTicer tald Blakenoy iset he had no call to curse, ond that there were
chidren foside the bouge. Blakeney sald, “fick the kids.”

Then, the officers crossed che fence and began using force on people despite thera being
po threats agatost the officers acd no resistance, The usec force, including the Taser,
pepper sproy end hands on, sgalust a namber of ths fansily members, They arrested
worsen end men alike. One of the nerestees fs a family drtend who Is active duty United
Sutes Coast Gutrd. One of the officers shoved the cancer victim homeowner ogeinst a
doos-fteme nnd cauted her chemo port t bang against the five,

One familly member was pepper spmyed beemse be was recording the ahuses. Everyone
‘who was norested hind thedr phones seized and all of the reconded footage was deleted
fom etch phone,

Additional Information Regarding Pine Lawn/Biakeney
«The Mayor of Pine Lawn, Sylvester Caldwoll, bss been indicted by dhe United
States,

* Bhkensy was (67 sill is} the subject offen order of protection that probibits him
Som being semed except on duty In Pine Lown.

* One of Blakenoy's sons came home with a cell phone given to-hin by Blakeney,
this possible thas che cell phone was seized by the P.L. pollce or Blakency,

© Sidney Staglatr’s phone was seiztd and was nat returned to his: wher he bonded
out, He utilized a tracking feature on the phone that located It in south St. Louis
County at or near an address associated with Blakeney.

Sti baa

Gankasorel = Prodsated Ungar Siotesnes Order

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* A former offices can testify that he his seen Blakeney high or dnmk ard armed.

On one occasion, he petived ai a multi-agency search for a missing perton armed

with an AR+15 and hed come to the scenc from the East Side,

Blakeney tested positive for cocaine,

Blakenay is known to frequent the strip clubs on the Bast Side and even goes

there wiils on duty.

«Similar to the stop of Anthony Telano, Blakeney stopped the $1, Ann Chief of

Police, Blakeney nnd his poctuer followed the Chief's cer from downtown, some

Tord miles from Pine Lawn und ater they passed through Pine Lawn, det the

Chlefacer pass and then pulled it over, Blakeney wos spparantly on duty on this

occasion.

Blakeney is a totorious lint,

Wile In court with Cept. Teluno, Blakeney was eavesdropping on a private

sonvertation I wax having with my client

* One client wha wos at Pine Lawn fo reteleve property or complalny was told by the

clerk, "Blakeney sgaln,”

Biskeney started os a corporal arid wee promoted pvice and bs now a Tewtenane,

‘There may b¢ 0 sizenble number of officers who willl tesilfy ebout Blekeney's

obusive ond extra-lega! prectices, Por exemple, he is reported to go outside his

Jurlsdiction and stop mxttorists in dhe City of St. Lewis, He may source plates

from cars towed to Eddie’s, aff thent to his exe and side through the city

assaulting people. Another report is that he will go fo the Hest Side clubs while

on duty and geldrenk ond or high.

Blekeney was accused of rape (off duty),

Blakeney bet! end humiliated bis former wife. On one opeaxient he threw her

down, locked her out of the house and stuck a preiffer In her mavth,

© Pormer Pine Law Chief of Police Ricky Collings has o troubled past. Among the
enses of which I am aware, be broke a nightstick over the head of my clicat and
charged him with the destruction of city property.

ds

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Saeabtervoh Proce eat Provectue Crate

SIDNEY SINCLAIR. ”

 

 

tH
fonkasns) «Produced Unites Btetnelve Oiner
THE RYALS LAW FIRM, P.C.
ATTORNEYS AT LAW
STOMEH M_ EVALL {e640 Corceentnin Geo Foon
Or Cosmet: Adres C3005
Sieven J, Gace Frame: OH) 022
Fax FO
November 7, 2014

Blake D. Hill, Bsq.

King, Krehbiel & Hellotich, LLC

2000 So. Hentey Roxd

St. Louis, Mlssouzi 63144

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Rei Sidney Sitclale uv, City of Pine Lown aud Steven Blakeney
Dear Blake:

To follow our recent discussions, | represent Sidney Sinclair lo his clalm for
damages against the City of Pine Lawn and Steven Blakeney arising froma tha stop,
detendon, and unlawful seizure of his person by Steven Blakeney on October 5, 2032,
Blakensy's conduct violated Mr. Sinclair's Fourth Amendmen rights for which be will
peek cedress pursuant to 42 U.S.C. §51983 and 1988.

 

 

: ‘The City of Pine Lawn is lichle for the constitutionally yvialutive conduct of

: Blakeney because Blabency bas engaged, and ogntinues to engage, in conduct that is

| unconstitutional 2nd The City was and [s eware of hit conduct ond Failed 10 exercise ine

! duty to supervise and control Blakeney, Attached {sa pimmuary of additional eases. T
represent etch of ihe individuals identified in the attschrrent and each of them has

I committed to support Mr, Sinelalr nnd one-another in pursuit of their remedies, Including

: the public policy concems of cach of them.

The Incident Invatvlag Mr, Sinclair and Blakeney

On October §, 2012 Sidney Sinclair was walking with bis friend, Tremmeli
McCole, foward o but-ezop at Jennings Stetlon Rood and Greer in Fine Lawn. Mr,
Sinclair had come froma job Interviow, was wearing a suit and tie, tid hed stopped at the
home of bis friend between busses, Ag thoy walked past 4 polles ear, cevert! affcera
emerged from behind a house, Then Blakensy emerged with a shotgun in hishands, The
| officers ordered the pair to slop, svhich thoy did, Blakeney told the stent to wath rowerd

City \yaz

 
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him. Blekeney said, “Don't nun boy, }'ve got a partner who will ran you down.” They
adked why as they moved toward (he ether officers because Dlakensy was pointing the
shotgun al theat, whieh chrealened and frightened (hent, When they asked whet was
going on, Blakeney told them te shut up ~ that they dldis't listen and were now going to
jail.

Blakeney banded ths shotgun to another officer aud grabbed Mr. MoGale by his
elbows, from behind and begun his assaultof Mr. MeCole. Blekency slamined McCole
to the grotied and cudTed him. Mr, Sinclair, observing the assault of his friend attempted
fo explala Chat he wae wearing aml ond tic, had just cottie from ent interview and that
they iad nal done anything, Blakeney responded that they didn't comply and were gelitg,
to Jol. As he shoved she handeulTed Mr, Sinclair in the chest, he sald, “Oh, so being in o
sult and de makes you beterthan me

Aa bo sat there, he saw that Blakensy wes forther assauliing Mr. MeCole by
Slamming hin: ogalast a ear, and then down on the pavertient whore he kicked him. Mr,
Shuslalr saw Blakency kick Mr. MeCole repeatedly ned hased Mr, McCale scrceming sid
asking whether the ather officers were going ta just allow him to kick Mr. MoCole in the
fete [Eke that? Mr. Sloctalr could not bear whet the other officers were saying, but heard
Bhkeney sty, "Viet? You disagree with whal I’m doing? No? Then chul the firck up.”

Althejall, Blakeney taunted Mr, Sinclair, He sald, “Yeah. You're talking afl that
shit now, Thal's why you'll be dolng this (maklog a circular motion with hia finger
abovn his head), while I'l bo daing this with s Mergorita (miming taking a drink). This
ta similar to a remark Blakeney reads to Nakita Jackson.

Me. Sinclalr reports that the other officers did nat act inappropriately, and that
They Insissvated (hal Blakeney was out of contro] and had dose this sort of thing before,

Ma. Sinclair was jailed and was held ovemight vatil bo was permitted to bond cut.
‘He repeatedly avked to bond out and offfcers “asked 0 supervicor,” who refused to pexmil
kim to post bend, even though be hed the muaney, He was charged with Feitune to
Comply and Resisting Arrest. He defended che ordinance violetion charges and all cases

Liability of Blakeney and Pine Lawn

Blokency has been abusing cllizens, fn Pine Lawn, and out, since ot east 2001.
Attached Ja suitumary form, isa tlst of other individuals who have suffered violations of
thels constitutions! rights by Blakency and by Blakenoy and clher Pine Lan police
officers,

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Ganluienns|. Pretuand Unctes rolechye Great

Mr. FHIE
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Blakenoy’s abusive actions are well kriown to others in the law enforcersent
community and to those in Pine Lawn with a duty ta comrol him, Despite a clear and
pervasive history of violations of the law asd United States Constitution, Blakeney has
aot ot bean disalphined, mare closely supervised or re-trained, On the contrary, he has been
promoted and Is now 8 Lieutenant.

Blakenay stepoed ead deiained Mr, Sinclair at gunpoint, and eerested, jalled aid
charged him, Mr. Sinclair had committed ao offense, reflected In the inet that the
charges were dixmisssd. Blakexey and Pine Lown will be [isble for damages for these
violations of the Fourth Amendment ta the United States Constitution.

Blakeney will be Hable for punitive damages, His conduct towards Mr, Sinclair
reveals his dixregard (or the law and the Constitution of the United States, Of equal
importence, the repeated ouseonduct of Blakeney revealed on multipte occasions in
multiple contexts, wil] be édmitied on the issue of punitive damages and on the issus of
municipal Habillty.

‘There ere ample indicntors of Blakency's wafitness to be a peace officer. Whilo
an officer in New Athens, tlinols, two brother officer were ao concerted about
Binkeney's aggressiveness, Inappropriate behavior and statements that they ecported Iris
agtionsto the command staff, Blakeney was disusiesed from thal agensy because of

in his fons on bis sppileation that showed deception. Blakeney
was démlsted from the Eastern Missouri Police Academy for bebavioral problems, an
issuc ihat was noted by his fellow students as well as the cadre, Blakeney was dismissed
fram the St, Louis Metropolitsn Police Department Academy, Blakency, since begining
work for Pine Lawn, tested positive for cocaine, Blakeney haa had onfers of protection
entered against bim end tnd p féeats restriction that, I beleve, he violated. Blakeney
was found to be abusive to his former wife and on one occasion stuck a pacifier in her
mouth.

Blakeney caused the traffic stop af a Hecal potica chief and his colleagues that Ja
remarkably similar to the stop of Captain Tolan, Blakeney first encountered the Chief,
in the downtown area, as he was traveding from a Cordincls game with colleagues. When
they reached the clty limits of Pine Loom, Blakency slowed to allow the Chief's cer to
poss nod then initiated 9 trafile stop, The officer who secompanied Blakeney was tn the
backerotind signaling to the Chic! by marking a circular motion with his index finger near
the side of his bead, which the Chief took os a comment on Blakeney's competence.

Bech of the individuals whe ore identified ip the attached summary bas committed
to support all litigation that any of thea may bring ayelest Blakeney end Ping Lawn.
Each of my clients is motivated fo contribute to an effort to cause an unbissed and carefisl
review of Blakenty's conduct and bia compettace to serve ax a peace officer. The Jury in

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Me, Hill
November 7, 2014
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Mz, Sinclair's case and ia every ollice will hear a coniplete secount of Blekeney's
mnlscanduct sinca employed by Pine Lawn.

Offer of Senttentent

On behalfof Sidney Sincialy, I have been authorized lo convey an offer of
settlement of Sinolalr's claim for damages and feed pursuant to 42 U.S.C. §§ 1903 and
988. The terns of the offer:

1. The Chy of Pine Lawn shall immediately request en davestigalion of Blakensy by
the St. Louis County Police of the Missourl Stale Highway Patrol. The
investigation shall inctude his background, the ineldents deseribed In dils letter
ond Jn the ailaclupent and any dther incidents thet come to Pght and shall bo in dhe
netire of an intemal Investigution with the goal of determining whether Blakeney
should be diselpiaed snd what che disclptine should be,

2. Tho results of the Investigation shall ba forwarded to the Missourl Peace Officer
Standards end Training Comutission (P.0.8.T.).

-

Pine Lawn shal! direct that Blakeney shall not exercise police powere unless ont
duty end untess within the city limits of Pine Lawn.

4. Pine Lown shall initiate a program of waining that reflects insirction using the
conduct involving Sinclair and of the other violations described io the ntachnattl
as o foundation fer instructing on the constraints of the United States Canstitution
and the Faws, and fully explaining how the tsiions of Blakeney violated thertt,

§. Pine Lawn shall confess Mr, Sinclair's petition to expunge his amest reeoed.

6, Pine Lown and Blakeney shall pay Mr, Sinclair tho sum of One Hundred Twenty
Five Thousand Doldars ($125,000.00) for damages resulting from the Injuries
suffered by Mr. Sinclalr at the hands of Blakeney. The amount of the offer is
inclusive of attomey feos and in exchange for thes payment and mocap tence oF the
other ters, Mr. Sinclair will provide Blakeney and Pine Lawn with a full
release, Including a mlease of attomey fees.

Me, Stnclalr és interested iq engaging Ln Limited discussion about the settlement,
pre-sult, of his couse and] invite you to reply of your first appartanity, Please let me
now if your principal is interested in staking 9 ditigent offerl to vesolved Mr, Sinelale's
case ond, importentty, ifsat, so lean commence suit wilhowl undus delay,

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Conic yet - Prsaveast Wore Prtegye Onder

Mr. Till
Novernber 7, 2014
Poge $ ofS

SMRimva
Enclosure: Cate Synopses

 

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Clival Pine LawnSteven Blakeney
Care Synopses

Date af Occurrence: &24/1 1. Krksten Moore.

Blakeney weea comers, off duty when he stopped Krister: Moore. while she was
driving to work.

On June 23, 2011 at approximitely 6:30 p.m, while driving to work al Washington
Universdoy/Bames Hospital ia ft. Louls from her hone in Waterloo, Ilinols, While off
duny tn hls private SUY, Binkeney pulled over Kristes Moore, His children were In the
vehicle with him. Blakeney epproached Ms, Moore. in a mge and hia behavior only got
wore. He mlsased Ma, Moors withow s oliation and she lecmed later inst he had
preformed o Ca] charge agains! her that the State did not puysue.

Blakeney’s personal vehicle wes equipped with police lights and other pellee equipment,

Blakeney threatened Ms. Moore by telling her that he knew wheqe ahe lived and after the
ineldent Ms, Meare ssw him following bev.

Ms. Moore lodged a complalnt and a City ollictal told her to execute the conduct becaust
Blrkeosy hed come from» fiero.

A Google search aff “officer ctaven blakengy” will lead ta new report on Fox 2 that
reports on this incident,

 

DOK 10542 Tremmel MeCole

With Sidney Sinclair, Tremimell McCole fe Siivey 5 Sinclalr were walking from the
bome of Mr, MoCole. As they were walking, they noticed an underrover police car in the
midis of ibs sirest. Biokency, brandishing a shotgun, approached the pale from a
distance of a couple af houses movay ond said, “come here, boy.” Other officers arrived
and while Blakensy held the shotgun on them, threw Mit. MeCole to tha ground and
‘began Kicking him Blakeney hieked Mr. MoCols in the fheo, Ho twas then pulled up end
violently threwn against the palice car ind thrown in tha back, Blakeney choked Mr.
MeCols witile he wns hendoutled,

Mr, MeCole was beld in Jalt fora week on charges related toa derelict vehicle and the
Failure to eppear on those charges, Me, MoCole never resided in Pine Lawn ond did ot

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owna vebiels, Ha was also charged with Paiture fo Comply end Disorderly Conduct,
ALL changes wore disntissed,

Dot HS/A2, Sidney Siectalr

Watting with Tremmell MeCole, Mr. Sinclair waa in a sult et he bed just come froma
Jeb interview. He witnessed Blkency abuslag Tremsnell MeCots and yelled far bim to
sop ond thea, “come kere, boy." Blakeney then told him he was filing to comply and
‘was golog toJall. Me, Sinclale told Blakeney that he had cot done anything wreng and
noted His sull, Blekoncy said, “Oh, so being in a sult etd tie mokes you better than mo?"
As Mr, Sinclair saw Blakeney alusing Trenansell MeCole be overheard officers and
Blakeney — Biakoney said, “What? You disagree with whet I'm doing? No? Then shut
tie fuck up.” Mir. Sinetelr bawded out and hig casé was ultimately dismissed,

Mr, Sinelele related the bad reputation of Blukensy and said that eoveral offices hinted
thet Blakeney {9.4 problem offfcey and this sore of behavior Is not unusuel for him.

BOM 12/7/72. Makita Jackson

Neldta Jackron wet visiling ether sister's home, They walked to the bus stop to meet
hernicec, There wasa fight or hatsio involving the children, The police arrived and
Blakenry punched her in the fisee und choked her and others threw her to the ground, put
a koce in ber back and pata Taser ogainst herneck She yelled that she was pregnant and
they did nat Taser her, While oa the ground, she had ebdozinal and back pain and
vomited, She auked for medical atention and Biakency sald “her ast will be fine." She
asked Blakency why he hii her and fie satd, “gel the fick back before I hit you again.” '
She was taken fo jail, bonded ayt and ell the charges were dismissed

 

Biskeney made statements Uhet soatalned rectal slurs,

Me ae cea eked Ue soe Supervisor and Biakescy sald that be was in chaige = that
nobody was sbovehin. Ms, Jadessn complained to chen Chief Ricky Collins who seid,
"Lot me guess when thishappesed. 2" shift, erqund 3:00 pm, That shift la olways
fucking up.” Blakeney ordered the mest of multipte people, including chdldren.

OOF: ISH}. Kateltha Bock

Katelsin Heels was staying with Racquel Waoten and familly on James A, Harvey Lane,

Wettston, a celghboring community to Pine Lawn. At approximately 10:30 pan, KB.

came out of 4 mizin level roam md sow five copa in fiving room. Sho wes detained on a ,
couch for 30 minutes mt gunpoint. ,

Cont ters: Crodunag Uesey Sentech oe Comat

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‘The officers were from Fine Lawn aud were in Wellston attempting to apprehend a
woman who had awarrent, ‘They epparently dhought Racquel Woolen was the woman,
bat Racquel Wooten was the wanted womut's sister. The wanted women was not
present. [¢ docs nol oppear that they had a search warrant,

A Wellstan officer, Sgt. Bickley, showed up and is. witness to the trtlawfil etry and
march of the residence by Pine Lew officers, inchiding Blakeney, Racquel Wooten saw
an srgument between Sgt. Bickley and P.L, officers about them; blocking the street.

DOH VIGLT, Racquel Wostes.

Racquel Wooten was at home, reading It her upHaiza bedroom, when Pine Lawa
Officers came In looking for Katrena W, guna drawn. The police rounded up and
detained et gunpoint Ms. Wooten and her five ehildrea, slong with Kaletsha Beck and
her small child, Atsomc polnt, she encountered Sgt, Bickley from Wellston, Ho told her
that ff was not Wellaten P.D. in home. She also saw Bickly arguing with a PL, bop
putside ebout unblocking the street. Ms. Wooten was cuffed end sceused of baing
Katrena W,

Tie police had oo anest wartent end no Search warrteit
DOF 7I9/F Rey Anthony Telano.

Anthony Telano is 4 former police officer, op tough the ranics Captaln In the United
States Army (now in IMA status) and employee of te Naional Geospatial Ageacy.
While off duty (we beliave), Blakency orchestrated tha trauff¢ stop and arrest of Capt,
Telana, the toatch and towing of bis car end, the filing of charges againgt him. When the
Pine Lawn officers pulled Capt Telana over, Blakeney came running up yelling, *who'
the tough guy," He assaulted Capt, Telana,

‘The charges wero dismissed

Blakeney made a statement to Capt, Telane that bs was a disgrace to tha military,
Blakeney mads a comment ebom knowing where Capt. Telana fives, similar to what be
sald to Kyisten Moor,

COh #10/14, Jardaa Mariner

Jordan Martner is o young college student who was traveling to her boy ftiend’s
apartment in St. Louis from Colurcbia, Missouri, Ske was polled over by Blakeey crid,
ultimately, arvaited after questoning the lawfolness of the cearch off her cer, When she
retrieved her eer from impound, she found that ber personal belonglaga, Including a
computer, clothing and personal items, were damaged from grease and from having the
spare tire thrown on tap of them.

Beniversal. Produced Leder Sratecd ya Cedar

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During thelt encounter, Blakeney exnmined Ms, Martter's cell phone, ordered her to give
him the pose code aad texted  motntge posing as her to her boyfriend, Ho alsa asked her
whelher she like to go ta river.

After Blakeney arrested Ms. Mortaer she began to ery. He seerted to eojoy thst and esid
that she was going to find out how bed this part of town was.

DOL: 6/13/14. Harallten and Joues Farallles and Tony Richard If

Seven people al a fainily gathering were arrested, ateaulted, pepper sprayed and ehatged,
‘The homeowner Is a cancer gatient and had hosted (wo (azsily gatherings each year for
epproxtmately thirty years, The pollee first came because they sald ther wasn

complaint about shots fired. One of the mea told the officer that they had not hoard any
shots, Blakeney arrived and began aggressively cursing the maa talklag to the officer. He
then got on the loud speaker and tald everyone to “get the fuck inside.” ‘The man whe
was talking to the offtcer told Blakensy that he had no call to cure, and thal sherp were
children fnslde the house, Blekensy seld, “fack the kids,”

Then, the officers crossed the fence and began using fores on people despite there being
fo threats egaingi dhe officers and no retittance, The used force, inslucding the Taser,
pepper spray and hands on, against a nlmber of the family members, They arrested
worten and men alike. One of the orrestess ig a family frend wha Is active dety Unioed
Staise Coast Guard. One of the officers shoved the cancer victin: homeowner against a
door- fone snd cansed ber chemo port to bang against the frame,

One family member wns pepper sprnyed beenusa he was recording the abuses. Everyone
‘who twas exrested had their phones sclzed and all of the recorded footage was deleted
frorn cech phone.

Additonal Information Regarding Pine Lawn/Blakeney

* The Mayor of Pine Lawn, Sylvester Caldwell, hes been indicted by the United
States.

* Blakeney was (or still is) the subject of m order of protection that prohiblis him
From baing armed except on duty in Pine Lawn.

+ One of Blakenoy's sons came hore with a cell phone given to bien by Blakensy.
Ti is possibis that the coll phone was seized by the ?.L, palles or Blakency.

* Sidney Sinclair's phone wns selzed and was not retured to him when he bonded
oul. Ho utilized o trecklng feature on the phone that located it in south St. Louis
County at or near an address ossocinted with Blekeney.

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Case: 4:19-cv-0

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A former officer cist testify that he has scon Blakeney high or drunk and emed,
On one cocasion, he arrived el a multi-egency search fora cilssing person armed
wlth 20 AR-15 and had come to the scene from the Past Side.

Blakenty tested positive for cocaine.

Blakeney is known to frequent the strip clubs on the East Side and even gocs
there while on duty.

Settler to the stop of Anthony Teleno, Blnkeney stepped the 1, Ann Chief of
Pollee, Blakency and his partner followed the Chiefs ear frem downtown, some
‘Tor & miley from Pine Lawn ond oflet thoy passed through Pine Lawn, let the
Chlcf's car pass ond then pulled Mover, Blakeney was apparently on duty on this

oechsion,

Blakensy is a potoriows liar.

While tn court with Capt, Telano, Blakenoy vars eavesdropping on a private

sonverssiion f was having with my cllent.

© One client who was ot Pine Lawn to retrisve ptopetty or coniplain was told by the
clotk, “Binkeney again.”

* Glakeney started as a corporal and was promoted twies and ix sow a Heulenant.

There muy be a sizenble nmmber of ofllcers who will testify about Blakensy's

thusive and extrolege! pmetices. For exunple, he is reported to ge outside his

Jesisdiction and stop motorists in the City of St. Lowls, He may secure plates

from etre towed to Eddie's, affix them to bis car and ride through the city

assautilog people, Another report is thal he will gota tho Bast Sida clubs while

en duty and get drink and o¢ high.

Blakensy was deoused of rape (off duty),

Blakensy beat and humilleted his former wife, Qn one acension ho threw her

down, focked ber aut of the house sad stuck a pacifler In her mouth,

* Former Pine Law Chief of Potice Ricky Collins hes a troubled past. Among the

cases of which I am swnre, be broke anighistick aver tho head of my cllent und

charged him with the destruction of city property,

*

coed 2 Per guredt Wieder Pevectis Order

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Pathe Progra tlie ter Byorest a Cane

THE RYALS LAW FIRM, P.C.
ATTORNEYS AT LAW

Sturten M, Brats. b640 Caco artic 4
Or Cou: Crestmaruno, Mrisoun S00s-
Stevan}, Gara ‘TeLerwcen: (34) 152-4082
FAR: (518) S402
Novembor 7, 2014

Blake D. Hill, Esq.

King, Krehbiel & Hellmich, LLC

2000 So, Henicy Road

St. Louls, Missoudd 63144

CONFIDENTIAL AND PRIVILEGED SETTLEMENT OFFER
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Re: Mristen Afaore », City of Pine Lawn and Steven: Blakeney
Dear Bleke:

To follow our recent discussions, 1 represent Kristen Moore In ber elelne for
damages against the City of Pine Laven ad Steven Blakensy arising from the stop and
detention of Ms, Moore by Steven Blakeney on July 23, 2911. Blakeney’s conduct
violated Ms, Moore's Fourth Amendment rights for which she will seek vedzess pursuant
fo 42 U.S.C, §§1983 and 1988.

‘The City of Pine Lawa is liable for the constitutionally violative conduct of
Blakensy because Blakeney has engaged, and continues ta engage, in conduct thel i

 

tnconslitatlcnel, and The Clty was and |s aware ef his conduct and failed to oneroies its
duly to supervise aod control Alakeosy. I represent exch of the individuals keatiGied in
the attachment and cach of them has committed to support Ms, Moore and one another in
pusuit of their remedies, including the public policy concems ofeach of them, including
the public policy concams of cach of them.

The incident Involving Kristen Moore ond Blakeney

On June 23, 2011 sl approximately 6:30 p.m., Kristen Moore was (raveliag fom
her home in Waterfog, Rlinois to her job as a medical techatelan at Wethington
University School of Medicine. As she traveled in the fer ight Inne of Interstate 270 to
exit to Northbound Intereuste $5, traffic stowed at the interchange and Ma. Moore noticed
p white SUV three lanes over that changed lases to the one ittintediately to her lof. Ag
traffic continusd ta move, he noticed the white SUY corlag into ber lane and then
alowing enough to suddenly mave in behind her, The vehicle was perilously ¢lose to her

 

Me. Hil
November 7, 2014
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when ttmaved over, Soon afer she heard a siren and began to look for the omengmncy
vehicle. The white SUV was so close to ber that she gould ont sce emergency Lights, at
firsi. When Ms. Moore realized thet the vehicle behind her had ectergeney equipment

aclivated, she pulled to the shoulder and the white SUV followed,

As Ms. Moore wes lowering ber window and reaching for her driving eredentlals,
Blakeney suddenly oppeared ot her window, placed bis face olose to hers and begen
screomting at her, with profanity ond nanve-calling, He secused her of dalibemtely cutting
hint offend of “road rage.” He made reference to nearly causing a collisions and how he
had a young child in bis vebicle,' Blakeney stated thet he laved to pull over “oad tage”
drivers like her, (hat she shoud not have a license and that she was a disgrace. Alone
point, Ms, Moore estenipted to explain the she did no! realizs he was attempting to merge
into her lene from three Lanes over, end that she acclerated in keeping with the flow of
traffic und not in an effort to prevent him from merging Inte ber lane. Thal is whl she
wanted to explain, but oll she was able to state wis, “] didn't pontlen,..” when Blekeney
interrupled and yelled, “Didn't realize that | ema cop? Of course not, you idiot, I'ma fn
an unmarked cor.” Blakeney continued to yell that Ads. More was insane ead “don’t try
to tet your way out of this ane. I've bern a police officer a long time ond you are 5
dizgrace."

Mn, Moore atked repeatedly to see bis badge bertuse Blekeocy was in a (-thint ond
shorts, After a number of lnquiries, Blakeney flashed a badge so quickly thal Ms. Moora
could not examine It. She stated thet abe was concerned because there had been reports
of ludividials impersonating poiice officers, The more she made inquiry, the angrier
Blakeney became. Ar one point he made o statement: “Now you get a ficket, Don't
question me or whatT’m doingl! Ifyou wart ma to arrest you, jist Keep Itup.” At same
point Blakeney made a romisk about Ms. Moore's residence in Illinois dad how he was a
police officer in llinois, knew a aumber of officers there aud she bad Bester watch oul.

 

He told her, “Now you're getting o $500.00 ticket because you cmt keep your mouth
shut.” Ultimately, Blakeney altemnpted to persuade Ms. Moone to concede thal she had
been careless in return for ile declining to issue o ticket She refused to admit ta
something that was untrue. Thea Blakescy allowed her to leave and told her she would
Teevive a tickel in the mail, bul tat before be told hey he knew where abe lived end “I
have o jot of friends in [ilinois. I nant to work there. I suggest you watch yourself every
time you pull out of your driveway.”

Ms, Moore was so shaken by (be incident that she drove to ihe iret availsble une-olf and

 

Pulled over to regain her compopure. She was crying, shaking and felt as if she would
vorit. She called ber husband end be recommended thet they contact Pine Lawn to
lodge a completnt, She arrived late for work and then spoke with a Detective of the St.

" Blakeney tater denied thal be had o child in hhia vehiete,
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SConfimnsiate Saduces tener Pace cis Sader
Mr, Hill

November 7, 2014

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Louls County Police Departnient. She nevar received a oitetion in the mall, but
appateully there was something flied in court add Ms. Moore spent many months
ailenipting to resolve the matier, constantly in far that ste would be acested,

Sho todged.a complaint with Pine Lawn and later spoke the City Administrator
‘who minknized the event andatterpted to deflect Blakenoy's misconduct by tiling Ma.
Moore that Blakeney had justcoms froca a finer,

On other occasions, adler the Mop and detention of Ms. Moar, aid after she
jodaed complaints, Blakeney followed her and would draw dangerously close to ber
MU peT,

Ldabiltey of Blakeney and Piva Laws

Blakensy's stop and detention of Ms, Moore was without probable cause and
therefore, violated her rights under the Fourth Amendntent to the United States
Constitution, His tirade exacerbated ber distress and provides the foundation for putltive
damages against Bickensy.

Ms. Mocre's encounter ly the first known incident, while employed by Pine
Lawn, of Blakeney acting Inn shushvye ond wilatvfll manner. If this cess is filed, |
anticipate (hat we will discower otbers. His history, at the Bastern Missouri Pollee
Academy and at New Athens, [Hinols P.D, 1s predictive that Blakeney would engage i
this tevel of abuse, or worse. Pine Lawn had the opportunity to learn of bis hisiozy and to-
assure thet Blakeney eomported himself in o lawfl manner, It tailed to do so.

The stop end detention of Ms. Moore was the sublect af a news report on Charet
4a Se Louis, Pine Lawn knew about it. Pine Lawn took no action to comed! Blakensy"s
conduct aud, for tht, Pine Lawn is liable,

Blakeacy's abusive aclons ere wel) known: to others is the Inw caforeement
rommunity and to those in Pine Lawn with a duty to control hint, Despite a clear and
pervasive history of violations of the baw and United Stites Constitution, Blakeney has
net been disciptined, mote closely supervised or retrained, On the contrary, he has been
promoted and is naws Lieutenant,

There ore ample indicators of Blakanay's unfitness to be a peace officer, apart
from the multipts incideats reficeted Ia the atinehicent, While an officer in New Athens,
Ulinols, two brother officers were 50 concerned about Bakerioy's aggressivencss,
inappropriate behavior end statements that they reported iis 2etions to the command
staff, Blakency was dismissed from thal agency because of discrepancies in bts
representations on his pplication that showed deception. Binkeney wes dismissed from

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Centieriat Pidused Unde Proteslve Order

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the Bostem Missouri Police Acadenty for behavioral problems, an issue thal was noted by
his fellow students as well as the cadre, Blakeney was dismissed fre the SL Louis
Metropolitan Police Department Academy. Blakensy, since begining work for Fine
Lawn, (ested positive for cocding, Blakeray has had orderd of protection entered agains!
him and bad a firearns restriction diet, U betieve, he violated, Blakeney was found ta be
abusive to tis former wift and on one occasion stuck o preifier Ln her moult.

Bhikeney coused the maflic stop of a local patice chief and his colleagues that is
yemarkebly sintilarto the dopof Caplain Telano, Blokency first eucauntered the Chief,
in the downtown ares, as he was traveling froma Cardinals game with colleagues. When
they teached the city limits of Pine Lawn, Blakeney slowed to allow the Chic!'s car to
pass and then initisted etraffic stop. The officer wha accompanied Blakeney was in the
background signaling tothe Chief by making a ciretlay mation with bls index finger near
the side of his herd, whieh the Chief took as 4 comment on Blakertoy's competence,

Bach of the individunds who are identified tn the attached summary hay committed
to nipport aif litigation thal any of deem may bring against Blakency and Pine Lawn.
Esch of my clients is mativated 0 contribule to ani effort 10 couse on unbiased and cardial
review of Blakeney’s conduct and his competence to serve as a peace offteer. Tha jury in
Captain Teleno’s case and in every other will hear 2 complete account of Biekenty’s
migcondust since employed by Pine Lawn,

Offer of Settlement

Oa behalf of Keisten Maare, [ bave been authorized to convey an offer of
selitement of herelaim for damages and fees pursuant 19 42 ES.C. §§ 1983 and 1988.
The terns of the offer;

1. The City of Pine Lawn shall immediately request an investigation of Blakency by
the St. Louis Counly Patice orthe Missouri State Highway Patrol. The
investigaiion shail include his background, the incidents deseribed in this letter
and in the aitochment und any other incidents that come to Hight, and shall be in
the pature of an internal investigation with the goal of determining whether
Blakeney should be disciplined and what the discipline should be.

2. The results of the investigation shail bs forwarded to the Missouri Peace Officer
Standards sud Tmining Commission (7.0.8.1).

3. Ping Lawn shall direed (hat Blakenoy shall not exercise police powers untess on
doty and unless within the city limit ef Fine Lawn.

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Sanfannal ,2indurea, Unmet Ssscarhne Gre:

Mr. Hill
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4, Ping Lawn shall initiate 9 program of ratnlng that reflects iInstnaeton using the
conduct Involving Caploin Telano and of the other violations described in the
attachment a3 a foundation for Instructing on the lintits of she United Grates
Constitution and the laws, and fully explaining how ihe actions of Biskeney
Viotated them.

3, Pine Lawn end Blakeney shall psy Kristen Moore the sum of One Hundpadt
Twenty Five Thousand Dollars (5125,000,00) for damages resulting from the
Injuries suffered by Ma. Moore ef the hands of Blakeney. The amount of the offer
ig inclusive of nttomey foes end in exchange for the paymend end acceptance of
fhe otter terns, Ms, Moore will provide Blakeney and Pine Lawn with a full
releare, including a release of attomey fees,

Ms, Moore intends to engage in Nmited discussion about tha sottleniens, pre-sult,
ofher cause and I invite you ta reply st your first opportunity, In addition, Ms, Moore
would bo pleased lo mest with you ta explain what occurred mid how it affected her,
Please let me know jf your principal is interested in meking a ditigent offart to resolve
Kristen Moore's case and, importantly, [f not, so 1 ean commence sufl without undue
delay,

SMAimvo
Enclosure: Case Synopses

 

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City oi devon Bln
ase Synopres

Dale af Gectorence: W7I/11, Kristen Moors.

Binkonoy was a corparsl, off duty when he Hopped Kristen Moore. while she was
driving to work,

On Juno 23, 2041 ef approximately 6:30 p.m, while driving to work at Washington
University/Bames Hospital in St. Louis from her hottie Ln Watertoo, Ulinols, While off
duty in his private SUV, Blakeney pulled over Kristen Moore, His ob{ldren were in the
vehicle with him. Blakensy epproached Ms, Moore, in u niga tnd tis behavior only got
worse, He released Ma, Moore without o citetlons and ahe lemted later that he hid
prefermd a Cécl charge spainst her that the State did not purse,

Blzkeney's personal vehicle was equipped with police !lghts and othr police equipment.

Blakeney threatened Ms, Meore by telling hor that he knew whore she Hyed and afler the
incident Ms. Moore saw him following her.

Ms, Moore lodged a complaint and a Clty official told her te excuse the conduct because
Blskensy had come from a funeral.

A Google search of “alficer seven blakeney” will lead to 0 new regort on Pox 2 that
meparts on this Incident,

DOE: 105412. Tremmel] MeCote

With Stiney Sinetaty, Trommell MoCole and Sfdaoy Sinclatr wore walking from the
hoate of ME. Metole. As they were walking, they noticed an tndeqcover police car In the
middie of the sircet, Blakency, brandishing a shotgun, approached the pir fom a
distance of a coupte of houses away ond seid, “come hero, boy." Other afficers urived
and white Blakeney held the sholgun on them, threw Mr. MoCole to the ground sad
began kicking hint. Blakeney kicked Mr. McCole in the face, He was then pulled up and
violently thrown sgalnst the police cer and thrown in the back. Blekeney choked Mr.
McCate while ite was handcuffed.

ir, MoCole wea held fh jell for a week on charges retated to a derelict vehicte and tha
failure to appear on choss charges. Mr. McCole never resided in Fine Lawn end did not

Gey td 4

tet

 

 
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awnaovelicte. He was tls charged with Failurs to Comply and Disorderly Conduet,
All changes word dismissed, .

DOF: 40/5/12. Sidney Stuetalr

Walking with Tremusell MeCole. Mr, Sinclair was Ino sult os he had just conse form a
Jeb interview, He witnessed Bhkency sbusing Tremmell MeCole and yelfed for him to
stop and then, “coms here, boy." Blakency then told hint he was failing to comply and
wes gotog todall, Mr, Sinclair told Blakeney thet he had not dono anything wrong sod
noted his suit, Blakeney sald, “Oh, 20 delng in a suit and to makes you better than me?"
As Mr. Sinclair saw Blakency abusing Tresumnoll McCols he overheard officers znd
Blakensy  Dlakency sald, "What? You disagreo with what I'm doing? No? Then shut
the fick up.” Mr, Sinolatr bonded owt and his cose was ultimately dismissed,

Mr, Sinolalr related the bad reputation of Blakeney and sald that several officers hinted

that Hiskeney Isn problem oftlcer and this sort of behaviar le nol unusual for him.

DOR BAER, Neklta Jackion

Naklia Jackcton was vishing at her sister’s home. They walked to the bus stop to muted
her nieces, Phere wasa Sgt or tusste involving the childret, The paltse arrives! and
Binkeney pucched her In the face aud choked her and others threw her to the ground, put
= knee in ker back and put. Taser against her neck. She yelled that she was pregnant and
they did not Taser her. White on the ground, she had ebdominal and back pain ond
vomited, She asked for medicatattention nnd Blakensy said “her ass will be fine.” She
caked Blakeney why ho hit her aac ho sald, “get the fuck back before I hit you agai,”
Sho ume mken to fail, bonded owt and all ths changes were dismissed.

Blakeney made strlements that contained recial ature.

Ms. Jockson osked to speak to 8 supervisor and Blakeney seid thet ho was in charge — thal
nobody wat dbove him. Ms. Jackson complained to then Chief Ricky Collins who sald,
“Let me guess when this keppered, 2“ shift, crcurd 3:00 g.in. That shilt is always
fucking up,” Blekeney ordered the arrest of multiple peoplo, Inclading children.

DOD UGA} Katelsha Weck

Kateisha Beok was staying with Racquel Wooten and family on James A. Harvey Lane,
Waltsten, ancighboring community to Pine Lawn. At approximately 10:30 p.m. KB.
cante cut of a main fevel poor: and saw five cops in living room, She was detained ono
souch for 30 mloutes of gunpoint,

Centstarnel. Biedaend Lote Biotechs site

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The officers were from Pine Lava and wera in Wellston attempting to epprehend a
womda who bed a wanaot. They apparently thought Racquel Wooten was the woman,
but Racquel Wooten wer the wanted woman's ester, ‘The wanted woman was not
present, Ttdoea not appear that they bed a search worrnnt.

A Wellsion officer, Sgt. Bickley, showed up and it o witness to the unlawful entry and
search of the residences by Pine Law officers, inching Blakeney, Racquel Wooten sow
an argument between Sgt Bickley and PLL, officers about them blocking the street,

DOH: MG/13, Raequel Wooten

Racquel Wooten was at homes, reading in ber upstairs bedroom, when Pine Lawn
ofieas came in looking for Katrena W. guts drawn. The potles rounded up and
detained a1 gunpoin Ma. Wooten end her five ehifdren, along with ECalelsha Beck and
her small child. At some polnt, rhe encountered Sgt. Bickley from Wellston. He told ber
that Jt was not Weliston P.D. in bome. She also srw Bickly arguing witha PLL, cop
outside about unblocking the ztreel, Ms. Wooten waa culfed ond eceused af acing
Katrena W.

Ths police had no trrest warrant ind no search warrent
fOf; FHT} Roy Anthooy Telzna.

Anthony Telano isa former police officer, up through the maks Captain In the United
States Anmy (now in IMA status) and cauployes of the National Geospatial Agency.
While off duty (vec beliens}, Blakeney orchesirated the traffic stop and mresi of Cant.
Telano, tht search ond towing ofhis car and, the filing of charges against him, When the
Pina Lawn officers pulled Capt. Telano over, Blekency came ruming up yelling, “wita's
the tough guy.” Ho assaulted Capt. Telano,

The charges were dismissed

Blakeney made a sitement to Cept, Telano thel he was a disgrace to the mifizary,
Blakeney mads a comment choul knowing wher: Capt Telano lives, simifer to what be
said to Kristen Moore.

DOL; 40/14, Jovdea Martuer

Jordan Martuer is.# young college student who was traveling to ber boyftlend's
epertnedl in SL Louis from Cokwabla, Missouri, Sho was pulled aver by Binkesy and,
ultimately, arrested afer questloning the bawfhiness of the search of ker car, When she
retrioved her car from impound, she found that her personel belongings, Including a
computer, Clothing und personal ilema, sero demaged from grease and from having the
spare Ure thrown on top of them.

Qa iEs

 

 

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During their encounter, Blakeney examined Mg. Mertnet’s cell phone, ardertd ber to give
him the pass code and texted a message posing os her to her boyftiond. Hoe alzo asked her
whether abe like 60 go fo raves,

After Diskeney sorested Ms. Mariner she began to-cry. Ho seemed to ¢ajoy thal nnd said
thel she was going ta find out how bed this part of town was.

DON: 6/14/14, Hamilton and Jones Families and Tony Richard I

Seven people at a family gathering were airested, assaulted, pepper eprayed and charged,
The homeowner is a cencer patient and hed hosted hve family gatherings each year for
Bpproximately thirty years. The police first came beenuse they sald chere war a
complaint about shots fired. One of the men told the officer that they had not heard any
abatt. Blekency expived and began aggressively cursing the man talking to the officer, Hin
then got on dis fond speaker and told everyone to “gat the Fath inskla.” The man who
was talking to the officer told Blakeney thar be had no call to curse, and thal chere were
children inside the bouse, Blakenoy said, “fink the kids.”

Thes, the officers crossed the fence end began using force an people desplie them being
fo threats apalnst the officers and no resistance, The used fore, including tha Taser,
Popper spray and hands on, sgeinst a number of the frmily members, They arrested
‘women nad men aljlee One of the artrsters iso family Grier’ who is active duty United
States Const Guard, One of the officers shoved the cancer vicelm homeowner against
door-frame and caused her chemo port to bang agalast the frame,

One fauiily member was pepper sprayed because he was recording tho abuses, Everyones
‘who wns arrested hed their phones seized and all of the recorded footage wes deleted
Grom cach phone.

Additional Information Regarding Pine Lawn/Blakency
* ite Mayor of Pine Lown, Sylvester Caldwell, has been indicted by the United
tates,

«Blakeney was (or still is) the subject of en order of protection that prohibits him,
from dSeing onmed except on duty in Pine Lawn,

+ Ono of Blakensy's sons came home with a coll phone glven ta him by Blakensy,
21 ds possible that the cell phone way seized by the P.L. police or Blzkency,

* Sidney Sinclair's phone was celzed end was aot returned to him when be bonded
oul, He utiliced a tracking feature on the phone that located it in south St. Louts
County af or ngar an address attocinted with Blakeney.

Cont dantet. Drodced Unger Ontertive Dare

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* A former officer can testify that he haa scen Biskency high or drink and armed.

On one occasion, he arrived af a multhegency search for a missing porton armed

with én AR-15 and had come to the scene fram the Enst Side.

Blakeney tesied positive for coralne,

Biakeney Is known to frequent tho strip clubs an the Bast Side and even goes

there while on duty,

* Similar to the stop of Anthony Telano, Biakency stopped the 3t. Ann Chief of
Police, Blakeney and his partner fallowed the Chiei"s car from downtown, rome
7 or 8 miles from Pine Lawn and after they passed through Pine Lawn, let the
Chief's car pasa and then pulled it ever, Blakency was epparently on duty on this
occasion,

Biakency ts a nevorious lise,

While in court with Capt. Telano, Binkeney was cavesdrupping on a peivite
soaversation I was having with my alicnt,

One clicat who was at Pine Lawn to retleve property of camplain was told by the
clerk, “Blakeney agin.”

Bickeney started a4 a corporal and was promoted tice asi ix now a Houtenant.
‘Thera nay be o sizeable oumber of oflloers who will testify nbout Blakensy's
shusive and extra-legal penctices, Por cuncipta, ho fs reported to go outside bis
Jurisdiction and dop motorists in the City of St, Louis, He may secure plates
from cars towed (o Eddie's, affix them to bls cur and ride through the city
esstulting people, Another report ts thar he will go to the East Sids clubs while
on duty and get dromk aod or high,

Blakeasy was posused of mapa (oll duty).

Blakeney beat and humilisted his farmer wife. On one occasion be throw her
down, locked her out of the house and stuck o pacifier in har mouth.

Former Pino Law Chief of Pollce Ricky Collins hes a trowbled past, Among the
cases of which Tam aware, he broke ¢ nightstick over the bead of my client and
charged hina with the destraction of city property,

+

 

gr tte.

 

 
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Candin at. Seadugen Mater Braraetees Ortee

NOSHOVE VIDIVN

“
Ge ea
Condens Orostuss 1 arciscrun Order
THE RYALS LAW Fir, P.C.
ATTOBNEYS AF LAW

SIMON be EYAL 16640 Gaara Cay Reno

Or Cowan: Mf:

revo]. Out ‘Tecerwcece: GIA) B62 6262
Fax: (636) 504-0062

November 7, 2014
Bltks D, Hill, sq,

Kitig, Krehbiel & Hellmich, LLC
2000 So. Henley Road
St. Louls, Missaurl 63144

CONFIDENTIAL AND PRIVILEGED SETTLEMENT OFFER
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Re: Nakita Jackon v. Cl of Pine Lawn and Steven Bfakernap
Dear Blake:

To follow our recent discussions, [ represeat Nakita Jackson in ber claim for
damages eqainst the City of Pine Lawn end Steven Blakeney arising from the seizure of
Ma, eckson by Steven Blakeney on December 7, 2012. Blakcnsy's conduct vicketed Ms.
Jackson's Fourth Arsendment rights for which she will seek redress purruant (0 42
U.S.C. §$1983 and 1933,

‘The City of Fine Lawnis linbfe for the constitationaily violative conduct of
Blakeacy because Blakeney hos engaged, end continues to engage, in conduct thet fs
wwonsttutional The City was and ls oware of bis conduct and fitiled to oxercise Ils duty
to supervise and control Blakeney. I represent cach of the individuals Identified in the
atinedopent and each of them: has comtitted to support Ms. Jockson and one another in
pursuit of their pemedics, including Ihe public policy concerns of cach of them.

The Incident Involving Naklia Jackson and Biakenep

On December 7, 2012 at approxinutely 3:00 p.m, Nakita Jacksot was a guest in
the home of her sister at 4244 Poyion in Pine Lawn. Ms, Jackson was ewaiting the
arrival of her nieces drom schoo! so that sho and her sister, Lis Jackson could leave to
retrieve her car that was being repalred, The sistera could not leave until the children
enived beceuse Lisa Suith's iufent was aopeing sod the school children were going to ail
for her while their mother and sunt retrieved Nakita's car.

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Contam Brsaised Ueda Steel ye Cates

Mr. Hil
Naveutber 7, 2014
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Nekizg and [Lisa began leaving the residence then they gin the children
tpprusching. Lisa left firs while Nakila was donning her shoes ond then followed shortly
efter. Nakita was pregnant.

tLappears (hat Nakita’s niece, Brycsha, hod boon in tome sort oF altercation at the
bus stop. Nakita wns not nware of that fact, Whea Nakits emerged frum the bome, she
was begloning to telk to her niece when Blakency ren up and struck Nakita in the face
and unleashed 6 stream of profanity al her, When the asked him why be struck her ind
why the pofies were grabbing Hryesha, Blakeney replied, “Get the fuck back before F hit
you again.” Blakeney ordered other officers to crres{ Nakita and severt officers threw
her ig the ground from behind while enother choked her from the front. One forceflly
Plsted a knee in her back white another placed a Taser at her neck, She informed tho
officers chat she was pregnant, and begged them mot la taser her, As she continuously
told the officers that she wna pregnant, one officer INed ker and stamnted her down,
telling her to “shut the fuck up" and “lay fat.” Aso result of the actions of the officers,
Noklis vomited. Nakita was in paln and requested medica] assistance. Btakeney stated,
*Her ass will be fine."

‘Wallis in the jail, Blakeney’s taunting continied, He mads a comment aboct tim
going fo Applebee's oad Nakita being in jell, Thla comment fa stisilar to the one
Blakensy made to Sidney Sticlelr,

Alter tbay were releascd, the Jackson sisters contected the Chief of Police, Ricky
Collins, to lodge s ton acomplaint about their weatment. The Chief staled, "Lei me guess,
second shift, sound J: 200-p.m, That chit is always ficking up. Erold
these boys that they wert gaing to dig themselves dato something they can’t get out of.

The charges against Nakita — Assault ona Law Enforcement Officer and
Interfering = were discrissed,

Lindtlity of Blakeney and Pine Linen

Nakite Jackson did not assault a Law ¢aforcement officer or anyous else, Shi was
physically abniged, angsted and ehtrged based on the onders/lics of Blakeney. Chief
Collins ceknowledged thal Blakeney (bea a Sergetn!) end the others in his squed were
tbusive. Inferentiaily, the beating snd arrest of Nakila was not the fled incident
involving Blakency and os the atteckment revents, it way not the fos.

Diekenoy's abusive actions aro well known to others In the knw enforcement
eomtaunily and to those tn Pine Laws with o duty tocontrel him. Despite a clear and
pervasive history of violations of the law cad United Stuics Constitution, Blakeney hat

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Cent sentiet. Pro suced Unaay Pastpel ve Otter
Mr, Hill
November 7, 2014
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nat been disciplisted, more closely supervised or re-imined, On the contrary, he bes beet
peomoted and fs Gow a Licutenm!,

There are ample indicators of Blakency’s unfliness to be 0 peace officer, spart
from the multiple incidents mflected ta the attachment, While en afficer in New Athens,
Mlinois, two brother officers were so concemed about Blakeaey's a;
ineppropriste behavior ond statements that they reported his notions to the command
aif, Blakeney was dismissed from that agency becattse of discrepancies in his

fort on his ion that showed deception. Blakency was dismissed fom
the Bastera Missouri Police Academy for behavioral problens, an issue thet was noted by
his fellow students as well os the cadre, Blekenay wes dismissed from ihe SL Louis
Metropolitan Police Department Academy. Blakeney, since beginning work for Pina
Lawn, tested. positive for cocaine. Wakency has had orders of protection entered agains!
hima ond had a Girearns mestristion chal, I believe, he violated. Blakeney was found to bo
abusive to his former wife and on one occasion stuck a pacifier in her mouth.

 

Blakeney eaused the traffic stop ofa local police chiofand his colleagues that ia
remarkably simitar fa the stop of Captain Telano, Blakeney flist encountered the Chisf,
In the downtown area, a3 he was traveling from a Cardinals gama with colleagues. When
they reached the elty limite of Pine Lawn, Blakeney slowed fo allow the Chicf's carta
pass and then initiated a traffic stop. The officer who cecompaniad Blakeney was in the
background signaling to the Chief by meking s eltcular sation with his index finger near
the side of his head, whieh the Chief took as a comment on Blokenay's competence,

Each of the individuals who are ident! fied in the attached xomunary hes comumitted
fo support all Utigation that ony of them may bring against Blakeney and Pine Lawn.
Each of my clients is motivated to contibute to on effort to cause om unbiased ond carnful
review of Blakency’s conduct snd bis competence to serve as a peace officer. The jury in
Ms, Jeckson’s case and in every other will hear a complete account of Blakency's
tolscoaducl since employed by Pine Lawn.

Nokite Jachren’s Claims

Ms, Jackson, at the time of ber encounter with Blakeney, was pregnant and wasa
criminal justice student. Sie the incidents, she gave birth to a healthy deughter 2od
completed her degree, ond is plating to putsie er Master's Dagres.

In addition to the emotions) distress af her encounter with Blakeney and other
Fine Lawn officers, she suffered injuries, particularly to her neck. Because of her
pregnancy, she could not take certain medications to rallove tho pain and spasm end
suffered duc to that fact,

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Mr. Hill
November 7, 2014
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te was particularly disquisting for her to be assautied and abused by a law
enforcement officer given her chosen profession Jn the law enforcement community.
Moreover, she has been and continues te suffer disiness over concem with how ths ures!
nad prosecutlon will affect ber job prospects,

Offer of Settlement

On bebalf of Nakita Jackson, { have been authorized ia convey an offer of
tettlememt of ber elaim for dtmages end fees purrunnt to 42 U.S.C, 66 1983 and EES.
The terms of the offer:

» The City of Pine Lewa shell immediately request en investigation of Blekensy by
the Si, Louls County Police or the Missouri Strte Highway Patral, Tho

investigation shall Include his background, the lncideats detoribed in thts letter
pexd ba the extachesent, and any other incidents that come to light ond shall be i
the nature ofan internal investigation with tho goal of determining whether
Blakeney showld be disciplined and what the discipline should be.

2, Tio results of the iavestigst(an shall be forwanted to the Missouri Peace Officer
Stantords and Trafting Conumission (P.0.5.T.).

3. Ping Lawn shall direet thot Blakency shall not exercise police powers unless on
duty sod unless within the city fimits of Pine Lawn,

4, Pine Lawn shall initiate a program of trelning that effects instruction using the
treatment of Nakita Jeckson, and of the other violations deseribed In the
altachment os 9 foundalon for instructing on the Limits of the United States
Consiltution, sad the laws and fully explaining how the actions of Blakency
violated them.

5, Ping Lown shall confiss Nakita Jockeou's petition to cxpunge het arrest record.

& Pine Lown ond Blakensy shall pay Nakita fackso the sem of Ons Hundred Fifty
Tharsautd Doltars ($150,000.00) for damages resulting foom the injuries suffecod
by Ms. Jackson a! the hands of Blakensy, ‘The amount of ihe offer [s inclusive of
Ritomey fees and in exchange for the payment and acceptance ofthe other terns,
Ma. Jeckson will provide Blakeney and Pine Lawn with a full release, Including &
release of attorney fees,

Ms, Jnckaon Intends to engage in limlted discussion shout the settlement, pre-suit,
of her cane aad I invite you to yeply af your Birst opportunity. Please let me know if your

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Chatdamiel. Pregutid Ander Pz teeteye Ordar

Ms, Hal
November 7, 2014
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Principal is interested in making «diligent sffort to resolve Nakita Jsckson's case and,
iaporbmally, if nor, 69 | can cominenee suit withoul undue delay,

SMRAmvo
Enclosure: Case Synopses

 

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cE v1 akene:

Case Synopses

Date of Occurrenca: S211, Kristen Moore.

Blakeney wad a corporal, oT dury when he stopped Kristen Moore, white she was
dilving to work.

On June 23, 2041 af approximately 6:30 pun., whils driving to work at Washtagton
Universtiy/Bamnes Hospital ta St. Lovls from her home in Weterloo, Ukinais, White off
doty in bis privete SUY, Blekency pulled over Kristen Moore, His chikiren wore In the
vehicle with him. Blakeney approached Ms. Moore, Jn amiga and hls behavior only got
worss. Ho reteased Ma. Moore without a cltstion and the leaned later that he bad
preferred » C&| charge against her that the State did not prema,

Biskenay's personal vehtele was equipped with pallce Rghts und other police equipment,

Biskency threntened Ma, Moore by telling her ihat be knew where ghe lived and ofier the
incident Ms. Mocro saw bim following ber.

Mg, Moore lodged a complaint and a City official told her to questa the condaet berm:
Blakeney had come from a funeral,

A Google search of “officer steven blakency” will lead to 0 nsw report oa Fox 2 that
reports on thls incident.

DO [Hi Tremnell MeCole

With Sidney Sinclutr, Treetotel) AteCote and Sldncy Stactetr were walking from the
home of Mr. MeCele. As they were walking, they noticed an undercover police car in the
middie of the sizeet, Blakeney, brandishing a shotgun, spprotched the pair froma a
distanes off couple of houses away ond said, “come hers, boy.” Giher officers arrived
and whlle Blekensey held the shotaun on them, threw Mr, MeCole to the ground and
began kicking him, Blskensy kicked htt, MeCole In the fteo, He was then pulled up ond
violently ‘hrown againgl the police cer and thrown in the back, Blekensy chaked Mr.
McCole wills he was fed.

Mr, hfeCole was held in jel! fora week on charges rolsied toa derelict vehicle and the
failure to appane on Lose charges: Mr. McCols never resided In Pine Lawn ond dld not

if Megt = Pr: Magan Protests ru

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own a vehlele. Ho was also charged with Failure to Comply and Disorderly Conduct.
All charges were dismissed,

DOE: MVSAl2, Sidney Sinelair

‘Walking with Tremerell MeCole, Mr, Sinclair was ina suit aa he hed just come from a
Job interview. He witnessed Blokency ebuting Tremmell McCote and yelled for him to
Stop and then, “coma here, boy.” Blakeney then told him he was failing t¢ comply and
was going (0 Jail. Mr. Sinolair told Blakency that he hed nol dene anything wrong and
noted his sult, Blakency sald, “Oh, so being ina rull and tis makes you beter than me?”
Aa Mr, Sinclair saw Bickensy abusing Trentmell MeCole hs overheard officer ond
Biskensy = Bitkency seid, “What? You dissgree with what l'm doing? No? Then shut
the fuck up." Mr. Sinclalr bonded out and his case was pitimately dismissed.

Mr. Sinclafr related the bad reputation of Blakeney and said thal several officers hated
that Blakeney Is. problem officer ead this sort of behaviar 1a not wusual for him,

DOr: (2/7/12, Nekite Juckson

Nekita Jochstn was visiting ot ber sister's home, They walked 'o the bus stop to meet
ber nicea, There wes a fight or tussle involving the children. The police enrived and
Blakeney punched her in the face and choked her and others theow ber to the gromad, put
ip koce in her back nest put a Taser against her neck, She yelled dint she was pregnant and
they did not Taser her. While on tha ground, she had nbdorminal ond back pain ond
venied, She atked for medical attention and Blakeriey said “her oxs will be fine.” She
asked Blekeney why be hit ber and be said, “pet the fuck back before I hit you ageia,”
She was taken to jell, bonded aut and of] the charges word dismissed.

Blzkeney made sturements that conteined reclal slurs.

Ms. Jockson asked to speak to a supervisor nod Blakeney said (hat he wes tn charge = thal
nobedy war above him, Ms, Jackson camplatied co then Chief Ricky Collins whe said,
“Lel me guess when this happened, 2 shifl, esound 3:00 p.m, That shift Is always
facking up.” Blekeney ordered the emest of multiple people, Including childran.

DOH Vi6/ld, Katetshe Beck

Kalelsha Beck was staying with Racquel Wooten sed femily on James A, Harvey Lone,
Weltstan, a selghtering conmtunity to Ping Lawn. At approximately §0:20 pam. K.B.
came oul of a main level sooza and say flive cops ix living room, She wes detalned on o
couch for 30 minutes at gunpoint,

 

 

 
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The officers were front Pine Lawn end were In Wellston attempting to appichend 4
woman who hed a waittont, They epparsily thought Racqiel Wooten was the woman,
bol Racquel Wooten was the wanted woman's sister. The wanted women was not
present. It does not sppear that they bad a search warmal,

A Wethten alice, Sgt. Bickley, showed up and Isa witness to the unlawfll entry and
seach of the residence by Ping Law officers, including Blakeney, Racquet Wooten say
an argument between Sgt. Bicktoy and PL. officers about them blocking the street,

BOL ¥i6/t2, Toequel Wooten

Racqael Wooten was at home, teadlog In her upstnirs bedyoom, when Fine Lawn
officers come in locking for Katrena W. guns diawn. The police rounded ep and
detained at guripalat Ms. Wooten and her five children, slong with Kaleltha Beck and
hersniell child, As some point, she cncounterad Sgi. Bickley from Wellsten, He (old her
that ft was nol Wellton PLD. in home, She elo caw Bickly arguing with a PL. cop
outside about unblocking the street. ht, Wooten was cuffed and accund of belng
Ketrens W,

The police bad no arrest warrant and no search Warrant
DOr WiF4F Roy Anthony Telano.

Authony Teleuo is o former police officer, up through the ranks Captain in the United
States Anny (now in TMA stalus) and employes of the Natlonal Ocaspatial Ageccy.
White off duty (ret belleva), Blakeney crchestrated the traffic stop ond surest of Capt.
Telano, the search snd towing of his car and, the filing of changes against him, When the
Pine Lawn offfcers pulled Capt, Telsno over, Blekeney camte running vp yelling, “who's
the tough guy.” Ho assaulted Capt Telzno,

The charges were dismilsced

Blakenoy made 5 statement to Capt. Telano that he was a disgrace to the miliary.
Blakeney mido a comment about knowing whore Capt. Telano lives, similar io what he
said Ww Kristen Moore,

DO: 4710/14, Jordan Martoer

Jordan Marines is. young college student who wns traveling to her boyfriend's
eportment [o St. Louis from Columbia, Missouri, She was pulled over by Blakeey and,
oimately, arrested after questioning the lawfulness of the search of her car, When ahe
retrinved her car from fospound, alte fourd thet her personal belongings, including o
computer, clothing and personal items, were damaged from grease and from having the
spare tire thrown on top of them,

fontetegiml s Shetuced Unser See tarh ya Cee

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During their encounter, Blakeney ecoumincd Ms. Martner’s ceil phone, omered her to give
him the pos cocte anid texted u message posing as her to her boyfriend. Ho also asked ber
whether she like to go to raves,

After Blekeniey erresicd Ms, Martner sho began to ery. Ho seemed to enjoy the! and said
that she wes going ta IInd out how bad thia part of own was.

BOL: 6/13/14, Hantliton and Jones Families and Tony Richard If

Seven peaple at 5 farnily gatherlog overe arrested, axsaulied, pepper sprayed end charged.
Ths hantcowmer is a cancer patient and hed hosted two femily gatherings cach yeas for
epproxinately thirty years. The police first cmme becauso they anid there wad a
complaint ebout shots fred. One of the men told the officer that they had not heard any
shote Blakency arrived and begen aggressively cursing the man talking to the officer. He
then got on the loud speaker and told everyono to “get the fuck inside.” The man who
wos talking to the officer told Blakeney that ha hed no ex!) to curse, and Whol dhere were
children inside the house. Blekeocy seid, "fuck the kids.”

‘Then, the officers cromed the fence aed began using force on people despite there being
ho threats ogeinst the officers and no resistence, The used force, Including the Taser,
Pepper spimy and hands on, agninst a number of the family nocutbers, They arrested
women mid men alike, O20 of the errestees ix femily friend who in setive duty United
States Const Guard. One of the officers shoved the eancer victim homeowner against a
door-frame ond cused her chemo porto bang sgainst lhe frame.

One funily member was pepper sprayed because he wes recording the abuses. Everyone
‘who was arrested had their phones seleed and ail of he recorded footage was deleted
From each phone,

Additlonal Infarmation Regardiag Pine Lawn/Ilakeney
* The Mayer of Pins Lawn, Sytvester Caldwell, has been indicted by the United
States.

* Blakeney was (or still Is) the subject of an order of prowetion dat protibiss him
from being armed except on duly in Pine Lawn.

* One of Blekeney's gona came home with a cell phase given to lim by Biskency.
itis possible that the cell plane was sedzed by the PLL. police or Blakeney,

* Sidney Sinclair's phone was seized and was nol relumed to kim when he bended
out. Ho utilized » tcking feaxture.on the phone that located | in south St. Louls
Counly ator near an address associsted with Blakeney.

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A former officer can testify thay he has seen Blakeney high or drunk and anmed.
On ane oscesion, be arrived at a multi-agency search for o missing person armed.
with en AR-15 and had coms fo the seene fram the Bast Side,

Blakeney tested positive for cocsine,

Blokensy is Jesawa te Grequent che strip olube on the Bast Sida and even gocs
there whlle on duty,

Similar to the stop of Anthony Telano, Blakeney stopped the St And Chlef of
Police. Blakeney and his partner followed the Culet car fom downtown, rome
Tord miles from Pine Lawn and after they passed (hrough Pinte Lawn, dot thts
Chiof"s ear pass ond then putled it over, Blakeney was apparently on duty on this
ooraslon,

+

® Blekenay is notorious lar,

While iy court vdth Capt, Telano, Blakeney was eavesdropping on a private

eetvertation J wng having with my elicnt.

Ono allent who was at Pine Lawn to retrieve property or complain was told by the

Clerk, “Blakenoy sain.”

Blakeney elosted a3 a corpore! end wes promoted twee and is now a Heutensnt,

There may be o sizeable number of afficers who will testlfy about Blakenay’s

abusive and extraslega] pretices. For example, he is ported to go outside bis

Jurisdiction and stop: motorisis in the City of St. Louls, He may secur plates

from cars towed to Eddie's, affix thom to-his cer and lds through the olty

astaulting people, Another report is that he will go to the East Sids clubs while

on duty and get drunk and of high,

Blakeney was accused of tape {off duty).

© Biakensy dest ond humiliated bis former wife. On ons cecasion ba threw ber

i down, locked her out of the house and stook » pacifler in her mouth.

* Fooner Pine Law Chiet of Police Ricky Collins has n troubled past. Among the
cases of which | am aware, he broke a nighttick over the bead of my cllent ond
charged im oith the destruction of clty property.

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Ce lara

 

 

 
